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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT 0F FLORIDA N l GF*|*:E g°X
MlAMI DIVISION
J; -C `L'.".j

Case No. 00-l386-CIV-Ungaro-Benages/Brown
cLARENcE MADDOX

CLERK, USDC / SDFL/ MIA
RICHARD RUBIN,
Plaimiff,

VS.

U.S. NEWS & WORLI) REPORT, INC.
and David E. Kaplan,

Defendants.

 

MEMORANDUM OF LAW IN SUPP()RT OF DEFENDANTS’
MOTION TO DISMISS THE COMPLAINT

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* Cases marked with an asterisk are attached in an Appendix to this
Memorandum because they are cited to the Media Law Reporter.

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This libel action arises out of the publication of an article entitled, “The Golden Age of
Crime: Why Intemational Drug Traffickers are lnvading the Global Gold Trade” (the “Article”),l
published by U.S. News and World Report Inc. (“U.S. News”) in the November 29, 1999 edition
of its weekly magazine, U.S. News & World Report. and written by David E. Kaplan (“Kaplan”).
The action was brought pursuant to this Court’s diversity jurisdiction by Richard Rubin
(“Rubin"')_, the Chief Executive Officer of Republic Metals, a gold refining company doing
business in Miami-Dade County, Florida. Complaint,1l 3.2 Defendants, U.S. News and Kaplan,
respectfully submit this memorandum of law in support of their motion to dismiss the Complaint
with prejudice, pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

l. PRELIMINARY STATEMENT

This is a highly unusual libel action because Mrg that is actually stated in the Article is
alleged to be false. Instead, plaintiff invites the Court to find that statements regarding illegal
activities, which explicitly refer to other individuals expressly named in the Article, imply that
plaintiff “is or has been involved in money laundering, tax fraud, and that he permits the use of
his gold refining business to facilitate money laundering by drug dealers and other criminals.”
Complaint,1l 10. The basis for this claim of libel-by~implication rests on the quotes plaintiff
gave, the accuracy of which his Complaint does not challenge, and the pictures plaintiff posed for
and permitted of his business

Thus, this claim starkly presents the threat posed by libel-by-implication to the wall the

Constitution has erected and fortified to protect the reporting of truthful information lt leaves

 

' A legible copy of the Article, reproduced in color, is appended hereto as Attachment A to the
Declaration of Laura R. Handman, Esq., submitted herewith as Exhibit 1 (“Handman
Declaration”).

2 A copy of the Complaint is appended hereto as Attachment B to the Handman Declaration. A
copy of the Article is also appended to the Complaint.

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reporters and publishers on the decidedly slippery slope of guessing at implications that others -
someone merely quoted and pictured like plaintiff, a reader, a judge or a jury - might later infer
from this truthful reporting The cautious will steer far clear from hard-hitting but vitally
important subjects, like that reported in the Article here, to avoid any risk of a claim like
plaintiffs This all too real chilling effect is why courts have universally disfavored and routinely
dismissed implication claims

The three-page, 2019-word investigative report published in U.S. News addressed an
extremely serious subject: money laundering of proceeds from drug sales through the
international gold trade. The Article quotes law enforcement officers, gold analysts, traders and
refiners, like Rubin, about these illegal practices The Article states more than once that much of
the gold trade is legitimate but expressly identifies several specific individuals and entities ~ not
including Rubin or his company - who are allegedly involved in money laundering through gold
trading and other criminal activity.

Even a casual read of the Article by any reader, but particularly the readers of a serious
publication like U.S. News, establishes that the Article - on its face ~ is simply nor capable of the
defamatory meaning plaintiff is urging ln fact, there is a total absence of any explicit accusation
against plaintiff- in contrast to the very explicit accusations against other named individuals
Plaintiff is quoted and pictured in his capacity as the owner of a legitimate gold refining business
and, like the law enforcement officials also quoted, an observer of illicit practices in the industry.

But even if a defamatory implication such as plaintiff asserts could be reasonably
understood from the Article - which it cannot ~ the law says that is not enough to impose liability
because of the risk -the unconstitutional risk ~ that liability could be imposed for reporting on
truthful information and for the inferences that may arise naturally from that accurate reporting

Accordingly, for the claim to survive this Motion to Dismiss, the Article must supply, again on its

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face, additional affirmative evidence that the alleged defamatory implication was intended or
endorsed by defendants The Article provides no such evidence.

In fact, just the opposite -the signals to the reader make clear that, when the Article wants
to accuse someone of criminal activity, it does so directly. lf any inference could be reasonably
drawn, that inference arises from what plaintiff himself said - an inference that the Article in no
way endorses The headline, which makes no reference to plaintiff, and the captions are accurate
summaries of the Article. The photos are used merely to identify Rubin, one of the industry
sources quoted in the Article, and to illustrate the gold refining process

By the same token, plaintiff fails to establish that the Article’s alleged defamatory
statements regarding criminal activity are “of and conceming” him - an additional element
required to state a libel claim. As is apparent from the face of the Article, those statements are “of
and conceming” the individuals and businesses identified by name in the Article as engaging in
this activity,

At bottom, plaintiff is contending that, by the mere fact that he is quoted and pictured in
an article about illegal activity, he has been libeled. If this were the rule, no one but criminals
could be mentioned in such news stories and authorities in the field could not be quoted without
risking an implication claim. This can not be - and is not - the law.

II. STATEMENT OF THE CASE
A. References in the Article to Rubin.

The first mention of Rubin in the text occurs about halfway through the Article:

The big surprise is that it took traffickers like Delgado [a “top money launderer

from Colombia’s Cali cartel”] so long to tumble to the allure of gold. The industry

is largely made up of individual dealers and small companies that prefer to deal in

cash. High tariffs orr gold have attracted smugglers for years “There ’s a dual

economic system in the jewelry industry, ” concedes Richard Rubin, the owner of

Republic Metals in Miami, a gold refiner. “There ’s on the books and there 's ojjr
the books " (Emphasis added.)

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Article at 43, Col. 2. The Complaint does not allege that this quotation is inaccurate or that the
description of him as “the owner of Republic Metals, a gold refiner,” is false in any respect.

The Article contains a posed picture of Rubin accompanied by a caption which identifies
Rubin and refers back to his quote in the text:

Richard Rubin, owner of Republic Metals, on the floor of his Miami gold refinery.
- “There 's a dual economic system T here ’s on the books and there 's 0/§‘ the books.”

The Complaint does not allege that this description of him is false or that the abbreviated
quotation of his Words - with the omitted words marked by ellipses - is inaccurate.

The only other mention of Rubin in the text is on the third and final page of the Article:

Investigators have found that in some cases, the launderers even buy back the same

gold they’ve just sold for refining in the United States, paying for it with yet more

drug money. The scheme apparently is also a good deal for tax cheats. A recent

crackdown in Peru found that 40 percent of that nation’s gold companies were

bogus, set up largely to take advantage of an export-tax rebate. Smugglers shipped

gold to American refiners, pocketed the tax rebate, smuggled the gold back to

Peru, then shipped it out again, grabbing yet another rebate. “1 may have handled

gold coming in that was gold 1 sent down there to begin with, ” says Richard

Rubin, whose Republic Metals made large shipments to and jrom Peru. (Emphasis

added.)
Article at 44, Col. 1. Once again, Rubin does not allege that the quotation is inaccurate or that the
statements about the shipments Republic Metals made to and from Peru are false. 3

A photograph accompanying the Article depicts a worker refining gold. The worker is not
identified as an employee of Rubin’s company, Republic Metals, but a small portion of an “R” on

his uniform is discernible upon close inspection. Under the photograph is the caption, “Refining

gold bars from Latin America.” Rubin does not allege that the description is false.

 

3"l`he Complaint’s quotations from the Article incorrectly suggest that Rubin’s statements about
“on the books and there’s off the books” is consecutive with his other quote on Peruvian gold. In
fact, almost two full columns - seven paragraphs - separate the two quotations No ellipses mark
the omission of this material in the Complaint. Complaint 11 9.

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Finally, the contents page contains a description of the Article (“The golden age of crime
~ Gold has become the money-laundering mechanism of choice for international drug
traffickers”) and a photo depicting gold being refrned.4 Nothing in the photograph or on the page
identifies the photograph as Rubin’s place of business
B. Ref`erences in the Article to Those Who Allegedly Participate in Money Laundering.

ln describing unlawful money laundering and other criminal activity in the gold trade, the
Article presents directly the information obtained about specific named entities and individuals
participating in such activity. The allegations - and the denials ~ are quite explicit, as this
passage demonstrates

Moving money to Speed Joyeros was also on the mind of lnocensio Lopez.

According to court testimony, the Dominican drug dealer dropped off a bag stuffed

with nearly $300,000 at a Manhattan hotel room_; the money was to go to Mot`she

Hebroni, the owner of Speed Joyeros.

The connection between the two drug cases and Speed Joyeros is more than

a coincidence, law enforcement sources say. Speed is reputed to be Latin

America’s largest gold trader, with $25 million in sales a month. U.S. drug

enforcement agents have seized nearly $1 million from a New York bank account

belonging to the company Now they ’re examining the firm ’s movement Of millions

of dollars of gold and cash around the world Speed has not been charged with

any crime; company officials proclaim their innocence and are fighting the

government for release of their funds But to U.S. experts, the cases show that

gold now plays a central role in the billion-dollar business of washing dirty money.

(Emphasis added.)
Article at 42, Col. 2. The Article does not imply in any way that Rubin is associated with Speed

Joyeros or any other person or entity named as engaging in illegal activity, nor does the

Complaint allege that the Article gives rise to any such implication.

 

‘ A copy of the contents page, which is referred to in the Complaint, is appended as Attachment C
to the Handman Declaration.

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C. Subsequent Proceedings.

On March l, 2000, Rubin, through his counsel, sent a letter to U.S. News, pursuant to
Florida Statutes § 770.01, demanding a retraction. ln response, while strongly denying that the
Article contained the defamatory implications about Rubin, within the statutory time period
prescribed in Florida Statutes § 770.02, U.S. News published a clarification:5

The article “The Golden Age of Crime,” which appeared in the November 29,

1999, edition of U.S. News & World Report, discussed how drug money is

laundered through the purchase and resale of gold. The article includes quotes

from an interview with Richard Rubin, the owner of Republic Metal, a gold-

refrning business U.S. News did not suggest and did not intend to suggest that

Mr. Rubin or his company were engaged in money laundering, tax fraud,

smuggling, or any other improper or illegal transactions discussed in the article, or

that he or his company transacts business “off the books.” U.S. News regrets if

any reader misread the article to suggest such implications

Despite the clarification, plaintiff served the Complaint in this case on April 20, 2000.
Pursuant to an Agreed Motion and this Court`s Order of May 8, 2000, defendants have until
June 9, 2000 within which to respond to the Complaint. The Initial Planning and Scheduling
Conference is set for June 30, 2000. Defendants are simultaneously moving for a stay of
discovery pending decision of this Motion to Dismiss.

IlI. ARGUMENT
The Complaint Fails to State a Claim for Defamation Arising Out of the Article.
A. Rubin Cannot State a Claim for Libel-by-Implication.

The law of libel-by-implication is “fraught with subtle complexities” requiring courts to

“be vigilant not to allow an implied defamatory meaning to be manufactured from words not

 

5 The Complaint fails to mention either the demand for retraction or the subsequent clarification,
which are attached to the Handman Declaration as Attachments D and E, respectively. The
failure to aver the existence of the retraction demand renders the Complaint technically deficient.
Fla. Stat. § 770.01; Islam v. Globe Int `l, 12 Med. L. Rptr. 1864, 1866 (S.D. Fla. 1985); Edward L.
Nezelek, Inc. v. Sunbeam Television Corp_, 413 So. 2d 51 (Fla. Dist. Ct. App.), review denied,
424 So. 2d 763 (1982).

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reasonably capable of sustaining such meaning.” White v. Fraternal Order of Police, 909 F.2d
512, 518, 519 (D.C. Cir. 1990). Those "subtle complexities” are evident here where all of
Rubin’s claims are based on alleged implications - not any false factual statements about him or
inaccurate quotations from him. Such an open-ended claim:

requiring a publisher to guarantee the truth of all inferences a reader might reasonably

draw from a publication would undermine the uninhibited, open discussion of matters of

public concem. A publisher reporting on matters of general or public interest cannot be
charged with the intolerable burden of guessing what inferences a jury might draw from
an article and ruling out all possible false and defamatory innuendoes that could be drawn
from the article,

Woods v. Evansville Press Co., 791 F.2d 480, 487-88 (7m Cir. 1986).

“[B]ecause the Constitution provides a sanctuary for truth, a libel-by-implication plaintiff
must make an especially rigorous showing where the expressed facts are true.” Chapin v. Knight
Ridder, [nc., 993 F.2d 1087, 1092-93 (4th Cir. 1993). Accordingly, as a matter of constitutional
law, to prevail on this theory, Rubin must show, first, based just on the face of the Article, that the
alleged implication ~ that Rubin was engaged in money laundering and other illegal activity -
could be reasonably understood from the Article and, second, that the Article demonstrates that
the implication was intended or adopted by the author and U.S. News. See, e.g., id .at 1092-93
(“The language must not only be reasonably read to impart the false innuendo, but it must also
affirmatively suggest that the author intends or endorses the inference”); Newton v. National
Broadcasting Co., lnc., 930 F.2d 662, 681 (9th Cir. 1990), cert. denied, 502 U.S. 896 (1991)
(defamatory implication requires a direct showing that defendants “have intended to convey the
defamatory impression at issue”); Woods v. Evansville Press Co., 791 F.2d at 488 (“there is no
evidence that the defendants acted surreptitiously or with invidious intent in publishing the

column”); White v, Fraternal Order of Police, 909 F.2d at 520 (the communication “by the

particular manner or language” must supply “additional, affirmative evidence suggesting that

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defendant intends or endorses the defamatory inference”) (emphasis in the original)', Chaiken v.

 

VVPublishing Corp., 907 F. Supp. 689, 698 (S.D.N.Y. 1995), a#’d, 119 F.3d 1018 (2d Cir. 1997)
(“a publisher is not liable for a defamatory innuendo unless it intended or endorsed that
inference”).

Because application of these principles to the four corners of the Article involves only
legal issues, determining the threshold question of whether the publication is capable of a
defamatory implication and whether such implication was intended is appropriately resolved on a
motion to dismiss See Chapin v. Knight-Ridder. Inc., 993 F.2d at 1092 (“A defamatory
implication must be present in the plain and natural meaning of the words used”); Hallmark
Builders, Inc. v. Gaylord Broadcasting Co., 733 F.2d 1461, 1464 (l lth Cir. 1984) (“A trial court,
however, is not precluded from finding, as a matter of law, that a publication is not defamatory"
because statements do not give rise to false implications); Jones v. ABC, Inc., 694 F. Supp. 1542_,
1550, 1551-552 (M.D. Fla. 1988) (“lt is a question of law, for the trial judge rather than ajury, as
to Whether [the statements at issue] are reasonably capable ofa defamatory meaning,” i.e.,

whether they give rise to defamatory implications).(’

 

" Where statements cannot be reasonably read to express a defamatory meaning, courts routinely
grant motions to dismiss based solely on examination of the publication in issue. E.g., Chapin v.
Knight Ridder, Inc., 993 F.2d at 1091 (district court properly dismissed a complaint because
newspaper article could not reasonably be read to imply defamatory meaning); Schuler v. The
McGraw-Hill Companies, Inc., 989 F. Supp. 1377, 1388 (D.N.M.), a#'d, 145 F.3d 1346 (10th Cir.
1997), cert. denied, 525 U.S. 1020 (1998) (pre-answer motion to dismiss granted because
statement that there were “ties” between plaintiff and individual who was a convicted felon and
disbarred lawyer was not defamatory); Weinstein v. Friedman, 24 Med. L. Rptr. 1769, 1777-83
(S.D. N.Y.), aj"d, 112 F.3d 507 (2d Cir. 1996) (court granted pre-answer motion to dismiss
where published statements did not give rise to a defamatory implication) Je/Yerson v. Winnebago
County, lllinois, 23 Med. L. Rptr. 1641, 1652 (N.D. Ill. 1995), aff’d, 90 F.3d 1291 (7th Cir. 1996)
(pre-answer motion to dismiss granted where a news report was subject to a reasonable,
nondefamatory interpretation); Klein v. Victor, 903 F. Supp. 1327, 1330, 1335-36 (E.D. Mo.
1995) (“[w]hether allegedly libelous words are defamatory is a question of law which the court
may decide on a motion to dismiss,” pre-answer motion to dismiss granted); Wilson v. News-
Press Publishing, 28 Med. L. Rptr. 1694, 1696 (Fla. Cir. Ct. Apr. 7, 2000) (“lf a court finds that

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This method of early disposition is favored in libel cases, such as this, because of the
burden on First Amendment interests imposed by expensive and time-consuming discovery. See
Time, Inc. v. McLaney, 406 F.2d 556, 566 (5Lh Cir.), cert. denied, 395 U.S. 922 (1969)(“the failure
to dismiss a libel suit might necessitate long and expensive trial proceedings, which, if not really
warranted, would themselves offend . . . [First Amendment principles] because of the chilling
effect of such litigation”); Ceransi v_ Sony Corp., 991 F. Supp. 343, 352 (S.D. N.Y. 1998)
(granting meritorious motion to dismiss libel claim will avoid "the costs of defending against the
claim of libel, which can themselves impair vigorous freedom of expression”) (citation omitted).

l. Specific Statements About Rubin in the Article Could Not Be Reasonably
Understood to Give Rise to the Alleged Implication.

Nowhere in the Article is there an allegation that Rubin was engaged in money laundering,.
tax evasion, or any other illegal activity. Each of the Article’s three references to him by name is
in the context of quoting him as an industry representative who operates a legitimate gold refining
business7 The first quotation is about the existence of two sets of books in the jewelry business:

“There’s a dual economic system in the jewelry industry,” concedes Richard

Rubin, the owner of Republic Metals in Miami, a gold refiner. “There’s on the

books and there’s off the books.”

Article at 43, Col. 2.) The only reasonable inference from the quotation and the description of

Rubin is that he is a gold refiner who is not in the jewelry business who nevertheless knows how

the jewelry business operates and who is merely stating his knowledge of those operations Read

 

a statement could not possibly have a defamatory or harmful effect, the court may dismiss the
case for failure to state a cause of action,” pre-answer motion to dismiss granted).

7 The first step in determining whether a statement is capable of a defamatory meaning is to
examine the words used. Tavoulareas v. Piro, 817 F.2d 762, 779 (D.C. Cir.), cert. denied,

484 U.S. 870 (1987) (“a court is to consider both the words themselves and the entire context in
which the statement occurs”).

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in context, the statement does not suggest that Rubin does business “off the books” or that he is in
the jewelry business

The same quotation, slightly abbreviated, appears under Rubin’s picture, identifying him _
accurately ~ as the "owner” of a “gold refinery." The omission from the quote of "in the jewelry
industry” is clearly indicated by ellipses and must be read in the context of the Article as a whole.
As is typical in magazines, the caption refers the reader back to and is a lift from the text. A
reasonable reader would not conclude that Rubin, who posed for the photograph with outstretched
arms in his plant, is talking about himself or his business as “off the books.” The signals to the
readers all suggest that Rubin is commenting on the jewelry business - and is not himself engaged
in those practices See Levin v. McPhee, 1 19 F.3d 189, 197 (2d Cir. 1997) (labeling of conflicting
accounts of incident as "versions” sent “clear signals" to the reader that accounts were presented
as opinion).

The second quotation is offered in the context of the gold trade with Peru where smugglers
have cheated Peruvian tax authorities

Smugglers shipped gold to American refiners, pocketed the tax rebate. smuggled

the gold back to Peru, then shipped it out again, grabbing yet another rebate. “I

may have handled gold coming in that was gold l sent down there to begin with,"

says Richard Rubin, whose Republic Metals made large shipments to and from

Peru.
Article at 44, Col. l. The clear thrust of this reference is that individuals and companies in Peru
have acted unlawfully by repeatedly taking advantage of a tax rebate there through smuggling
operations There is no inference that U.S. refiners, or Rubin specifically, are involved in
unlawful tax evasion or smuggling in Peru. The quote from Rubin simply confirms that, as a
“American refiner,” he is aware that he “ ‘may have’ "` on occasion processed the same gold from

Peru more than once. Here again, Rubin does not allege that the quotation is inaccurate or out of

context or that the statement about Republic making large shipments to Peru is false.

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These quotations taken in context are far less susceptible to a defamatory meaning than
those in other cases where such claims have been rejected. In Weinstein v. Friedman, 24 Med. L.
Rptr. 1769 (S.D.N.Y.), aff’d, 112 F.3d 507 (2d Cir. 1996), for example, plaintiff alleged that a
book defamed him by “inaccurately portraying him as a militant activist, politically affiliated with
far-right groups which advocate violence in the efforts of Jews to establish settlements in the
occupied territories of lsrael, and as having a distorted, perverse and dangerous view of others".
24 Med. L. Rptr. at 1770. The truthful statements that allegedly gave rise to this implication
included that he was allied with activist West Bank settlers and supported the views of the
militant Rabbi Kahane who advocated violence. The court granted a pre-answer motion to
dismiss, holding that these statements did not imply that plaintiff himself advocated violence,
whether “taken alone, or read as a whole and in the context of the entire work.” ld. at 1770.
See also Chapin v. Knight Ridder, Inc., 993 F.2d at 1093-98 (statements about a charity charging
“hefty mark-ups" and “[i]t is not clear where the rest of the money goes” held not to give rise to a
defamatory implication); Hallmark Builders, lnc. v. Gaylord Broadcasting Co., 733 F.2d 1461,
1464 (11Lh Cir. 1984) (statement that FTC warned that “unless some builders shape up the
government will land on them hard” did not imply that plaintiff was the only builder under
investigation, despite the article’s focus on problems with plaintiffs buildings); Valentine v. CBS,
Inc., 698 F.2d 430, 431-32 (11th Cir. 1983) (where “only three stanzas of the song name [plaintiffj
and portray her role as a witness to some of the events occurring the night of the murders,”
despite the reference to plaintiff “nod[ding] her head,” the song did not reasonably imply that
plaintiff was part of a conspiracy to lie about the events); Jones v. ABC, 694 F. Supp. at 1552-54
(dismissing libel claim because the broadcast was not “reasonably capable of a defamatory
meaning” in that it did not imply that plaintiff was “inhumane” because the allegations of

mistreatment of elephants “could not reasonably be construed to refer to plaintiff ’ Where they

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referred to a time after the broadcast said the elephants had been “dumped” (i.e., sold), by
plaintiff).

That the statements here could not be reasonably understood to give rise to a defamatory
meaning is also vividly illustrated by comparison to cases in which such a defamatory meaning
has been found. ln Silvester v. ABC, 650 F. Supp. 766 (S.D. Fla. 1986), a]Td on other grounds,
839 F.2d 1491 (11Lh Cir. 1988), a broadcast on ABC’s 20/20 program was held susceptible to
defamatory implication as to plaintiffs, a jai alai company and its owners The court pointed to
not too Subtle references such as “coincidences” regarding increased insurance coverage and a
fire that partially destroyed plaintiffs’ arena and burying plaintiffs’ betting records that “could
have shown a link between [plaintiffs`] employees and the Miami syndicate.” The broadcast also
reported a conspiracy among plaintiffs’ employees, bettors and organized crime and that Florida
authorities although they lacked sufficient evidence to bring criminal charges “as yet,” were
planning to initiate proceedings against plaintiff owner. The court found that those statements
were susceptible of a defamatory meaning because they implied that plaintiffs were guilty of
crimes relating to the fire, that criminal charges should and would be brought against plaintiffs
and that plaintiffs were involved with illegal betting. ld. at 772. In contrast, the Article here does
not make any similar direct connection between Rubin and participation in unlawful activity. ln
Nelson v. Associated Press, Inc., 667 F. Supp. 1468, 1475 (S.D. Fla. 1987), Newsweek magazine
published the statement “reports of Roxanne’s intimacies have come from the local psychic
whose seances regularly brought Roxanne into bed with 10 or 15 other people.” In fact, the
psychic did not conduct these seances but the court found the article susceptible to the defamatory
interpretation that she did. ln contrast, the Article here lacks the direct misstatements about
plaintiff which supported the defamatory interpretation in Nelson - indeed, Rubin does not

challenge his quotes nor the facts they reveal.

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2. The Article as a Whole Could Not be Reasonably Understood to Give Rise to
the Alleged Implication.

Notwithstanding the truth of what the Article says about him, Rubin contends that the
Article taken as a whole, including “captions, photographs and statements,” implies that he has
been or is engaged in criminal activity. 8 Complaint 11 10.

The Article explicitly and repeatedly states that legitimate businesses are operating in the
gold trade:

While many gold companies operate legitimately, interviews with traders refiners,

and law enforcement officials depict an industry riddled with money laundering,

tax fraud, smuggling and dubious bookkeeping
Article at 42, Col. 3 - 43, Col. 1. These references to “gold companies operat[ing] legitimately”
can be reasonably be understood to include Rubin and his company. He is clearly identified in
the Article as a refiner and therefore an operator of a “gold company.” “Refiners” like Rubin are
coupled with “traders” and “law enforcement officials” who “depict” but do not participate in the
“illegal practices” which “riddle[]” the industry. lndeed, law enforcement officials are quoted by
name regarding the advantages of gold to money launderers. Gold traders, gold analysts and
other refiners are also quoted. None of these industry observers is accused explicitly or implicitly
of criminal wrongdoing and neither is Rubin.

The Article also makes clear that a significant amount of the gold trade from Latin

America, trade in which Rubin is engaged, is legitimate: “While much of this trade [from Latin

America] is legitimate, gold analysts remain wary, given the absence of a jewelry-making

 

8 lt is appropriate to analyze the Article in its entirety to determine whether defamatory
implications are conveyed. See, e.g., Chapin v. Knight-Ridder, Inc., 993 F.2d at 1098 (“we would
err if we did not consider the article as a whole”); Levan v. Capital Cities/ABC, Inc., 190 F.3d
1230, 1240 (11th Cir. 1999), cert. denied, 120 S. Ct. 1262 (2000) (the alleged implication “is
apparent when reviewing the report as a whole”); Tavoulareas v. Piro, 817 F.2d at 779 (court
must consider entire context in which the statement occurs).

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industry in Florida.” Article at 43, Col. 3. Because Rubin has been identified as a refiner in the
gold trade who has dealings with Latin America, a reasonable reader would conclude in the
context of the Article that his business is part of "much of this trade” that is legitimate

Rubin complains that his photograph in conjunction with the Article contributes to the
alleged implications that he is engaged in criminal activity. Reasonable readers would assume the
opposite ~ that Rubin would not pose for a photograph to illustrate an article on money laundering
of drug proceeds in the gold trade and allow himself to be quoted for such an article if he were in
fact engaged in such criminal activities This is not, after all, a candid shot of a “suspect” caught
unawares or a mug shot from a police blotter. This is clearly a posed picture of a businessman
proudly displaying his legitimate business of gold refining

The photos of Rubin’s business in the contents page and with the Article bearing the
caption, “Refining gold bars from Latin America,” only reinforce that image of a legitimate
business in operation. The photographs show - and caption describes - the legitimate and lawful
process of refining gold bars from Latin America. The Article does not state or imply that
refining gold bars from Latin America is unlawful in any respect; to the contrary, it explicitly
states that "much” of the gold trade with Latin America is legitimate

3. The Article on its Face Does Not Show That the Article lntended or Endorsed
the Alleged Implication.

Tuming to the second prong of the libel-by-implication standard, even if the alleged
implication that Rubin is engaged in money laundering or other illegal activities may be
reasonably understood from the Article, nothing in the Article, on its face, demonstrates that the
alleged implication was intended or endorsed This determination must be made based on an
examination of the text itself, i.e., on "the particular manner or language in which the true facts

are conveyed” to determine if there is “additional, affirmative evidence suggesting that the

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defendant intends or endorses the defamatory inference.” White v. Fraternal Order of Police, 909
F.2d at 512 (emphasis is in the original). (See cases discussed in Section lll.A. supra.) Such
“additional, affirmative evidence” is totally missing here.

Most significantly, the Article unmistakably identifies entities that are allegedly involved
in illicit gold trading and money laundering and they do not include Rubin. ln discussing
Panamanian gold company Speed Joyeros for example, the Article states that:

. Proceeds from drug sales have been paid to Moishe Hebroni, the owner of Speed
Joyeros.

- U.S. drug enforcement agents have seized $1 million from bank accounts belonging to
Speed Joyeros and are investigating the company’s international movement of millions
of dollars of gold and cash.

» Federal agents believe that Speed Joyeros is instrumental in the underground gold
trade, a charge the company’s owners deny.

These are direct allegations, attributed to law enforcement sources and court proceedings that
Speed Joyeros is engaged in unlawful activity and are properly accompanied by the company’s
denials There are similar explicit references about several other persons identified in the Article
as engaging in illegal activity. See, e.g., Article at 43, Cols. 1-2 (`“‘Take the case of Gustavo
Upegui Delgado.” Law enforcement officials “found Delgado, a top money launderer for
Columbia’s Cali cartel, was buying over a ton of gold a month with his colleagues using drug
money to purchase the stuff, then shipping it to Panama”).

By contrast, the Article does not contain any similar allegations against Rubin or his
business Rubin is identified as “the owner of Republic Metals in Miami, a gold refiner.” The
only other factual statement about Rubin is that his firm “made large shipments to and from
Peru." These neutral and truthful explanatory statements do not allege or imply that Rubin is
associated with Speed Joyeros, based in Panama, or any other entity or person named as engaging

in illegal activity. lf the Article had intended or endorsed an implication that Rubin was engaged

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in criminal behavior, it would have said so. lndeed, because no such allegations are made against
Rubin, if anything, the reasonable implication conveyed is that he is not alleged to be engaged in
these unlawful activities.9

The Article is simply devoid of any evidence that “the author has done something
beyond the mere reporting of true facts to suggest that the author intends or endorses the
inference.” White v. Fraternal Order of Police, 909 F.2d at 520. ln that case, White, a police
official. alleged that letters written by the Fratemal Order of Police (“FOP”) defamed him by
accusing him of securing his promotion through bribery. The letters after citing an incident
“involving Captain White,” stated:

lf records have been falsified, false statements made, or testing procedures

subverted for gain (such as promotion), it is likely that criminal as well as ethical

violations have been committed [footnote referencing criminal statutes including

bribery].
ld. at 515. The Court found that “[b]y raising the specter of criminal violations including
bribery,” “in a context that could only be understood to apply to White,” the FOP “provided a
clear signal from which a reader could conclude that the defamatory inference was intended or
endorsed.” Id. at 521.

The same White Court came to a different conclusion, however, regarding media reports
by NBC and The Washington Post that White’s drug test carrie back positive but that a second test
“was reported free of drugs.” ld. at 526. The Court found that the phrase “White [plaintiff]

comes up clean” used by NBC was not “sufficiently suggestive to enable a viewer to infer that

[NBC] intended or endorsed a defamatory inference that White used drugs.” ld. at 526. The use

 

9 T he clarification U.S. News published served to underscore to its readers and to Rubin himself,
that the Article did not suggest and did not intend the im lications Rubin alleges See Washington
Nat'l Ins. Co. v. The Administrators, 2 F.3d 192, 196 (7l Cir. 1993) (“subsequent statements
negating any defamatory implications may show the absence of malice by demonstrating that the
speaker did not contemplate the defamatory reading in the first place").

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of a photo of White at the beginning of NBC’s broadcast, “was not in any way suggestive” but
“merely attached a face to the name that would be used’” in the broadcast. The Washington Post ’s
report of “unpleasant but true facts” could not render the Post liable. The absence of “any
suggestive juxtapositions. turns of phrases or incendiary headlines” in the Post stories made the
Post stories not actionable White, 909 F.2d at 526.

The accurate reporting of true facts - or, here, true quotes ~ cannot be the basis for a libel-
by-implication claim absent affirmative evidence that such implication was intended or endorsed.
Rubin’s complaint is not with the accuracy of his quotes but with the inferences that those quotes
allegedly give rise to - namely, that he may have handled gold used by Peruvian traders who, in
tum, have taken advantage of tax rebates Such inferences if any, from true facts where there is
no additional evidence that the Article intended or endorsed any suggestion of criminal
participation on Rubin’s part, can not be actionable. See Hallmark Builders, Inc. v. Gaylord
Broadcasting Co., 733 F.2d at 464 (the close-up shot of a crack in a house built by plaintiff was
not actionable since "it represented the truth and was not susceptible to any defamatory
meaning”.)

The headlines and photos in the Article also do not point to “additional affirmative
evidence” that any negative implications about plaintiff were intended or endorsed. Like the
photo of White in the NBC broadcast, the photo of Rubin posing at his plant simply serves to
identify him as the gold refiner quoted in the text of the Article. The photos at his place of
business illustrate the gold refining process nothing more. The headlines “The Golden Age of
Crime: Why international drug traffickers are invading the global gold trade” and the similar line
in the table of contents do not refer to Rubin but are an accurate summary of the general subject
matter of the Article. When the headline here is read in the context of the whole Article, as it

must be, the headline obviously refers to the owners of Speed Joyeros and the others specifically

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named in the Article. See Sack on Defamation, § 2.4.6 at p. 2-34 (3rd ed. 1999)(“1\/lost
courts . .examine headlines as they do any other part of an article iri the context of the work as
a whole, giving due allowance for the headline’s prominence”); Fudge v. Penthouse lnt ’l Ltd. ,
840 F.2d 1012, 1016 (1st Cir.), cert. denied, 488 U.S. 821 (1988) (headline “Little Amazons
Attack Boys” held to constitute non-actionable rhetorical hyperbole, particularly read in the
context of the article).

Contrast the headline here with the headline "Buddy, We Hardly Knew Ya” in Cianci v.
New Times, 639 F.2d 54, 60 (2d Cir. 1980). The headline accompanied a detailed account of
allegations of rape made against Mayor “Buddy” Cianci. The Court concluded the article, along
with the headline, endorsed the victim`s allegations ln Chaiken, the court found just the
opposite. The article at issue contained a statement that “[s]ettlers like the Chaikens” have turned
West Bank settlements into “hothouses for the growth of terrorism” and a headline, “ln the Realm
of Perfect Faith: lsrael’s Jewish Terrorists,” which referred to a quote from plaintiff used in the
text of the article. Nonetheless the district court found - and the Second Circuit affirmed - that,
even if the article and headline implied that the Chaikens were terrorists there was no evidence
that the article intended or endorsed such an implication. Chaiken v. VV Publishing Corp.,
907 F. Supp. at 698 (“the article does not state that [the Chaikens] are terrorists; and it would be
speculation to assume that the Voice realized that such an implication was possible.”)
B. The Article is Not “Of and Concerning” Rubin.

Rubin also bears the burden of showing that any allegedly defamatory statements in the
Article are “of and conceming” him. Geisler v. Petrocelli, 616 F.2d 636, 639 (2d Cir. 1980)
( plaintiffs bear the burden of demonstrating that “the libel designates the plaintiff in such a way as
to let those who knew [him] understand that [he] was the person meant"). See Carlson v.

WPLG/TV-10, Post-Newsweek Stations of Florida. 956 F. Supp. 994, 1007 (S.D. Fla. 1996)

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(statement not actionable where “by itself does not directly address [the] Plaintiff’) (emphasis in
original). Like risks to truthful speech posed by an implication claim, “allow[ing] a plaintiff who
is not clearly identified to institute a defamation action” would pose "an unjustifiable threat to
society” by silencing the kind of generalized discussion common in public debate. Anson v.
Paxson Communications Corp., 26 Med. L. Rptr. 2374, 2375 (Fla. Cir. Ct. 1998).

Accordingly. Florida courts regularly dismiss libel claims when the plaintiffs have failed
to prove that the defamatory statements are “of and conceming” them. Thomas v. Jacksonville
Television, Inc., 699 So. 2d 800, 805 (Fla. Dist. Ct. App. 1997) (affirming dismissal of group libel
claim for failure to satisfy "of and conceming” requirement); Mc]ver v. Tallahassee Democrat,
Inc., 489 So. 2d 793. 794 (Fla. Dist. Ct. App. 1986) (summary judgment upheld where article was
not of and concerning plaintiff corporation).

Under these standards Rubin’s case must fail because the Article’s allegedly defamatory
statements can not be reasonably understood as “of and conceming” him. lndeed, all of the
indicia in the Article demonstrating that it does not give rise to libel-by-implication are the same
indicia that show it is not “of and conceming” him under this separate required element for a
claim. The Article does not contain any allegations that Rubin is engaged in illegal activity.
These allegations are clearly “of and conceming” those who are specifically identified in the
Article as engaging in such activity. Jones v. ABC, Inc., 694 F. Supp. at 1550 (dismissing libel
claims because charges of animal abuse “could not reasonably be construed to refer” to plaintiff
but to those who bought the animals from him). The descriptions of Rubin and his company refer

to him as a refiner aligned with “much” of the Latin American gold trade that is legitimate.

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IV.

CONCLUSION

For the foregoing reasons this Court should find that, based on the face of the Article,

the Complaint fails to state a claim and should be dismissed with prejudice

DATED this 9"‘ day ofiune, 2000.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this 9th day ofJune, 2000, true and correct copies ofthe
foregoing Memorandum of Law in Support of Defendants’ Motion to Dismiss, Appendix and
Exhibit thereto, were served by first class mail, postage prepaid, upon:

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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT GF FLORIDA
MIAMI DIVISION

Case No. 00-1386-CIV-Ungaro-Benages/Brown

RICHARD RUBIN,

Plaintiff,
vS- mAcAHMENIl_EX“LUL-

U.S. NEWS & WORLD REPORT, INC.
and David E. Kaplan,

Defendants.

MEMORANDUM OF LAW IN SUPPOR'I` OF DEFENDANTS’ MOTION
TO DISMISS THE COMPLAlNT

EXHIBIT l

DECLARATION OF LAURA R. HANDMAN, ESQ.

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UNITED STATES DlSTRlCT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION
Case No. 00-1386-CIV-Ungaro-Benages/Brown
RICHAR}‘) RUBIN,
Plaintiff,

VS.

U.S. NEWS & WORLD REPORT, INC.
and David E. Kapl‘an,

Defe..ndants.

DECLARATION OF LAURA R. HANDMAN, ESQ.

Pursuant to 28 U.S.'(_`.. § 1746, I, Lauia R. Handman hereby declare under penalty of
perjury that the foll owing is true and correct to the best of my knowledge, information and
belief:

1. l ram a partner in the law finn of Davis Wright Tremaine LLP and l am admitted
pro ha vice to practice before this Court. l am lead counsel for defendants U.S. News & World
Report, Inc. and David E. Kaplan in the above-captioned lawsuit. l am submitting this
Declaratlon in support of Defendants’ Motion to Dismiss in this case.

2. Appended to this Declaration are true and correct copies of the following
documents

ATTACHMENT A The article of November 29, 1999, published in U.S. News &
World Report and reproduced in color.

ATTACHMENT B Plaintif‘f’s complaint, with attachment, served April 20, 2000.

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ATTACHMENT C The contents page of the November 29, 1999 issue of U.S. News &
World Report reproduced in color,

ATTACHMENT D Letter of March 1, 2000, from Barry B. Langberg, Esq. to
Mortimer B. Zuckerrnan and David E. Kaplan

ATTACHMENT E The clarification published pursuant to Florida Statutes §770.02 in
U.S. News & World Report and reproduced in color.

DATED this 811 day ofiune, 2000.

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LamHii@nm, Esq.

  

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QoRLo REPoRT

a London-based research firm.

In Panama, nearly all the gold arrives at
the Colon Free Zone, a bustling market
perched on the edge of the Panama Canal.
Home to Speed Joyeros and 1,600 other
companies the zona libre is the world’s sec-
ond-largest free port, after Hong Kong.
Bound by an imposing gray wall topped by
barbed wire, the 1.5-square-mile zone is
home to a dizzying potpourri of global
traders: Arabs, Chinese, Indians, Jews.
More than $6 billion of merchandise pass-
es through the district each year-as much
as a quarter of it, investigators say, financed
by drug money.

|n the money. Once in Colt’)n, much of the
Italian gold is sold to Colombian front men
for the cocaine industry. It is Colc')n, for ex-
ample, where the Cali cartel’s Delgado sent
his gold each month. The gold is then
smuggled back to Colombia, where some
dealers sell it for pesos and use the money
for living expenses and to fund more drug
production But others melt down the jew-
elry, recast it into ingots, and sell the gold
to refiners in the United States or Switzer-
land, producing a stream of income that
looks legitimate.

Investigators have found that in some
cases the launderers even buy back the
same gold they’ve just sold for refining
in the United States, paying for it with yet
more drug money. The scheme appar-
ently is also a good deal for tax cheats. _-‘».
recent cra:lr.-ti-:»vvii in Peru found that 40
percent of that nations gold companies
were bogus set up largely to take advan-
tage of an export-tax rebate. Smugglers
shipped gold to American refiners pock-
eted the tax rebate, smuggled the gold back
to Peru, then shipped it out again, grab-
bing yet another rebate. “l may have han-
dled gold coming in that was gold l sent
down there to begin with," says Richard
Rubin, whose Republic Metals made large
shipments to and from Peru.

Gold traders say the influence of nar-
cotraffickers is so pervasive that they are
taking over Latin America’s gold
trade, co-opting legitimate firms
and buying up traders in country
after country. “They’re squeezing
out the legitimate dealers,” says
one prominent trader who insist-
ed on anonymity.

Federal agents believe compa-
nies like Speed Joyeros play a key
role in the underground gold trade,
a charge the firm’s owners em-
phatically reject. "If my clients are
laundering money, why haven’t
theybeen indicted?” argues Speed
attorney Louis Diamond. Business
for Speed, meanwhile, is booming.
In Colon, the company is building
what a competitor calls “a tem-

The hustling Golon Free Zona on the Panama Canal
0 Home to a dizzyingpotpoun~i afglobal traders

 

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Richard Rubin, owner of Republic Metals, on the floor of his Miami gold ret|nery
0 “'I'here’s a dual economic system.... There’s on the books and there’s o_)j" the books ”

ple of gold”-possibly the largest jewelry
store in Latin America.

Drug dealers playing the gold card are
doing it in increasingly sophisticated ways.
In 1989, federal agents stopped a billion-
dollar money laundry that exported so much
gold from Urugiray that that country became
America's largest gold supplier. The fact that
Ui:'uguay had no gold industry mattered lit-
tle to the launderers-what mattered was
creating a credible cover for their flow of
narcodollars. Today, some criminals a.re irn-
porting gold-plated bronze into the United
States, others are shipping out just the
opposite: gold disguised as other metals
Having taken payment in gold, the tramckers
simply want to move their assets back home.
Custorns inspectors now on the lookout for
gold smugglers have made repeated seizures
in recent months In one case, a woman fly-
ing to Colombia from New York was stopped

JOHN VAN l'4A53EU'~-L`Ol!|! SVGMA

  

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with two tractor-trailer hitches, seeming-
ly made of steel. Under the paint, inspectors
say they found solid gold.

The gold trade poses other challenges
for law enforcement. The industry’s book-
keeping practices can be nightmarish, and
g».-id traders often nrc shielded 'oy ethnic
and family bonds “Arms cases are corn
parative_ly easy,"` says Casarra, the money
laundering watchdog. "They are a com-
modity you follow from countryA to coun-
try B. But gold is more like a currency.
Moreover, its form can change, and that
can make it extremely difficult to follow.”

Law enforcement’s gold bugs also face
obstacles within their own camp. Casarra
and a handful of colleagues have fought
a sometimes frustrating battle within
the U.S. government to focus more at-
tention on the gold trade. Many investi-
gators still view gold cases as exotic, even
while their bosses stress the im-
portance of going after criminal
money. Washington, meanwhile,
has taken its campaign against
money laundering overseas
prompting governments world-
wide to put new laws on the books
But cutting the underworld`s fi-
nancial pipeline will take more
than seizing bank accounts If the
focus remains merely on hard cash
and not precious metal, the world’s
drug barons may yet live to see a
new Golden Age. o

 

With th'lip P. Willan and Eleni
Dimmler in Rome, Carol Salg'uero
in Lima, and Mark Madden

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RICHARD RUBIN, dl 1 3
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U.s. News a woRLn REPoRT. INC., "MAGS'IR'ATB IUDCB
a Delawaro corporation and \ BROWN

DAviD E. KAPLAN, individually, ' ` AMQH~MENI/ EXH.|.BH.

Dcfcndants.
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PlaintiE Richard Rubin sues defendants U.Sx News & World Report, Inc. and David E.
Kaplan and allcgcs'.

1. 'I'his Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332. T-he
matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

___2. Vcnue is proper in this district pursuant to 28 U.S.C. § 1391(&)(2).

3. PlaintiB` Richard Rubin resides in Miami-Dadc County. Rubin is the owner and
Chief Executivo Omcer of Republic Metals, a gold refining company doing business in Miami-
Dade, County.

4. Defendant U.S. News & World Report, Inc. ("U.S. News") is a Delaware
corporation with its principal place of business in Washington, D.C. At all material times, U.S.
News mma is involved iii the pubu¢aaon of a weekly news magazine mailed U.s. News a

WORLD REPORT (the "Magazine").
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5. Dcfendant David E. Kaplan is a Washington, D.C. resident and is the author of the

article that is the subject of this action.

6. All defendants acted in concert with respect to thc creation, writing, editing and

publishing ofthe defamatory article that is the subject of this action

7. The issue of the Magazinc that contained the article that is thc subject of this
action was read and seen by a great number of people in thc State of Florida, throughout thc
country and the world. The defendants caused thousands of copies of the article to be circulated
in Miami-Dadc County and the State of Florida.

8. On or about Novcrnber 29, 1999, defendants published an article in the Maga.zinc
cntitlcd, "Thc Golden Age Of Crime: Why lnternational Drug Trafilckers Are Invading
The Global Gold Trade" (hcrcinaftcr the "Articlc"). A true and correct copy of the Article is
attached hereto as Exhibit A.

9. The focus of the Article was the process by which drug money is "laimdcrcd"
through the purchase and resale of gold The Article is illustrated by photographs of Rubin and
his place of business A photograph of Rubin, standing with outstretched arms in front of his
gold'r'etining machinery bears the caption: Richard Rubin, owner of Republic Metals, on the
floor of his Miami gold nEnery: ”17¢ore’s o dual economic system ... Th¢ro's on the books
and thero's ofthe booh.” Anotha' photograph portrays onc of Rubin’s employees engaged in
the gold refining procc¢s. That photograph bears the caption, "Reflning gold bars from Latin
America."' The Magazinc's contents page for the issue in question is illustrated with another

photograph of Mr. Rubin’s place ofbusiness. The contents page describes the Article as follows:

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"The Golden Age of Crime Gold has become the money
laundering mechanism of choice for international drug na£t'iekers."

The Article also contained the following statements:

10.

"'l`he industry is largely made up of individual dealers and small
companies that prefer to deal in cash. High tariHs on gold have
attracted smugglers for years. There's a dual economic system in
the jewel industry,‘ concedes Richard Rubin, the owner of Republic

Metals in Miami, a gold reEncr. "I'here's on the books and there's
off the books.'

“Latin American gold enters the United States largely through
Miami. From 1989 to 1998, annual gold imports through Miami
lntemational Airport jumped nom 318 million to $465 million ~
a 26-fold increase lndeed, U.S. money laundering experts
believe these odd statistics reflect a myriad -of schemes for
laundering drug money. Investigators have found that in some
cases, the launderers even buy back the same gold they have just
sold for refining in the United States, paying for it with yet more
drug money. The scheme apparently is also a good deal for tax
cheats. A recent crackdown in Peru found that 40% of that nation's
gold companies were bogus, set up largely to take advantage of an
export tax rebate Smugglers shipped gold to American refiners,
pocketed the tax rebale, smuggled the gold back to Peru, then
shipped it out again, grabbing yet another rebate ‘I may have
handled gold corning in that was gold l sent down there to begin

with,' says Richard Rubin whose Republic Metals made large
shipments to and from Peru"

When read in context, the foregoing captions, photographs and statements

(eollectively the "Materials") are false and defamatoty'in that they imply that Rubin is or has

been involved in money laundering tax haud, and that he permits the use of his gold mining

business to facilitate money laundering by drug dealers and other criminals. Such depictions of

Rubin are absolutely false and tend to subject Rubin to hatred, distreas, ridicule, contempt and

disgraee.

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11. At the time the statements were made, the defendants knew that the statements
would expose Rubin to hatred, distresa, ridicule, contempt, and disgrace.

12. The Maten`als are false and defamatory per se.

13. Defendants published the defamatory Materials knowing that they were false or
with reckless disregard for their truth or falsity. The defendants knew that they had no
reasonable basis in fact to imply to readers that Rubin was involved in money laundering, tax
fraud or any criminal or unethical activity of any kind and that they had no reliable or unbiased
evidence or information to support such implications

14. The defendants failed to properly determine the truth or falsity of the defamatory
implications conveyed by the Materials and, in fact, intended to convey a defamatory implication
to the reading public.

i§. 'i'hc Atticie was published m Miami-finds County and throughout the United
States and the world. The foregoing defamatory statements were seen and read by persons who
reaide, among other places, in Miami-Dade County.

16. As a direct and proximate result of the publication of the defamatory statements
alleged above, Rubin has suffered damage to his reputation, shame, modification and emotional
distress.

17. The defendants' conduct was reckless and constituted a conscience disregard or
indifference to the rights of plaintif and done willfully, maliciously. with ill-will toward Rubin

and with conscience disregard for Rubin’s rights.

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WHEKEFORE, Rubin demands judgment against the defendants for compensatory

damages in excess of $75,000, punitive damages, costs, and all other relief that this Court deems

just and appropriate

DEMAND FOR w fw
Plaintiff demands a trial by jury on all issues so triable.

Dated: April 18, 2000

STROOCK & STROOCK & LAVAN LLP
3300 First Union Financial Center

200 South Bisc'ayne Boulevard

Miami, Florida 33131

Telephone: (305) 358-9900

Facsimile: (305) 789-9302

_and.

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Deborah Drooz, Esq.

2029 Century Park East. Floors16&18

Los Angeles, CA 90067-3 086

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By: Q'_l
Richard B. Simn'ng +
Florida Bar No. 890571/
Sean W. Firley
Florida Bar No. 0118567

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The golden
age of crime

Why international drug trajj‘ickers
are invading the global gold trade

Bv Davlo E. KAFLAN

arianWahs was fedingthehea.t.
He had helped sand more than

100 kilos of cocaine from Chiea-
oto Eastern Burope, federal
agents aay, the owedhis Colombian sup-
pliers $2 million and they were threaten-
ing hia life. He swore
that the money would
bc wired immediately
l-I is partner even allowed deem where: w
the account of a Panamanian gold compa-

ny named Speed Joyeros.

Moving mmcyw$peedloyeeoswasaleo
on the mind ot`Inooerm'o lopez Accordhag
to court testimony, the Dominican drug

 

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42 u.s.Ngm a Woltr.o lirrolr, Novlaslu as. 1893

dealer droppedo€abagltu§edwlthnear-
ly 6800.000 at a Manhattan hotel room;
themoneywastogowMoiaheHd>roni.the
owner of Speed Joyeros.

The connection between the two drug
cases and Speed Joyeros la more than a
coincidence law enforcement sources say.
Speedi.rrepured robeLah'nAmoim'sla.rgest

gold trader, with 825

iiiV.E_$.'..'{l.fiAT`E_V.E\.R.E.\E.Q,RT million in sales a
m.onth. U.S. drug -- '

furmanth agents have wired crow-ly ill mil--
lion from a New York bank account b¢»

longing to the company. Now they’re -
the millions

Brm’amovementof
oldallarscfgoldandasharmmdtheworld.
Speedhasnotbeenehargedwithan crime;
companyoffieiala proclaim ` in-
nocence and are £ghting the govern-
ment for release of their funds. But
toU.S.erper-ta,theeasesdrowdaazgald
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dollarbuslneoofwaahbgdir‘|ymonay

¢oodaa|alll.'l'hagoldtradahaabe-
come‘themoneylaunderingmeeha-

as jewelry lngota, or eveneerap, than
shipped across borders and recold.
The resulting prodta are "clean,' the
drug trafdehs who bought the gold
inthedrstplaeafreatodoudth his
money as hepleasea. 80 pervasive la
its criminal use that gold ia joining
the U.S. dollaraa thestandasd eur-
rency of the drug trad¢. Among the
evid¢nee:

.¢NeulyeverymaiorU.S. moneylaun-
deringaaeinreoentyeushuinvolved
gold Amhentieshaverneedthermve-
mentoftcnsofgoldandbilllomofdo\-

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Betil\lng gold hara from Latin America.
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omgoldtroder'.somagne¢forerook:.

larsto dela byLarinAmarieandrugeartels.
l U.S. goldlm;b:m m orta from Latin Ameri-
shrede Imports _
of gold from Colombia-a minor produc-
er-ballooned from virtually nothing m
1993 to nearly 6200 million in BBS
o tn the past'lo yeara, nearly $2.5 billion
in foreign gold flowed' into mann-despite
Florida's lack of a jewelry~making indus-
try. Anthositiesaaymudi ofthe geldistied
to money laundering and tax seama.
o Narcotiu traEcleer'a ara taking over the
Latin American gold trade, industry of-

Eeials .Colomln'andrugdaaleraarepay-
ing tpricaaforgoldandbuying
upsmall dealeraacroaathe

region.

For drug traffick¢ra, the gold market
is like a magnet So much of the interna-
tional gold trade operates "oE the boolu'
maritiameasy¢arg¢throrpnized crime.
officials say. While many gold compa-
nies operate legitimately, interviews with

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traders, refiners, and law enforcement of-
Hcials depict an industry riddled with
money laundering, tax fraud, smuggling,
and dubious bookkeeping

But the impact of an illicit gold trade
goes beyond the corruption of one in-
dustry. Having reHned methods to de~
tect money laundering in inanciel insti-
tutions, U.S. investigators are etyrnied
by the ancient trade in gold. Ot’i'iciale
_also worry that corruption in latinAmer-
tca's gold trade will spread to the United

States, where refiners am importing record
amounts of

ld from Colombia and Peru,
"l"here's no g else out there like gold,'
says U.S. customs agent John Caaarra.
Posted to Rome in the early 1990s to in-
vestigate the Matia, Caserra found co his
surprise that ld dgured again end again
as the key to aundering cases. "Money
launderers are foremost husineasmen, end
businessmen want certainty,' he says.
"Gold gives that to them. They can ex-
change it anywhere in the world."
Take the case of Gustavo U gui Dclga-
do. Casarra and his lulian col agurs were

 

stunned in 1994, when they found Delga-
do, a top money launderer for Colombia's
Cali cartcl, was buying over a ton of gold
a month with his colleagues, using drug
money to purdue the stuE, then shipping
it to Panama. 'i'he launderers moved so
much of the metal, oftlcials say, that it
depressedthe price ofgoldbctweenthetwo
countriee.

The bi surprise is that it took traf-
iicltere li Del£adc so long to tumble
totheallureofg d.’l`heindustryislarge-
lymade up of individual dealers and small
companies that prefer to deal in cash.
l-iigh tariffs on gold have attracted smug-
glers for years. "'l'here’s a dual econom-
ic system in the jewelry industry,’ con-
cedes Richard Rubin, the owner of
Republic Metals in Miami, a gold refin-
er. "'l'here’e on the books and there’s od'
the hooks.'

Howbig is the underground gold trade?
No one really knows, but customs officials
got an unsettlinghint a iewycrus agowhcn
they began checking trade data on U.S.
gold shipments. 'We began to see spiloes-

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crazy spikes," says Lou Boclt,
a customs specialist in interna-
_ donal trade cnmee' "We thought

they must have been errors st
first.' lnitially, analysts discov-
ered large movements of gold
between the United States and
various Caribbean islands-
places known not for their gold
industrybut forlaundenng' dirty
money. U.S. gold im arts from
the Nethe'ian& Anti§e\ for cs-
amplc, jumped from $68,000
in 1993 co sss muuonjuszfour
years later.

|n the tone. Equally impres-
sive spiltes soon emerged from
Colombia and l'eru, the centers
of cocaine production Betwcen
1994 and 1997, U.S. imports
of Peruvian gold grew more
than ninefold, from 319 million
to $177 million lm rs otgoid
from Colombia ooned from
a mere 5120,000 in 1998 to
nearly 8200 million in 1996.

Much ofthe in Peruvian
production maybe dueto rapid
growth in that nation's legiti'
mate gold industry. says John
Lutlcy, a veteran analyst at the
industry-sponsored Gold lri.r.t'iq
tute in Washington, D.C. But
Lutley Snds the data for Colom-
bia hard to explain "l'hat's a to-
tallyinsrudible number.'be says
’Il\e flood ct’ Oolombian gold has
made atleest some Amaian re-
finers wary. 'We do no business
out ofColomhia, for the pure and
simple reason that we can't establish the
identity of the owner of the gold," says
Miehel Berleson, marketing manager for
top reiiner l~landy k Harman-

Latin American gold enters the Unit-
ed Statee largely through Miami. From
1989 to 1998, annual gold imports through
Miami International Airportj'ompedirom
Sll million to sess million-a 26-iold in-
crease. While much of this trade is legit-
imate, gold analysts remain wary. given
the absence of sjewelry-making indus-
try in Florida. lndeed, U$. money laun-
dering expch believethcsc odd statistics
retlect a myriad of schemes forlaundering

drug money.

One scheme workslhthis: Top
refiners in Switseriand sell their old to
jewelrymahersin! ,theworld's t
supplier of fine gol jewelry. The Ital-
iao jewelry is sold to U.S. buyers-most
of this trade is thought to be legitimate-
and to their second top market, Panama,
which imported $300 million worth of
Italian gold last year-25 to 30 tons-
aooording to Gold Fields Mineral Savioes»

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a london-based research tirm.

ln Panama, nearly all the gold arrives at
the Colon Free Zone, a bustling market
perched on the edge of the Panama Canal.
Home to Speed Joyeros and 1,600 other
oompanis.themnn Hbr¢istheworld'sseo
cod-largest free port, after Hong Kong.
Bound by an imposing gray wall topped by
barbed wire, the 1.5~square~mile zone is
home to a dizzying potpourrl of global
traders: A.rabs, Chinese, Indians, Jews.
More than $ 6 billion of merchandise pass-
es through the district oachyear-as much
ss aquarterofit, investigators say.iinanmd
by drug money.

in the money. Once in Colon, much of the
italian gold k sold to Colombian front man
for the cocaine industry. lt ll Colén, for ex-
amplo, where the Cali alters D¢lgado sent
his gold each month. The gold is then
smuggled back to Colombia, where some
dealers sell it for pesos and use the money
far living expenses and to fund more drug
production. But others melt down the jew-
elry, recast it into ingots, and sell the gold
to refiners in the United States or Switzer-
land, producing a stream of income that
look legitimate

Investigators bave found that in somel
cases, the launderers even buy back the
same gold they've just sold for refining
in the United States, paying for it with yet
more drug money. The scheme appar-
ently is also a good deal for tax cheats. A
recent crackdown in Peru found that 40
percent of that nation's gold companies
wore bogus, set up largely to take advan-
tage of an export-tax rebate. Smugglers
shipped gold to American reiiners, pock-
eted the tax rebata, smuggled the gold bad¢
to ?eru, then shipped it out again, grab-
bing yet another rebate. "l may have han-
dled gold coming in that was gold l sent
down there to begin with," says Richard
Rubin, whose Republic Metals made large
shipments to and from Peru.

Gold traders say the influence of nar-
cotraf§ckers is so pervasive that they are
taking over Latin Amerioa’s gold
trade, co-opiing legitimate firms
and buying up traders in country
after country. "l'hey’r¢ Iqu¢€dll¢
out the legitimate dealer¢.' says
one prominent trader Who insist-
ed on anonymity.

Fe§l¢::asl a.gsits believe compa~
nies ' p Joyeros la a
role in the underground fold’tra‘dz
a charge thc iirrn’s owners em-
phatically rejeet. 'lfrny clients sra
laundering money, why haven't
theybeen lndlcted?" argues Speed
attorney Louis Diamond. Busineas

l for Speed, meanwhila, is booming.

in Colén, the company is building The bust\ins colin Free lone on the Panama tana\
0 Home to a dizyt`ngpatpat¢rrt‘ of global traders

what a competitor calls "a tem-

.'vrs~ `.'"..¢' '

   
   

menard Rubin, owner oi Republic Metals, an the floor ol his Miami gold refinery

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gmi-mud

o '71u1'e‘s a dual economic system.... Ther¢'s on the books and thsre's ofthe books.'

ple of gold'-possibly the largest jewelry
store in latin America.

Drug dealers playing the gold card are
doing it in increasingly sophisticated ways.
In 1989, federal agents stopped a billion-
dollar moneylaundry that eaportedso much
goldfroln Uniguaythatthatcmmirybemme
America's largest gold supplier. ’Ihe fact that
Umguayhad no gold industry mattered lit-
tle to the launderers-what mattered was
creating a credible cover for their flow of
naroodollals. Today, some criminals are im-
porting gold-placed bronze into the United
States, others are shipging out just the
opposite: gold disguis as other metals.
Havlngtalnenpaymentingold, theo-a$ckers
sdnpiywamto move rheirasselsbaelthome.
Cmomsinspectors, nowon thelookoutfor
goldsmogglers.havenude repeated aim
in recent mouths. In one case, a woman fly-
irigtoColombiafi-om NewYoa-kwassboppad

   

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with two tractor-trailer hitches, seeming-
lymadc ofsbcol. Undnrthe paint, inspectors
say they found solid gold.

The gold trade poses other challenges
forlawenforcement. The industrys book-
keeping racticea can be nightmarish, and
gold fingers often are shielded by ethnic
and family bonds. 'Arms cases arc com-
paratively easy," says Casarra, the money
laundering watchdog. "'l‘hey are a com-
modityyoufollowfrom oountryAto coun-
try B. But gold is more like a currency.
Moreover, its form can change, and that
can make it extremely diflicult to follow.”

Law enforcement’s gold bugs also face
obstacles within their own eamp. Casarra
and a handful of colleagues have fought
a sometimes frustrating battle within
the U.S. government to focus more at-
tention on the gold tradc. Many investi-
gators still view gold cases as eatot'lc, even
while their bosses stress the im-
portance of going after criminal
money. Washington, meanwhile,
has taken its campaign against
money laundering overseas,
prompting governments world-
wide to put new laws on the book
But cutting thc underworld's ii-
nancial pipeline will take more
than seizing bank acoounts. lfthe
focus remains merely on hard cash
mdnotprecious metal, the world's
drug barons may yet live to see a
new Golden Age. o

 

Wi'¢h Pht`lip P. Willdn and Elsm'
Dimmlar in Rome, Corol SaIgue-ro
in Ls'mo, and Marlr M¢ddsn

 

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As stepfamilies become increasingly
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make them worl<. B_i,/ ll'r'm_.j/ Hcrh\:‘"

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Via First Cim Meil, Certiiied Meil,
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Mortimer B. Zuckerman, Q
Chnirmcm end Editor-in-(`.hiei` \
U.S. News & WORLD Rm»om' \_€l*\\%\

Editorial Ol`ftces
1050 Thomas Jeil`erson Street_. N.W.
Washington, D.C. 20007-3837

David E. Kaplan

U.S. N!:WS &. Wui<'.n Reroa'r
F.ditorial Oi`iices

ii}$.~.": Thomas lafferson Stree=.. ?~é.‘h'.
‘~‘v’asi'tington` D \C~ 200[17»`38i7

Re; U.§. News & Wg;id REth Arti§lc, EQVQILM[ ;9, 1999; "T'i‘\c,_(_:`|g_id;n_égc OfC[lme"

Dcar Mcssrs. Zuckcrman end Kaplan:
This otiice represents Richard Rubin and his company. Republic Metals.

U.S. News & WORLD REPORT, in its November 29, 1999 edition, published an article by David

F.. Kaplan entitled ”'lhe Golden Age of Crime . . . Why lntemational Drug Traliickcrs are

invading the Global Gold 'l`rede" (the "Articie"). This Article focused on the process by which

drug money is "laundcred" through the purchase and resale of gold. The Article repeatedly

referred to Mr. Rubin and his company and, in fact, purported to quote him. lt was illustrated

with color photographs oi` Mr. Rubin end his facilities 4

In face Mr. Rubin has been in the gold refining business for ever twenty years in that timc, he t
has built a sterling reputation for honesty and integrity Throughout his carecr, Mr. Rubin has l
conducted his business m strict accordance with the law. §

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51 ROO<;K o STnoot;i< o LAvAN tn-

Mortimer B. Zuckermnn
David L. Kaplan

March l, 2000

Page 2

The references m your article, including the quotations and photographs falsely implied that Mr.
Rubin is a knowing participant in the money laundering operations described in thc Article. The
entire tone end tenor of the Article is false and defamatory insofar as it implies that Mr. Rubin is
involved in improper or illegal transactions lndeed, the very structure of the Article suggests
that Mr. Kaplan deliberately attempted to provoke this erroneous inferencc.

'l`he contents of the Article are defamatory per .re. The implication generated by the caption
below Mr. Rubin's picture that Mr. Rubin or his company transacts business "off the books" is
absolutely falsc. The implication that Mr. Rubin or his company are in any way involved in
money laundering activities is absolutely fnlsc. The language of the Article implying that Mr.
Rubin or his company tramects business "ot’t`the books" is folse. Thc language of the Article and
its positioning implying that Mr. Rubin ". . . handled gold coming in that was gold l sent down
there to begin with . . ." creating the implication that Mr. Rubin or his company were involved in
tax fraud or smuggling with respect to transactions in Peru are absolutely false. The positioning
and distortion ot`Mr. Rubin’s comments, and pictures of Mr. Rubin and his facilities create an
absolutely false implication that Mr. Rubin end his company arc involved in "thc golden age of
crim¢" and international money §sunderiug involving drug traffickers

The reputational injury end emotional distress suffered by Mr. Rubin as a result ol` thc
publication of` this defamatory material is incalculable. No apology or correction on the pan of
your publication can fully undo the damage that has been done herc. llowcvcr, injury to Mr.
Rubin’s reputation may bc made less severe by a prompt end unequivocal retraction

Accordingly, we hereby demand that you publish such a retraction in a manner that is comparable
in size, placement end prominence to the offending Article.

Very truly yours.

Barry B. Langbcrg

BBL:rlv

5m99l5le

oe'rrns

majority of students in high school have
utilized the Internet for its vast resources
of knowledge and freebie information.
Book analyses for book reports and free
study guides for various other subjects
abound. Hard work is no longer a neces-
sity for many students.
YUHMIN LING
Toms Rz'ver, N.J.

NOW WE KNOW WHY WE HAVE ECO-
nomic depressions. They teach young peo-
ple not to become too complacent. Two
decades of economic prosperity, con-
versely, have taught them that they do not
have to work and learn to survive.
DENNIS M. CLAUSEN
Escondt'do, Calif.

N.¥. shooting

IN JOHN LEO’S COLUMN “DID I sAY
Murder?" [February 7], he complains that
the New York City police shooting of
Amadou Diallo has been referred to as
murder by Hillary Clinton and others.
What would he prefer to call it? “A horrifrc
mistake by jittery cops”? The act of shoot-
ing a.n unarmed person 41 times is the very

ment, a horrific mistake. The occurrence

of such shootings perhaps does not reflect

“jitteriness” but rather overzealous, un-

professional, and unacceptable police be-
havior that must be corrected.

LAURENCE GEVERS

Harrt'sburg, Pa.

YES, IT’S TR.AGIC THAT FOUR OF NEW
York City’s finest made this fatal mistake.
But to keep every citizen’s faith that they
have the finest protection, we all have
a vested interest in ensuring that the in-
tegrity of law enforcement isn’t compro-
mised. An effective criminal justice sys-
tem is founded in the confidence of
society.
RUSSELL GOTTFRIED
Mayport, Fla.

LEO CLAIMS THAT HILLARY CLINTON
rushed to judgment about the Diallo case,
inappropriater announcing her opinion
in order to further political ends. I would
agree. Oddly, though, Leo then proceeds
to do the exact same thing. He declares the
incident simply “a horriEc mistake by jit-
tery cops,” and then he proceeds to tout
New York Mayor Rudy Giuliani’s record

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Gorrection: Among the numerous public
officials convicted on federal and state
charges in northwestern Ohio [“The So-
pranos Come to Youngstown, Ohio,”
March 6], only one was a county
commissioner.

 

Clarification

The article “The Golden Age of
Crime,” which appeared in the
Nov. 29, 1999, edition of U.S.News
¢S~ World Report, discussed how
drug money is laundered through
the purchase and resale of gold.
The article includes quotes from
an interview with Richard Rubin,
the owner of Republic Metal, a
gold-refining business. U.S. News
did not suggest and did not intend
to suggest that Mr. Rubin or his
company were engaged in money
laundering, tax fraud, smuggling,
or any other' improper or illegal
transactions discussed' m the arti-
cle, or that he or his company
transacts business “off the boo
U.S. Ncth fcgrets if any reader

definition of murder. The fact that it is on crime.
“unprecedented" for police to be charged

With murder in such cases is, in my judg-

 

 

mier S'rticle to suggest such
SHALLEE PAPE' u_“

 

o

 

Paranol”

(olopatadine hydrochloride ophthalmic solution) 0.1%

DESC|\|PT|O||

PATANOL‘ (o|opatadlna hydrochloride ophthalmlc solution) 0.1% ls a slerl|o ophtha|mlc solution containing
olopatadlne. a relatively selective H,-receptor aniagonlst and lnhlbltor of hlstamlne release from the mast cell
for loplcal administration to fha eyes. Olopatadlne hydrochlorlde ls a whltal crystalllns. water-soluble powder
with a molecular weight of 373 lift The chemlr,al structure ls presented below:

 

chemical ||ame: 11-[(Z)-G-(Dlmathylamlnolpropylldene]-B- 0

l 1-dlhydrodlbenz[b,e] oxapln-Z-acetlc
: o

sold hydrochlorlda
Each mL of PATANOL contalns: Aetlva: 1.ll mg olopaladlna hydrochloride squlvalent to 1 mg olopatadlne.
Prosenraf|va: benzalkonlum chlorlds 0.01%. lnsetlves: dlbaslc sodlum phosphate; sodium chlorlde;
hydrochlorlc acid/sodlum hydroxlde (ad|ust pH)'. and purillad water. lt has a pH of approxlmataly 7 and an
osmolallly of approximately 300 mOsm/kg_ DM~DO
cLll|lCAL PHARMAC|JLBG¥
Olopeludlns ls an lnhlb|lor of tha release of hlstamlna from the mast cell and a relatively selective hlstamlna H‘-
antagonlsl that lnhlblls the /n vlva and ln vlfm type 1 lmmedlats hyporsenslflvlty reaction Olopatadlna ls devoid
nt .iffanls on alpha-adrenar.'_rlc. dooamlne. muscarlnlc ripe 1 und2 .3nd sarafanln receutars. Follawlng topicsl
:.;;.':.:.' administration lr: mah, o:n;::a:t:tc '.v:c chcv.'r. '.c .".:\'c lo.. -' :','slarnic exposure Two st'.-'_-`!es in nurr-_:s-
volunteers (totallng 24 sub|acts| closed bilaterally with olopafadlns 0.15% cphfhalmlc solution once every 12
hours for 2 weeks demonstrated plasma concentrations to be generally below the quantitatlon llmlf of the assay
(<0.5 ng/mL). Samplas ln which olopatsdlno was quantifiable were typlcally found wlthln 2 hours of doslnp and
ranged from 0.5 to 1.3 ng/mL The half-life ln plasma was approximately 3 hoursl and elimination was
pradomlnantly firmth renal excrsllon. Approrlmataly 60-70% of the dose was recovered ln the urine as parent
drug. Two manrbolllas, fha man¢rdesmethyl and the N-oxlds, ware detected allow oortcsntmtlons ln lhe urlha.
Results from con|unctlval antioch challenge studles demonstrated that PATANOL. when subjects were
challenged wlth antigen both lnltlally and up to 8 hours after dosing. was slgnllicantiy more effective than lis
vehicle in prevenan ocular ltchlng associated wllh allergic conlunctlvltls.
l||Dll:ATlo|ls A||D US|EE

 

PATANOL lolopstadlne f iue 0,1% is ' " for lhs y , of
ltchlnq of the sys due to allergic conlunctlvilis.
cuttl'l\Al|mlttM'l°I|S

PATANOthcontrslndlcaladln personsvdmakrwnhypetamaltlvltytodopmdlnehydrmtrw
comport-iadPATANOL

ir'r'lil\llflfi'l}£
Pl\lANOL ls lot logical use only ana nol for li\]»_rf.ng:l u. r'r\. l.‘;.s
PRECAUTIDNS
lnformatlon for Pallenfs: To prevent contamlnatlng the droppar tip and solutlun, care should be taken not to touch
the ayallda or surrounding areas with the dlappar flp of fhc hottla. Keep bottle lightly closed when nut |n use.
Patlanls should be advised nat to wear a contact lens ll lhalr aya ls rad. PATANDL should not bo used lo heat contact
lens related irritatlan. The preservative \n PATANOL benzalkonlum chlonda. may be absorbed by soft contac! lenses
Palients who wear soft contact lenses and whose eyes are not rad, should be instructed to wall al least ten mlnutes
after lhsfl|llng FATANOL before they insert lhelr contact lsnses.
Carclhogenelll, Mutlgsnssls, lmpllrmsnt of Fertlllty: Olopaladlne admlnlsfersd orally was not
carclnuganlo in mlca and rats ln doses up to 500 mg/kg/day and 200 mplkglday. respectively Basad an a 40 ul
drop slze, these doses ware 78,125 and 31,250 times higher than the maximum recommended ocular human
dose (MROHD). No mutagenlc potentlal was observed when olopatadlne was tested ln an ln vllro baclehal
reverse mulatlon (Amas) test, an ln vllm mammallan chromosoma aberration assay or an ln vlvo mouse
mlcronucleus lest Olopaladlne admlnlsletsd to male and female rats at oral doses of 62,500 times MROHD level
resulted ln a slight decrease ln the iertlllty index and reduced lmplantatlon rate; no affects on reproductlve
functlon ware observed at doses of 7,800 tlmes the maxlrnum recommended ocular human use lavel.
Prognlhcy: Frognancy category G. Olopaladlne was found not to ha leraloganlc ln rats and rabblls. However,
rats treated at 600 mglkg/day, or 93.750 tlmas the MRDHD and rabbits heated at 400 mg/kg/day. or 62,500
times lhn MFlDHD, during organogenesls showed a decrease ln llva fatuses. There are. howeverl no adequate
and well controlled studles |n pregnant women. Because animal studies are not always predlctlve of human
responscs, thls drug should be used in pregnant women only if the potential benefit lo the muffler justifies thc
potentlal rlsk to the embryo or letus.
Nurslng Mothars: Olopaladlne has been ldenlilled in the mllk of nursing rals following oral admlnlstratlon. ll
ls not known whether toplcal ocular admlnlstratlon could result in sufflclent syslamlc absorption lo produce
detectable quantities ln the human breast muk. Nevertheless, cauflon should ba axerclsed when PATANOL ls
admlnlstered la a hurslng mother.
Fadllfrlc flsa: Safefy and effectiveness ln pediatric patients below the age of 3 years have not bean established
ADVE|\SE REMT|I)||$
Headachss warn reported at an lncldence of 7%. The following adverse experiences were reported ln less than
.G% w 'pntiehfs Asfhanla, burning sr stinglng, cc.’: :'.'.'::r:.. .c c.~,r c-,'e, foreign cody sensa' on hyp».~e"~l~ ‘t»'a_lilis
lld sdsma, pharyngltls, pnrrltus mrnms, slnusms, ana taste pervarsiun. Sume ul" mesa maris were si..'tl
underlying disease bean studied
DCSA£E A||D ADI||||S!‘RAHU||
Theracommendeddossisonetomdmpsineach affectedeyalwotimesperdayatan|ntarvalofdlol!mns_
flow Sl.lFPL|ED
PATANOL (olopatadlne hydrochloride ophthalmlc solution) 0.1% is supplied as follows:
5 mL ln plastic DHOP-TA|NER‘ dlspenser.

5 mL; lch 0065-0271-05
Storlg¢: Slnre al 39°F to BS°F (4"€ lo 3(]°Cl.
Rx Onfy
tl.S. intent Nos. 4,B71,865; 4.923.892; 5.116,363; 5,641.805.

 

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Case 1:OO-cV-01386-UU Document 16 Entered on FLSD Docket 06/12/2000 Page 42 of 89

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No. 00-l386-CIV-Ungar0-Benages/Brown
RICHARD RUBIN,
Plaintiff,
vs.

U.S. NEWS & WORLD REPORT, INC.
and David E. Kaplan,

Defendants.

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MO'I`ION
'I`O DISMISS THE COMPLAINT

AP'I’ENDII‘\ UE` CASES CI'I`ED 'l`() 'I`HL

MEDIA LAW REPORTER
Cited at Page:
A. Anson v_ Paxson Communications Corp., 26 Med. L. Rptr. 2374 (Fla. Cir.
Ct. 1998) ............................................................................................................................ 19
B. lslam v. Globe International, 12 Med. L. Rptr. 1864 (S.D. Fla 1985) ................................ 6
C. Jererson v. Winnebago County, Illinois, 23 Med. L. Rptr. 1641 (N.D. Ill.
1995), aim 90 F.3d 1291 (7"‘ Cir. 1996) ............................................................................ 8
D_ Weinstein v. Friedmrm,` 24 Med. L. Rptr. 1769 ¢'\S.D.N `x'.), cyj”`a’, 112 1"' .Bd.
507 (2d Cir. 1996) .......................................................................................................... 8, l 1

E. Wilson v. News-Press Publishing, 28 Med. L. Rptr. 1694 (Fla. Cir. Ct.
April 7, 2000) ....................................................................................................................... 8

26 Med. L. Rptr. 2374

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Anson v. Paxson Communz`cations Corp.

 

the court must view the underlying facts
in the light most favorable to the non-
moving party. Matsushi£a Elec. Indus. Co.
u. Zenit/z Radio Corp., 475 U.S, 574, 587
(1986).

The party seeking-summary judgment
bears the initial responsibility of inform-
ing the district court of the basis for its
motion, and of establishing -`- based on
the relevant portions of the pleadings,
depositions, aHidavits, if any, answers to
interrogatories, and admissions on file --
that there 15 no genuine issue of material
facts. Celotex Corp u. _Catrelt, 477 U. S.
317, 323 (1986). Th_e nonmoving party
must go beyond the pleadings and must,
by its own af'E_davits.and by the deposi-
tions, answers to interrogatorics, and ad-
missions on file, designate specific facts
showing that there is a genuine issue for
trial. Id. at 324.

There is no genuine issue for trial
where the record taken as a whole could
not lead a rational trier of fact to find for
the nonmoving party. Matsu.thila, 475
U.S. at 587.. The nonmoving party must
do more than simply show that there is
11::.'11.11 metaphysical doubt as to the 111111¢:-~
ria‘ ".'111§ 1113 111 536 l\.iatt:ii.ll fmcs l111
those facts whose determination will af-
fect the outcome of- the lawsuit, and an
issue of material fact is genuine if the
evidence is such that a reasonable jury
could find for the nonmoving party, An-
dcrson., 477 U.S. at 248.

To prevail in a copyright infringement
action, plaintiff must prove that: (1) he
has a valid copyright to Nana' Out (which
IIBO concedes solely for the purpose of
this motion); (2) the creators of First Time
Felon had access to plaintiff’s script when
they created First Time Felon,‘ and (3)
defendant’s movie is substantially similar
to N or Out. See, Towler v. Sa_yler, 76 F.3d
579, 581-82 (4th Cir. 1996); Dawson v.
liz`nshaw Music, Inc., 905 F.2d 731, 732
(4th Cir.), cer£. denied, 498 U.S. 981
¢'1‘7‘"""`) U11de1 this standard, summaiy
judgment is appropriate if either: (1)

“the similarity between two works con-
cerns only non- copyrightable clements of
the plaintifi"s work,’ ” or (2) no reason-
able jury, when properly instructed,
could find that the works are substantial-
ly similar. Eaton v. Na£ional Broad; Co.,
972 F. Supp. 1019, 1023 (E.D. Va.
1997) (citations omitted), aFd, No. 97-
2162 (4th Cir. May 21, 1998) (unpub-
lished per curiam opinion).

Discusst`on

[1] Under this standard, the court
finds that plaintiffs claim does not sur-
vive. First, plaintiff presents no evidence
that defendant ever had access to plain-
tiH"s script when defendant made First
sze Felon This undermines his claim
under the second part of the three- -part
test in Towler

Second, the court finds that, based on
the record, the two scripts _at_-issue are
very dissimilar, rather than substantially
similar as required under the third` part
of the test in Towler.'Thc only similarities
between the two works appears to be the
gender, race and general age of the two
main characters, and the fact that both
“did time” in one capacity or another.

Defendant, however, has presented
ample evidence that its story is based on
the true-life story of Greg Yance, whose
journey has been well documented in
various newspaper articles submitted as
exhibits to defendant’s motion. Def. Exs.
C through E. In the courts view, this
soundly rebuts any reasonable question
ai:»'.:'.;t 11111 smt"-;`C 131 UCECEdai it s 1'1'1111, aim
drmovstr?fe that it '1..?-.1. 11:1‘.. banc 1
plaintifi°s work. Consequently, defen-
dant’s motion for summary judgment
will be granted, and this action will be
dismissed,

-Muum-rae_mm

ANsoN v. PAXsoN
coMMUNICATIoNs coRP.

Florida Circuit Court
Broward County

MORGAN LlNDEN ANSON v.
PAXSON COMMUNICATIONS
CORPORATION, a Florida corpora»
tion, STEVEN KANE and NICK
LAWRENCF., No. 07-127>33 (C'Z), May
4, 1998

REGULATION OF MEDIA
CONTENT
1. Defamation - Defamatory content

_ “Of and conceming” (_§11.(_)502)

Defamation- -_-. Privilege -___ Fair
comment/opinion (§11.41502) -, '
Dcfamation action against radio de-

fendants is dismissed, since plaintiff was
not identified by name in broadcast, and

Case 1:OO-cV-01386-UU Document 16 Entered on FLSD Docket 06/12/2000 Page 44 of 89

°f,<.'¢‘#`__ 1114 "TM W . 1511

Anson z/. Paxson Communicalz`ons Corp.

26 Med. L. Rptr. 2375

 

thus allegedly defamatory statements
were not “of and conceming” plaintiff,
and since format of broadcast, i.e., radio
talk show, was sufhcient to alert listeners
that defendants’ statements were opinion.

Defamation action against radio de-
fendants On defendants7 motion to
dismiss.

Granted.

john R. Hargrove, of Heinrich G_or-
don Hargrove Weihe & james, Fort
Lauderdale, Fla., for defendants.

Full Tex£ of Opinion

Stafford, J.:

AMENDED oRi)ER oF DlSMlSSAL
Wer PRE/Ul)/CE

'l`his is a defamation case involving
remarks made by defendants S'I`EVEN
KANE and NICK LAWRENCE dur-
ing their talk radio program broadcast on
‘1."-.-"1‘"1`1, ."‘.l‘~'i' in l'oit l,’.iutit:rri;iic_, Fioi‘-
ida l’l'iintif" 1111 1-:11.1'1'1 iliv f~\i'iti~.‘i -.11=111:\'.
uwiier, l’/\XSON C()l\/Il\/lUNIC/\~
TIONS CORPORAT]ON, along with
KANE and LAWRENCE. Defendants
have now filed a motion to dismiss the
amended complaint arguing essentially
two points. First, because the plaintiff

was never identified in the broadcast,`

defendants contend that plaintiff has no
claim. Second, even if plaintiff were
identified, defendants assert that the law
debnes the statements as legally protect-
ed opinion. Because the alleged facts are
not in dispute, the claim may be appro-
priately be determined on the basis of
defendants’ motion to dismiss. Stewarl v.
Sun Sen£i`ne! Company, 695 So.2d 360 [25
Med.L.Rptr. 1763] (Fla. 4th DCA
1997), cert denied 697 So.2d 5122 (Fla.
1997); a<‘cord, .fl'for.w' .11. Rr`fih»~n, 1998 \.‘VL
113541 ti"la. 4th D(,`A iviarch 11, 1998).
}'iaving considered the motion, the court
agrees with defendants’ position and ac~
cordingly dismisses the case with
prejudice.

l. Pretrial Disposition Favored in Defa-
mation Cases.

As the Fourth District noted in Stea)-
art, Florida courts uniformly hold that

early disposition of defamation cases is
“especially appropriate” because of the
chilling effect such cases have on freedom
of speech. ld. at 363. Both the anteced-
ents and progeny of Stewart reflect the
Fourth District’s consistent view in such
matters. See, e.g., Morse u. Ripken, 1998
WL 113541 (Fla. 4th DCA March ll,
1998); Seropian u. Forman, 652 So.2d 490
(Fla. 4th DCA 1995). The rationale is
clear. Unless such cases are summarily
handled, media defendants in.particular
would be forced to steer.-so far-wide of
the “unlawful zone” that public debate
would be styr`nied. Stewart, supra. The
threshold question in this case, t'herefore,
is whether plaintiff has set.forth a legally
enforceable claim.__For the reasons noted
below, the court answers that question in
the negative.

ll. Inherent Defects in Plaintiffs Claim.

[1] A. Plainlij?' 15 Not Identijied. The
subject of that portion of the radio broad-
cast in issue was two unidentified young
men who had attended a party with one
Norman Kent, a Fort Lauderdale attor-
ney. One of the two unidentified men is
the plaintiff in this lawsuit l"i:_':iitiii':;
toiiiplziint was initially dismissed because
1\'1'-1.31111114 \v;i\ not identified 'l`lici'ctil'tci,
lie amended the complaint, and defen-
dams have once again moved to dismiss
To sustain a defamation claim, the chal-
lenged words must refer to or be “of and
conceming” plaintiff See Langner u.
C/zar[es A. Rz'nger, Inc., 503 So.2d 1362
(Fla. 3d DCA 1987); Harwood v. Bus/z,
223 So.2d 359 (Fla. 4th DCA 1969).
The “on the air” colloquy in this case
referred generally to two unidentified
males only. Consequently, the “of and
conceming” requirement is not satisbed.
To allow a plaintiff who is not clearly
identified to institute a defamation action
poses an unjustifiable threat to society.
Sach & Baron, Libel, Slander, and Related
Prob/em_\' ch. 2 at 68 (PLI 1997 Supp.).

B. Defendanls' Sta!ement.r are Exf)rersi'ons
.7,,/(),,“1;`111`012. lit/en if plaintiff were identi-
fied, the claim is nevertheless unenfor-
ceable. rI`his lawsuit involves statements
expressed solely in the context of an “on
the air” radio talk show, where nonac-
tionable epithets, insults, name-calling
and abusive statements are common-
place. Talk radio has come to be accepted
by the listening public as a controversial
opinion forum, and for better or worse
outrageous comments are viewed as a
part of its “schtik”, routine or “gim-

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Case 1:OO-cv-01386-UU Document 16 Entereo| on FLSD Docket 06/12/2000 Page 45 of 89

 

26 Med. L. Rptr. 2376

mick”. As such, talk radio represents a
distinct type-of forum, the general tenor
ol` which negates any realistic impression
that statements by the hosts represent
assertions of objective fact. See, e.g., Wz`l-
son u. Granl, 687 A.Zd 1009, 1014 (N._].
App. 1996); see also Partington u. Bug[iosz`,
56 F.3d 1147 [23 Med.L.Rp`tr. 1929]
(9th Cir. 1995). What is said in this type
of live broadcast is normally taken “with
a grain of salt.” See, Hunter v. Hartman,
545 N.W'.Zd 699, 705-06 [24
Med.L.Rptr. 2004] (Minn. App. 1996).

In this case, the complaint, as amend-
ed, discloses that once on the air, KANE
and LAWRENCE simply launched into
their usual talk show mode and e)_c-
pressed `opinions as a part of their rou-
tine. Once again, nobody was ever identi-
fied except for Norman Kent, who is not
a party. In fact, the complaint, as amend-
ed, quotes Al Rantel, another WFTL
announcer, who actually debated on the

Anson u. Paxson Commum'cations Cor/).

air with KANE and LAWRENCE, Fir-
ing back at_..both ol` them about their
remar-ks. This underscores the “opinion”
nature of the broadcast, from which a
listener “might.easily arrive at a dz]]erent
opinion.” Morse v. Ri[)ken, 1998 WL
113541, "‘2 (Fla. 4th DCA March ll,
1998) (emphasis added). 'I`hus, even if
plaintiff were identiFied, the “cross-Ere”
format and context of the program ren-
dered defendants’ statements as nonac-
tionable opinions which the law abso-
lutely protects. Accordingly, it is

ORDERED and ADJUDGED as
follows: ' ~ '

l. Defendants’ motion to dismiss is
granted. »

2. PlaintiH"s claim is hereby dismissed
with prejudice.

3. The court reserves jurisdiction to
assess costs under Florida Statutes Chapter
57.

 

 

 

 

 

 

 

12 Med. L. Rptr. 1864

interest would be furthered by not reveal-
ing evaluative material. See Wylz`e v. Mills,
195 N./. Super. 332 (Law Div. 1984). In
the circumstances we have determined to
remand the matter to the trial court to
balance the public’s interest in maintain-
ing confidentiality in the reports against
plaintifl"s interest in examining them. We
would expect the judge to examine the
reports and edit out the matters, if any,
which should not be disclosed.

We have not discussed plaintif`f’s con-
stitutional contentions for two reasons.
Firstly, plaintiff seems primarily to men-
tion the constitutional provisions in con-
nection with its common _law and statu-
tory contentions rather than as
independent grounds for relief. Secondly,
we are satisfied that in any event plaintiff
on a constitutional basis would be entitled
to no greater relief than it will obtain
under the common law.

The order of March 27, 1985 is af-
firmed to the extent it denied plaintifl"s
request for an evidentiary hearing. It is
otherwise reversed and the matter is re-
manded to the Superior Court, Law Divi-
sion, Monmouth County., for further prr.-
-”-:-edt::jejs -”~i~t inconsistent with this

ull‘)initm \'\"H du n/\' rt~?"_;i:‘ ;:,H'..,'"]t .].…

 

ISLAM v. GLOBE
INTERNATIONAL

U.S. District Court
Southern District of Florida

YUSUF ISLAM v. GLOBE INTER-
NATI()NAL, INC. and LEN STONE,
No. 85~8213-Civ-PAINE,July 29, 1985

REGULATION
CONTENT

1. Defamation»-Deiermining pubiic

official/public figure (§11.20)

Libel plaintiff who alleges that he has
“built up and enjoyed -. a reputation
throughout the world as a popular com-
poser, singer, and entertainer,” is, as mat-
ter of law, public figure, even though suit
was filed by plaintiff under different
name than his stage name.

OF MEDIA

2. Defamation_Retraction (§11.47)

Libel plaintiff whose suit against Flor-
ida newspaper was originally lfiled in fed-

Case 1:OO-cV-01386-UU Document 16 Entered on FLSD Docket 06/12/2000 Page 46 of 89

Islam v. Globe lnlernalional

eral district court in Illinois and was or-
dered transferred to federal district court
in Florida must demonstrate compliance
with Florida retraction statute.

3. Defamation-Pre-trial
dures-_In general (§11.10)

X`OCC-

Libel plaintiff who alleges only that
defendant newspaper “is disseminated
within Cook County, Illinois, and
throughout the world,” and who has
failed to identify one or more particular
persons to ‘whom allegedly defamatory
statement was communicated, has failed
to set forth cause `of'action. -

Libel action against newspaper and
staffwriter. Cn plaintifi"s motion to strike '
certain portions of defendants’ answer
and afiirmative defenses_

Granted in part, denied in part.

Abdullah A. Bade, Indianapolis, Ind.,
Wayne B. 'Giampietro, of 'Dejong, Pol-
trock & Giampietro, Chicago, Ill., and d
Richard L. Martens, or BOOSC; oikt;n_ 1
§-.'l.;:'r.":".= "§, Lui:i:':, '\."`-"est i"::im Be;:ci;. :2:
l~`ln t for plaintiff ll

l"tiut l\l. l,evy, ot L)eutsch, Levy &
Engel, Chicago, Ill., and Dan Paul, of
Paul & Burt, Miami1 Fla., for defendants

 

 
   
  
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   
  
  
  

Full Text of Order/z
_Amcummtt£mtsit_‘

Paine, j:

This cause came to be heard on the
motion filed by Plaintiff on July 15, 1985
(Doeket Entry 8), asking this Court to
strike certain portions of the answer and
affirmative defenses filed by Defendants
on May 23, 1985 (Docket Entry 6). In his
motion to strike, Plaintiff presents his
requests in several numbered paragraph$-
This Court will discuss each of these
paragraphs, in the order presented The
rcmplaim referred =.t,- in this order 15
PlaintifFS second amended complaint,
filed on October 16, 1984 (Docl<et I_‘;N"y
11 as filed in the Northern Disti_‘le_of
Illinois, prior to transfer to this Distr\CL

[1] In Paragraph 5 of his complaini, '.
Plaintiff, suing under the name Yu$u
Islam, states that, under the narr\.€_Of C¥.t ,j
Stevens, he had “built up and €HJOY¢¢.
reputation throughout the world 35 a_ PQ ;,_
ular composer, singer, and entertal_r\¢r‘.v
This would appear to be an allegation
“such pervasive fame or notoriety,thal,|
becomes a public figure for all pu!`

 

 

 

   
 
 
 
 
   
 
 
 
  
  
 
 
  
   
   
  
 

*O\

lsfam u. Globe Internatz`onal

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12 Med. L. Rptr. 1865

 

and in all contexts.” Gertz u. Robert Welch,
Inc., 418 U.S. 323, 351 [1 Med.L.Rptr.
1633] (1974). The fact that Plaintiff
brings this suit under a different name is
of no consequence, as Plaintiff complains
of statements that refer to him as Cat
Stevens. Meeropol v. Nz`zer, 381 F.Supp.
29, 34 (S.D.N.Y., 1974), affirmed in rel-
evant part, reversed as to other issues, 560
F.2d 1061 [2 Med.L.Rptr. 2269] (2d Cir.,
1977), cert. denied 434 U.S. 1013 (1978).

Whether a plaintiff in an action for
defamation is determined to be a public
figure is important because, in order to
prevail, such a plaintiff must prove “that
the defamatory falsehood was made with
knowled e of its falsity or with reckless
disregar for the truth.” Gertz, supra, at
342. “In a defamation case, the question
of public`figure status is pervasive, and it
should be answered as soon as possible.”
Miller v. Transamerican Press, Inc., 621
F.2d 721, 724 [6 Med.L.Rptr. 1598] (5th
Cir., 1980), on rehearing 628 F.2d 932 [6
Med.L.Rptr. 2252] (5th Cir., 1980) (per
curiam), cert. denied 450 U.S. 1041
(1981). One court has noted that idei;tif-,'~
ing "p'.ibiic figures is much fike irving to
nail 7i jell"i'lii'.l‘ tit ti i\.'tii ` i"iti:t; iii-t ;'
Maybe Enterprises, Inc., 41 1 F.Supp. 440,
443 (S.D. Ga., 1976), affirmed 580 F.2d
859 [2 Med.L.Rptr. 1550] (5th Cir.,
1978). This Court believes that this diHi-
culty is avoided here, because Plaintifi"s
description of himself, quoted above, leads
to a conclusion that he is a public figure

This Court, therefore, holds that for the
purposes of this action Plaintiff is consid-
e_red to be a public figure, and must estab-
lish the additional elements of proof re-
quired of such plaintiffs in defamation
a_<:tions. This Court will deny the request
(ln_ paragraph 1 of PlaintiH"s motion) to
strike _the portion of Defendants’ answer
in which they admit that Plaintiff is a
public figure_

‘ For the considerations just stated, this
COL"'§ Will deny the requests i.~. strike
rcr-tained in paragraphs 2 through 5, in-
d“SWC, Of Plaintiff`s motion to strike.

A_s stated in paragraph 6 of Plaintiff’s
m°l§On to strike, Defendants’ fourth affir-
ma\lv€ defense is essentially nothing more

- 3 denial. That is not, however,
munds for striking that portion of the
pl¢ad_mg. Augustus u. Board of Publz`c In-
¥_ruclzon of Escambz`a County, Florida, 306

34 862, 368 (sth cir., 1962>; United
421¢¢$ v. Articles of Food, 67 F.R.D. 419,
‘ (D- Idaho, 1975). This Court will

5 . y \h€ request in paragraph 6 of Plain-

.i$'».motion to strike.

For the reasoning just stated, this Court
will also deny the requests to strike con-
tained in paragraphs 7, 10, and 13 of
Plaintiff's motion.

In paragraph 8 of his motion, Plaintiff
asks this Court to strike Defendants’ sixth
affirmative defense. As this affirmative
defense, Defendants assert that Plaintiff
has failed to state the elements of a claim
for which this Court may grant relief, in
that Plaintiff has not alleged that he
served a demand upon either Defendant
for retraction of the allegedly defamatory
statements

This a$rmative defense is presumably
premised upon Section 770.01 of the Flor-
ida Statutes, Fla.Stat.Ann. §770.01
(West). That section requires a plaintiff
in a civil action for libel to provide to the
defendant written notice of the plaintiff’s
claim at least five days prior to filing suit.
The Florida courts have held that compli-
ance with this statute is a condition prece-
dent to a suit for libel, Rors v. Gore, 48
So.2d 412 (Fla., 1950), and that an alle-
gation of such compliance is an essential
:ier:“.cnt -;-f a ci;ii-m for t‘eiiei. i;`t:'r.'~rivi" f
.i\"w.-?»i'."w.f?. hit t\"’trf~ ‘:"i :' ..'t . ii it ('.`~rlrt~iu»
tion, 1115 hold 51, 56 (f"la., 3d DCA),
cert. denied 424 So.2d 763 (Fla.‘ 1982).

in deciding whether this is a proper
affirmative defense in this action, this
Court must first determine whether the
law of the state of Florida is to be applied
liere. This Court hasjurisdiction over this
action, under 28 U.S.C. §1332, because of
the diversity of citizenship of the parties.
In a diversity case, this Court must gener-
ally apply the state law that would be
applied by the courts of the state of Flor-
ida, in which state this Court sits. Roo]€ng
dr Sheet Metal Serw`ces, [nc. z). La Quz'nta
Motor Inns, Inc., 689 F.2d 982, 991 (1 lth
Cir., 1982). The requirements of Fla.Sta-
t.Ann. §770.01 have been held to apply in
an action for libel brought in this District,
under diversity jurisdictioi'i. I,rzm"i= z'_
.“.'nt'gfti‘.-Ritiu'er )\"ewspapers, Inc., 532
F.Supp. 910, 911, n.2 (S.D. Fla., 1982)
(King, j).

This action, however, was initially
brought in the District Court for the
Northern District of Illinois. In an order
dated March 18, 1985 (Docket Entry 32
in the Northern District of Illinois),
Judge Marshall granted Defendants’ mo-
tion, and directed that this action be trans-
ferred to this District, under 28 U.S.C.
§1404(a). In Van Dusen 1). Barrack, 376
U.S. 612 (1964), the Supreme Court held
that where a defendant successfully ob-
tains a transfer under Section 1404(a), the

 

 

 

 

 

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12 Med. L. Rptr. 1866

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transferee court must “apply the state law
that would have been applied if there had
been no change of venue.” ld., at 639;
Roofng dr S/ieet Mc'ta/ Servz'ces, Inc., supra,
at 991. This holding would seem to re-
quire this Court to follow and apply the
law of the state of Illinois. In Van Dusen,
however, the Court expressly left open the
question of whether its holding in that
case would apply "if it was contended_that
the transferor State would simply have
dismissed the action on the ground of
forum non convenieni.” 376 U.S., at 640.
This question is apparently still unsettled.
See Golden Eagle Distributz`ng Corporatz'on z).
Burroughs Corporalion, 103 F.R.D. 124,
127 (N.D. Cal., 1984) (quoting, without
discussion, a statement to this effect in a
party’s brief). This Court has found no
reported opinion addressing this question.
It has been held that following a Sec-
tion 1404(a) transfer from a district in
which personal jurisdiction over the de-
fendant could not be obtained, the trans-
feree court must apply the law of the state
in which the transferee court sits. Roofing
dr Sheet Me£al Serz)z`ces, Inc., supra, at 992;
(i'.’>.':r.'.'.'.”¢ ." f".~.,'.‘:.”. .’:|.f ,'lm,":'.".".': .r,`.':rf:.”.r'.':.‘:'."..-.'
734 fj P_rl i/","Fi__ 'i?'Z"‘- t`Tth F`.'ir., 'iflz`<4`,=.
t\tiil: l ' ` ll tr j' »i' i""'i|i _fliti _ t‘lil~§"~-i
(per curiam). 'l`he rationale behind this
holding is that a plaintiff should not be
permitted to abuse the holding of Van
[)usen so as to obtain the application of the
law of a state more favorable to his posi-
tion_ This Court believes that this ratio-
nale should also apply where the courts of
the state in which the transferor court sits
would have dismissed the action on the
ground of forum non conveniens
This Court must, therefore, determine
whether the courts of the state of Illinois
would have dismissed this action on those
grounds, had this action been filed in
those courts. The fact that the transferor
court here did not dismiss this action on
those grounds is, of course, not conclusive.
The transferor District Court had the
option of acting under S.~."tion 1404(;.)_ ;,
remedy not available to a state court. See
Veba-Chemie A.G. u. M/V Gelafix, 711-F.2d
1243, 1246-47 (5th Cir., 1983).
Without making an exhaustive analysis
of the law of Illinois on this point, this
Court believes that, for the reasons pre-
sented in judge Marshall’s order of trans-
fer, the courts of the state of Illinois would
have dismissed this libel action, brought
by a plaintiff residing outside of Illinois
against defendants publishing a newspa-
per in Florida, on the grounds offorum non
conveniens, if not for lack of personaljuris-

diction over Defendants. Cf. Curlz`s Pub_
fishing Company 0. Bz'rd.tong, 360 F.2d 344
(5th Cir., 1966) (holding that the courts of
the state of Alabama could not properly
exercise jurisdiction over nonresident d@_
fendants in a libel action brought by a
Mississippi plaintiff, even though the de-
fendants’ publication was distributed in
Alabama).

[2] For the foregoing, this Court con-
cludes that it must follow and apply the
law of the state of Florida in this action,
and that an affirmative defense premised
on Fla.Stat.Ann. §770.01 is proper. This
Court will deny the request (in paragraph
8 of the motion to strike) to strike Defen-
dants’ sixth affirmative defense. Further-
more, finding that Plaintiff has failed to
properly allege compliance with the re-
quirements of Section 770.01, this Court
will dismiss this action unless Plaintiff
promptly amends his complaint to include
such an allegation.

It is a proper affirmative defense to
assert that an allegedly defamatory state-
ment was rendered as opinion or “fair
comment” regarding a matter or person of
=‘-`-'-l`-li»j ii"i‘-_CE`CSL. G:.":'~" e'. ."f;~i't'.'." "i',.':.":..".'. .".'.'_..
su})i'a, at 339--40.' !"`r().*.'i '."".':."t'..’tk'._’z.r.rt'r‘
ilrlt‘i‘» t.', f\'_ i't'i `*~'i.. "\l 'L
Med.L.Rptr. 1811] (Fla.` lst DCA,
1981), cert. denied 412 So.2d 465 (Fla.,
1982). The determination of whether a
statement is one of opinion, so as to not
give rise to a cause of action for defama-
tion, is a question of lnw. ld., at 56~57.
This determination is made from an ex-
amination of the statement, and the man-
ner and context in which the statement
was presented Smilh z). Taylor Publz`t/zing
Company, Inc., 443 So.2d 1042, 1047
(Fla., 1st DCA, 1983), citing Informalw"
Control Corporatz`on v. Genesz`_t One Compu_ler
Corporation, 611 F.2d 781, 784 (91}’1 Cl¥`-,
1980). Upon reviewing the allegedly dc-
famatory statements, as set forth in thc
complaint, this Court concludes that_thc$¢
statements were not presented as opinion.
and =~'-:-ulcl not be t"':~i'tsti"ued h'Y' 3 -”€350!‘~'
ably prudent reader as such. Rather, lh¢s_¢
statements were reported as fa_ct. Thls
Court will grant the request fm Pafa°
graph 9.of the motion to strike) to strike t
Defendants’ seventh affirmative defeni¢-

It is a proper affirmative defensc, m an _.
action for libel, for a defendant newspan -
to assert that it merely reproduced, 0""
republished, press dispatches from 0t
generally recognized sources 0f n¢w‘,',-
Layne u. Tn'bune Co., 108 Fla. 177, -“"*'
146 So.234, 237 (1933); .Cardozo v- ,=
342 so.zd 1053, 1056 [2 Med-L~R

   
 
 
 
 
 
 
 
 
    
  
  
    
   
  

 

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Calalfo v. jensen

l 12 Med. L. Rptr. 1867

 

1635] (Fla. 2d DCA), cert. denied 353
So.2d 674 (Fla., 1977). Therefore, this
Court will deny the request (in paragraph
11 of the motion to strike) to strike Defen-
dants’ thirteenth affirmative defense.

Because this Court has concluded that
Plaintiff has, in his complaint, presented
himself as a public figure, this Court will
deny the request (in paragraph 12 of the
motion to strike) to strike Defendants’
fourteenth affirmative defense. That af-
firmative defense is a denial of one of the
elements of proof of a claim for damages
by a public figure.

This Court has noted a further defect in
the complaint, in addition to the failure to
allege compliance with the requirements
of Fla.Stat.Ann. §770.01. To set forth a
claim for defamation, a plaintiff must
identify one or more particular persons to
whom the allegedly defamatory statement
was allegedly communicated Adz)antage
Personnel Agency, Inc. v. Hicks dr Grayson,
lnc., 447 So.2d 330, 331 (Fla., 3d DCA,
1984). An allegation that an allegedly
defamatory statement was made to “nu-
merous third parties on numerous occa-
si-"~'i=" has been hr‘..'§ =,»;- be iii:';tifiicirn¢_.
Bzitktnz;- t/'. hit/w Fft'n'~’.'.i h " f{ri<'%"t'¢" il ‘t
t'=':‘.,'t', 103 St)._:‘.tl 1025, li)£/~Z¥j tf"l;i., 3d
DCA, 1981), cert. denied 412 So.2d 463
(Fla., 1982).

[3] In his complaint, Plaintiff has not
identified any third party as having actu-
ally read the allegedly defamatory state-
ments published by Defendants, nor has
Plaintiff even alleged that any third party
did read these statements Plaintiff alleges
only that Defendants’ newspaper “-is dis-
seminated within Cook County, Illinois,
and throughout the world.” To state a
cause of action for libel, the complaint
must name those who have read the alleg-
edly libelous publication. Malone z). Longo,
463 F.Supp. 139, 144 (E.D.N.Y., 1979)
(citing New York law). This Court will
dismiss this action unless Plaintiff
P"Omptly amends his complaint to prop-
F'”i'_\" identify one or more pcisons as hav-
ing allegedly read the allegedly defam-
atory statements

Accordingly, it is ORDERED and
ADJUDGED that the motion to strike,
filed by Plaintiff on _]uly 157 1985 (Dock-
C\ E_ntry 8), is hereby granted in part, and
denied in part, as follows
1. The requests to strike, made in para-
graphs 1 through 8, inclusive, and in
paragraphs 10 through 13, inclusive, of
_ at motion, are denied

~ he request to strike, made in para-
aPh*) of that motion, is granted, and the

seventh affirmative defense is stricken
from the answer and affirmative defenses
filed by Defendants on May 23, 1985
(Docket Entry 6).

It is further ORDERED and AD-
jUDGED that Plaintiff is hereby given
leave to file an amended complaint (which
would be his third amended complaint),
properly alleging that Plaintiff has com-
plied with the requirements of Fla.Sta-
t.Ann. §770.01, and properly identifying
one or more persons as having allegedly
read the allegedly defamatory statements
described in the complaint, In the event
that Plaintiff fails to file such an amended
complaint, with the Clerk of this Court,
within fifteen (15) days of the date of this
order, this action will stand dismissed as
of this order, for the failure of the Plaintiff
to allege all the elements of a claim for
which this Court may grant relief.

 

ca'rrn_,i~‘o v, ljiti\isiii\i

U.S. District Court
District of New Hampshire

GINA MARIE CATALFO, AL-
FRED T. CATALFO, CAROLE
jOANNE CATALFO, and ALI*`RED
CATALFO, JR., v. jACK jENSEN,
jON CRISPIN, BRAD EDMOND-
SON, and ITHACA TIMES, Nos.
85~588, 589, 590, 591-D, February 217
1986

REGULATION OF
CONTENT

Defamation_Publication-In gen-
eral (§11.031)

Freelance photographer who was rel
sponsible only for photographs accompa-
nying allegedly defamatory newspaper
article, who did not write or edit article,
and who did not assist in writing of arti-
cle, has not published, either directly or
indirectly, allegedly defamatory state-
ments, even though plaintiff"s name ap~
peared on article’s byline.

MEDIA

Libel action against newspaper and in-
dividuals On defendant Crispin’s motion
for summary judgment.

Granted.

 

 

 

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]gjgrwn u. Winnebago County, Illinois

23 Med. L. Rptr. 1641

 

JEFFERSON v. WINNEBAGO
COUNTY, ILLINOIS

U.S. District Court
Northern District of Illinois

GILES JEFFERSON v. WINNE-
BAGO COUNTY, ILLINOIS, et al.,
No. _94 C 50151, March 2, 1995

REGULATION
CONTENT

f. Privacy _ Common law right -_ In
general (§ 13.01)

OF MEDIA

Liability for non-defamatory com-
munication _ In general (§ 14.01)

Police department’s placement of trace
on telephones from which plaintiff pro-
bation officer called radio show to make
comments critical of police department
and judicial system did not violate plain-
tiff’s privacy, since he had no legitimate
expectation of privacy in location from
which he made telephone call, which he
voluntarily revealed to telephone com-
pany when he placed c;ill: plaintiff failed

:-c. ~'ictti-':-nstz‘ate causai connection i'»r;--
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rights of free speech, petition. and
association.

2. Liability for non-defamatory com-
munication _ In general (§ 14.01)

Plaintiff probation officer, Wlio was
dismissed after he called radio show aiitl
made comments critical of police depart-
ment and judicial system, cannot prevail
on his First Amendment claim against
court services department, since balance
between plaintiff’s interest in expressing
himself and defendant’s interest in pro-
moting public services it provides
through probation officers weighs heavily
in favor of plaintiff’s termination

3. Privacy _ Common law right _ fn
general (§ 13.0101)

_ Nirt'tli Amendment does not provide
independent cause of action for invasion
Of privacy.

4. Liability for non-defamatory com-
munication _' ln general (§ 14.01)

_ Plaintiff probation officer, who was
lSmissed after he called radio talk show
and made comments critical of police
department and judicial system, did not
'state claim for conspiracy under 42 USC
1983, Since he failed to allege class-based

animus on part of defendants or that
defendants conspired to deprive him of
his First Amendment rights

5. Defamation - Pre-trial procedures

_ _]urisdiction (§ 11.1203)

Supplemental claims for intentional
infliction of emotional distress, defama-
tion, and false light that were brought
against state employees in federal court
in Illinois are dismisssed, since Illinois
law requires actions arising out of state
employee’s breach of duty imposed on
him solely by virtue of his employment to
be brought in Illinois Court of Claims.

6. Defamation -_ Defamatory content

-_ Innocent construction
(§11.0503)

Defamation _ Defamatory content
_ Headlines (§ 11.0507)

Defamation - Privilege -_ Fair
comment/opinion (§ 11.4502)

Newspaper article about plaintiff pro-
bation officer’s comments on call-in radio
show that were critical of police depart-
ment and judicial system1 published uti-
-J~C-' rub-heading "trrimc,"" '~vas not deletin-
ert¢»i‘\' under llli'i<iir‘ i:i::it‘<'t‘nt
tonstructioii rule, since nothing iii body
of article suggests that plaintiff had en-
gaged in criminal conduct, and since sub-
heading merely refers to topic area that
substance of plaintiffs phone calls con-
ceriied; editorial that called for plaintiff’s

tei'itiiiiution was privileged opinion. : :
_AUALHMENT l EXH|B|I

Action for violation of 42 USC 1983,
libel, and invasion of privacy against
county and newspaper defendants On
defendants’ motion to dismiss

Dismissed.

Jimmie L. Jones, of _I.L. Jones 86
Associates, Chicago, Ill., for plaintiff

Charles D. Tobin, assistant general
counsel, Gannt-tt Cn Inc., _,
`v'a., and Thomas D. Luchetti and l)ebra
A. Delia, Rockford, Ill., for defendants
Gannett Satellite lnformation Network
Inc., d/b/a Rockford Register Star and
Neal Justiri.

Ai'liiiuton.

Fu[[ Text of Opinion

INTRODUCTION

Plaintiff, Giles Jefferson, filed a twel-
ve-count complaint against defendants

o__.

Case 1:OO-cV-01386-UU Document 16

23 Med. 'L. Rptr. 1642

Entered on FLSD Docket 06/12/2000 Page 5

fejerson v. Winnebago County, Illinois

 

Winnebago County, Illinois, Donald Ga-
sparini, the Winnebago County Sheriff
(both individually and oflicially), C. Karl
Ambroz, Director of Court Services (both
individually and officially), Vincent
Murphy, Chief Operating OfFice of
Adult Probation and Deputy Director of
Court Services (both individually and of-
ficially), Ron Parrett, Chief Operating
Oflicer of juvenile Probation and Depu-
ty Director of Court Services (both indi-
vidually and officially), Lynn Laney, Su-
pervisor of Adult Probation (both
individually and officially), the Rockford
Register Star newspaper (Register Star),
Neal justin, and employee of the Regis-
ter Star (both individually and officially),
an unknown Register Star reporter (both
individually and officially) and WRO-
K-AM, a local radio station in Winne-
bago County (WROK). The complaint
alleges a variety of federal constitutional
and state tort claims against these various
defendants arising out of plaintiff’s on-
air impersonation of a gang member
while on duty as a probation officer and
his subsequent termination from the pro-
bation division. jurisdiction allegedly
arises under 42 U.S.C. §§1981, 1983,
E':"c'»L-€."}, l':"§‘c' and '£,’~~‘.~.’- art-15, ain-icf .7‘:”'.
l:,H` f" b1 iii ’ \'r'~niir~ i\-: iiy'rij‘n-~r here f -
all coinplained-oi-acis occurred iii tins
division and district. /\ll defendants have
moved to dismiss the various counts
against them.2

FACTS

'l`he following facts are from plaintiffs
complaint and are taken as true for pur-
poses of the motions to dismiss. On ap-
proximately july 27 or july 28, 1993,
local and federal law enforcement offi-
cers arrested alleged members of a gang
known as the Black Gangster Disciples.
The arrest of the gang members “becanie
the topic of conversation among the citi-
zens” of Winnebago County. The topic
was discussed in numerous public forums
including talk radio, among which was a
particular taii: program nn V\"R(}K

On or about july 28, 1993, plaintiff, a
probation officer in Winnebago County,
called the talk program on WROK and

'VVhile not expressly alleged, jurisdiction
for the state law claims arises under 28
U.S.C. §1367.

zAlthough plaintiff is represented by
counscl, he has chosen to stand on the allega-
tions of his complaint rather than file any
response to the various motions to dismiss.

identified himself as “Gcorge.” Plaintiff,
for about two and one-half hours, spoke
about various subjects including gangs,
drugs, the Rockford Police Department,
the Rockford Chief of Police and the
judicial system in the Seventeenth judici-
al Circuit. During this conversation,
plaintiff was extremely critical of Rock-
ford’s public officials, especially the
Rockford Police Department and the
Seventeenth judicial Circuit judicial
system.

While plaintiff was expressing his
criticisms of Rockford’s public officials
over the air, Slieriff Gasparini, who was
on the premises of WROK, authorized,
or caused to be authorized, an “in-pro-
cess trace of [plaintiff’s] communication.”
According to the complaint, WROK nev-
er informed plaintiff or any of its callers
that communications would be subject to
an in-process trace nor did it request or
obtain plaintiff’s permission to do so.
WROK granted or permitted access to
devices or information which allowed the
sheriff to conduct the trace.

Approximately one month later, on
about August 20, 1993, Parrett, the chief

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.:tii-i'l li.'iiicy. a supervisor of adult proba-
tioii, toiif`ioiitcd pfaiiitifl and askcd liii.i

if lie was “George,” the caller who "cas-
tigated and impugned the integrity” of
the police department and the Seven-
teenth judicial Circuit. To this, plaintiff
responded “no comment.”

l.atcr, on Scptcmbcr 21, 1‘)‘)3, plain~
tiff again called \NROK, identified him-
self as “George” and “spoke about issues
of public concern, including the arrest of
alleged ‘gang members’ and the Rockford
Police Department.” Again, he was ex-
tremely critical of Rockford police offi-
cials and the Seventeenth judicial Cir-
cuit. On or about September 23, Parrett
and laaney again asked plaintiff whether
he was “George,” to which plaintiff
again said “no comment.”

l"ollc\.t'ing this latter interrogation by
Parrett and Laney, Ambroz, along with
l\/Iurphy, summoned plaintiff to Am-
broz’s office. Ambroz and Murphy ques-
tioned plaintiff as to whether he was
“Geoi‘ge.” Plaintiff refused to answer
whether he was “George.” Three days
latei`, plaintiff was summoned to Am-
broz’s office where Ambroz and Murphy
Suspended plaintiff for fifteen days with-
out explanation. Ambroz subsequently
sent a letter to plaintiff which stated, in
pertinent part:

 

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“That on july 28, 1993, you misrep-
resented yourself as a Black Gangster
Disciple to a call-in program to
WROK under the name of ‘George’,
you castigated and impugned the in-
tegrity of the local police department
and the local judicial system. On Au-
gust 20, 1993, as you were suspected
to be the caller by the staff and super-
visors of the Probation Department,
you were confronted by Supervisors
Parrett and Laney as to your identity
as ‘George’ in the two and a half hour
call-in to WROK as well as to your
simultaneous tardiness of a couple of
hours on the same date. You categori-
cally denied that you were ‘George’ or
that you were the caller into WROK.
You explained your tardiness on the
premise of ‘having a flat tire’. -

On September 21, 1993, you once
again called WROK as a gang mem-
ber ‘George’; this time from your work
station and desk telephone at the De-
partment. After approximately eight
and a half minutes conversation with
the host of WROK, Chris Bowman,
you were interrupted in your call by a
staff member and you broke off con-
versation with the radio station ':3;-
:`.",i.': pa:“tit;uia; occ;isioo._ you once
"tt_!i"l"' 'i`;ii'i'i;' ii… -_t i\… i nn …\
founded accusations about the Rock-
ford Police Department’s handling of
la] very sensitive case that was cur-
rently in the middle of a criminal trial,
and you left no doubt that you had no
respect for the judicial process Yo\_i
did the aforementioned while you were
on duty as an Ofticer of the Court. On
September 21, 1993, at approximately
11:00 a.m., you were requested for a
conference with myself and Division
Heads Parrett and Murphy for the
purpose of confronting you as the call-
er ‘George’ to WROK earlier in the
day. You vehemently denied to the
three of us that you were either
‘George’ or that you were the caller to
WROK that day or any other time.
O:i September 2_‘». 1‘:’93: in a trir;_
phone conversation on this date to the
Rockford Register Star reporter, Neal
justin, you admitted that you were the
caller, ‘George’ and on the same day
you also admitted to the radio host of
WROK, Chris Bowman, that you and
‘George’ were one and the same.

On September 23, 1993, at approxi-
mately 11120 p.m., you called my
home and you apologized that you lied
to me and the supervisors on Septem-

ber 21, 1993 and that you, in fact,

were the caller ‘George’. You asked as

to your consequences resulting from
the course of these events, and l ad-
vised you to be at your station on the

following day and to be present for a

conference.”

The letter also advised plaintiff he
would have a hearing October 4, 1993.
At the hearing, neither Ambroz, Mur-
phy, Parrett or Laney demonstrated or
proved that plaintiff was negligent re-
garding his duties as an adult probation
officer. These four defendants made it
absolutely clear that each of them disap-
proved of plaintilf"s comments regarding
the police department and the judicial
circuit. That disapproval was further
demonstrated by a letter from Ambroz to
plaintiff, dated October 8, 1993, which
states, in pertinent part:

“You lied and violated the trust with

your immediate Supervisor Laney and

Parrett. Neither feels that hereafter

they may trust you again with privi-

leged or confidential information or
even trust you with the day-tO-day
responsibilities of a Court Officer.

Yoii have grievously damaged -¢-'-:¢t' D~_-
pa.='tnient’s professional relationship
" i".t 'lii:‘ l'-l.i.tt l.ftt ii i`t)ii'¢. iwt"i;i_t i:‘;xi

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and that your misconduct may have

effectively undermined our profession-
al relationship with all the law en-
forcement agencies of this community.
You have permanently damaged our
working relationship with the \N’innc-
bago County State’s Attorney’s Office
by your conduct. The Adult Probation
Department has been denied access to
the State's Attorney`s Ofiice perceives
as a breach of confidence and loss of
trust between our two offices

Your misconduct and your disrespect-
ful and unfounded criticism of the
criminal justice process in Winnebago
County has severely compromised our
relationship with the Courts. Because
of your contemptuous statements of
ihr judicial s‘,'stein, you have nut only
compromised our Department with
the Courts but called into question the
integrity of the Criminal justice pro-
cess vis-a-vis the general public.

You have grievously undermined the
integrity of the judicial process. Your
contumacious conduct has embar-
rassed the Court and its administra*
tion of justice and your conduct has
derogated the Court’s authority and
dignity.

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Your false radio call-in conduct has
called into question our Department’s
reputation with the general public and
the agencies that our Department
comes into contact with in the commu-
nity. Your conduct has seriously dam-
aged and discredited the reputation of
the Court Services Department.
Finally, and perhaps most important-
ly, your position as a Frobation Offi-
cer requires you to supervise proba-
tioners, insuring that these probation-
ers comply with the orders of the
Court and the laws of the state. To do
this, you must be seen as a officer of
the Court who commands the respect
of the Court and also has respect for
the Court. Given your public pro-
nouncements, I cannot see how you
could ever carry out the duties of your
office or to instill in the probationers
the requisite degree of respect for the
rule of law that is required to dis-
charge your duties as a Probation Of~
ficer or that you might ever command
the respect of the Court.”

It is further alleged that “[o]ii infor-
mation and belief Al\/IBROZ, MUR-
Ze`ii`£. I‘_ ff ft f`_.'i` § : c= L.»"`if‘-"F.'\" created
t …vn pit :'i»\' on $':epteml)ti iii_ 1993.:`
ll ie obth t of tit it coiisptiat yt ‘tv tt» di t
plaiiitili, either diiectly or indiiectly, his
First Amendment rights. Parrett, Laney,
Ambroz and Murphy conspired with
each other to invade plaintiffs privacy by
asking him questions which had neither
a direct or indiiect relationship to his
duties as a probation officer. They fur-
ther acted in their conspiracy when they
explicitly or implicitly approved plain-
tiff"s suspension for exercising his First
Amendment rights.

Also, on about September 24, 1993
and thereafter, Ambroz, Murphy, Par-
rett and Laney falsely told plaintiff that
he was suspended and then discharged
because he revealed confidential informa-
tion based upon his position as a proba-
tion officer Other court services em-
ployees were piescn't when .v*.tttbr-;\z,
Murphy, Parrett and Laney told plain-
tiff he was discharged because he lied.

The Register Star publishes a daily
newspaper distributed within Winne-
bago County. justin and the unknown
reporter were at all relevant times acting
within the course and scope of their em-
ployment with the Register Star. On
September 25, 1993, the Register Star
published an article Written by justin
entitled “OFFICER POSED AS
GANGSTER.” The article was located

under the sub-heading “CRIME” and
contained a photograph of plaintiff The
article, which is attached to plaintiffs
complaint, contains no reference to plain-
tiff being under investigation of, accused
of or charged with any crime or criminal
activity. The only reference to any illegal
activity on the part of plaintiff is plain-
tiff”s own statement that he did not be-
lieve his job was in jeopardy because he
did-not break any laws. -

On an unknown date, the Register
Star published an article by an unidenti-
fied author entitled “Dismiss ‘George,’
the faker.” The article, also attached to
plaintiffs complaint, states, among other
things, “Good Work, George -- or Giles.
You not only spilled confidential infor-
mation gained through your position of
authority, but you also put a.problematic
chill on relations between the police and
the court agency for which you work.”

Based on these foregoing allegations,
plaintiff sets forth the following twelve
counts against the various defendants

COUNT I (Sheriff Gasparini)

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’l"‘i"~?:fitir'»ri of tli»1 iri-process trace of his
iii'st telephone caii to `f\"l'\’.t`,`tt‘t tv.,i;-; vi.'
signed to, and had the effect of, chilling,
deterring, preventing and inhibiting
plaintiff's right of free speech, petition
and association as guaranteed by the
First Amendment. The~trace further di-
rectly interfered with plaintiff’s right to
speak out against public officials and
upon topics of public interest. lt is fur-
ther alleged in this count that the trace
invaded plaintiff’s right of privacy under
the First, Fourth, Ninth and Fourteenth
Amendments.

COUNT ll (County)

lt is alleged that the Sheriff was acting
within his official capacity and the scope
if his ernploj.'ineiit when he authorized
the trace and therefore the County is
liable iri respondeat superior. The Coun-
ty established or should have established
a policy regarding eavesdropping and
electronic surveillance of citizens in ac-
cordance with Federal and State law and
that the County failed to properly train
and instruct the Sheriff regarding such
policy. The County’s failure to either
establish a policy or train the Sheriff in
regard thereto constituted negligence
which resulted in a denial of plaintiffs

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First Amendment-rights of speech, peti-
tion and association.

COUNT III (WROK)

It is alleged in this count that WROK
relinquished to the Sheriff its control and
authority over plaintiff’s telephone call
without lplaintiff’s permission or the
proper judicial authorization, which re-
sulted in chilling, deterring, preventing
and inhibiting plaintiff’s exercise of»his
First Amendment-rights and directly in-
terfered with his constitutional right to
speak,out against public officials and on
to ics.of public interest. It is further
al eged that because of WROK’s acqui-
escence, plaintiffs right of privacy was
violated.

COUNT IV (Pa_rrett and Laney)

Plaintiff alleges in Count IV that Lan-
ey’s and Parrett’s interrogation of him
was designed to stifie and chill his rights
of speech, petition and association under
the First Amendment. lt is further al-
leged their questioning was an intention-
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tioning of plaintiff about matters un-
related to his duties as a probation off`-
cer plaintiff lost his right to express his
views regarding the political and racial
climate within the judicial circuit as well
as his livelihood and right to Work in his
chosen profession.

COUNT V (Ambroz and _Mur-phy)

Count V alleges that Ambroz and
Murphy_ suspended plaintiff from exer-
cising his right of free speech, petition
and association and that such unlawful
suspension created a chilling effect not
only on plaintiff but on every County
employee who “dares to speak out
against -its oppression.” The suspension
directly interte:ed witit_pfaintifi"s consti-
tutional right to speak out against public
officials and upon topics of public
lnterest.

- COUNT Vl (County)

Count Vl seeks liability against the
County for the conduct of Ambroz and
Murphy under the same theory alleged
in Count II in which he claims liability
of the County based on the SheriH’s
conduct.

COUNT VlI (Ambroz, Murphy, Par-
rett and Laney)

lt is alleged in this count that these
four defendants’ termination of plaintiff
for exercising his constitutional rights of
free speech, petition and association
clearly demonstrated a total and reckless
disregard of plaintiff’s right of free
speech. '_I`his allegedly illegal termination
of plaintiff deterred not only plaintiff but
all County employees from speaking out
against County oppression and directly
interfered with plaintiff’s right lto speak
out against public officials and upon to-
pics of public interest.

' COUNT VIII (Co'unty)

` This count alleges liability on the part
of the County on the same basis alleged
in Counts ll and VI.

coUNT ix (Ambroz, Murphy, Par-
rett and Laney)

Count IX alleges that these four de-
f-::14 -_-an-‘_ s created a cons pirn.”. ; ‘he object
cl w:ln'_l- was tv depiive piaintit‘. either
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ment rights and to invade his privacy.
They furthered the conspiracy by sus-
pending plaintiff for speaking out against
the police department and other public
officials within the judicial circuit. This
conspiracy deterred plaintiff, as well as
other citizens, from speaking out against
public officials and also deprived plaintiff
of his employment because he spoke out
against the County and other public offi-
cials within the judicial circuit.

COUNT X (Ambroz, Murphy, Par-
rett and Laney)

Plaintiff claims that the acts of these
four defendants constitute intentional in-
fliction of emotional distress in that they
were done t~.'iiif'ufiy, nialiciousi'y_. -;.-'ttit"a-
geously, deliberately and purposely with
the intent to inflict and cause plaintiff
emotional distress and did in fact cause
plaintiff severe and extreme emotional
distress.

COUNT XI (Ambroz, Murphy, Par-
rett and Laney)

In this count, plaintiff claims that
these defendants falsely told him that he
was suspended and then discharged be-

.. -....,_ ___________-___,..____-__ _. ..

 

 

 

 

 

 

 

 

 

 

 

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fejer:on v. Winnebago County, Illinois

 

cause he lied and because he revealed
confidential information. lt is further al-
leged that other court services employees
were present when these defendants in-
formed plaintifl` he was discharged be-
cause he lied. These defendants knew or
should have known that this information
was false and was made without reason-
ably adequate investigation. These false
statements injured plaintiH"s reputation
among his friends, coworkers and poten-
tial employers within the law enforce-
ment community and caused severe emo-
tional distress, humiliation and
embarrassment. It is also alleged that
“[o]n information and belief,” some, if
not all, potential employers of plaintiH"s
contacted the County and/or Ambroz
and the County and/or Ambroz restated
the false and defamatory statements al-
leged in this count and that the potential
employers, understanding the statements
as defamatory, decided not to hire plain-
tifi` because of the statements

COUNT XlI (Register Star, Justin
and Unknown Reporter)

111 §§uunt ,"Cil, plaintiff a.lle_ge‘-; ilmr r`nc
111"11111" 15:1"11‘|`1_¢_1 "Ul;"i"l(j]iil"\ l'Ul§iLU ."tl,
GANGSTER”, under the subheading
“CRIME”, falsely implied that plaintiff
committed a criminal act and, thus, de-
famed him and placed him in a false
light before the public. He further al-
leges that the article captioned “Dismiss
‘George,’ the fakcr” contained false and
defamatory statements attributable to
him and, further, placed him in a false
light.

DISCUSSION

ln considering defendants’ motions to
dismiss, the court accepts as true the
well- -pleaded allegations of the complaint
and the inferences that may reasonably
be drawn from those allegations Palda U.
Gcr:cr.':'. Djmzm,;- Cw_i-.. No ""- t"f 732'~
slip op. at 3 (7th Cir.Feb. 10,1995).
Complaints are to be read liberally, and
this court may grant a Rule 12(b)(6)
motion only if 1t is beyond doubt that the
non- -movant can plead no facts that
would support his claim for relief. Palda,
slip op. at 4.

I. Sheriff Gasparini
The Sheriff contends that Count I

should be dismissed because an in-pro-
cess telephone trace does not implicate

any privacy interest the invasion of
which would subject the Sheriff to liabil-
ity. The Sheriff also argues that plaintiff
has failed to allege in Count I that any
trace of his call was actually made and
that he suffered an actual injury that
directly resulted from the Sherifl’s
conduct.

In Smith v. Maryland, 442 U.S. 735,
745 (1979), the Supreme Court held that
there 1s no legitimate expectation of pri-
vacy in the telephone numbers a party
dials, and, therefore, a pen register does
not constitute a search. The court in
Smith did not, however, address the issue
of whether a telephone trace implicates
any legitimate expectation of privacy.’
Because this court does not consider a
pen register and a telephone trace to be
conceptually different 1n the privacy con-
text, it considers the telephone trace to
implicate no more of a privacy interest
than does the pen register addressed in
Smith. -

[1] The trace, like the pen register,
does not reveal the content of any tele-
phone conversation. Cf. United Stales 1)
-l"t-. .'.Te't C.,-_ 1'~`.'?_7:». ?5’-.1 l»'.--'J -;‘:

`19.//) (pen registers do r.-ot arwine mn
'!l|\ 11 f' _‘.ffl' 1`|0[‘1‘ ' ‘L)illilil..llfl¢llll|ll‘ij fl,"'c‘. ,
1). Haney, No. 94- 2839, 1995 US. App.
LEXIS 1273, at * 8 (7th Cir. jan. 23,
1995) (pen register intercepts only num-
bers dialed and not content of phone
conversations). Rather, it merely identi-
Hes the source of a particular call, just as
in the pen register situation, when a
party uses his telephone, he voluntarily
conveys numerical information to the
telephone company and exposes that in-
formation to the telephone company’s
equipment in the ordinary course of

JThe terms pen register and trace are
defined in the federal statute governing their
use. See 18 U..S C. §§3127(3) & (4). In that
context, a pen register is defined as “a device
which records or dccodes electronic or other
impulses which identify the numbers dialed
or otherwise transmitted on the telephone line
to which such device is attached.” 18 U.S.C.
§3127(3). A “trap and trace device” is “a
device which captures the incoming electronic
or other impulses which identify the originat-
ing number of an instrument or device from
which a wire or electronic communication
was transmitted.” 18 U.S.C. §3127(4). ln
other words, a pen register identifies what
numbers were dialed from a subject telephone
whereas a trace identiEes from where a par-
ticular call 15 being made. See [n re Appl£calion
ofthe United S¢ales of America for an Order Autho-
nzz`ng the In.rlallalz`on ofa Pen Regirter, 610 F 2d
1148, 1152-53 (3d Cir. 1979).

 

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business. Cf. sz`th, 442 U.S at 744.
Thus, when a party chooses to place a
telephone call from a particular location,
he voluntarily reveals the location of the
call to the telephone company. Having
done so, there can be no legitimate expec-
tation of privacy in that information

Hence, absent any legitimate expectation

of privacy, plaintiff cannot base a claim
`of invasion of privacy under 42 U..S C.
§1983 on the Sheriff’s authorization of
an in-process trace of plaintiff’s tele-
phone call to WROK. Therefore, the
court grants the Sherilf’s motion to dis-
miss Count I to the extent it seeks relief
based on an invasion of privacy.
Plaintiff also claims in Count l that he
was denied his rights of free spee`ch,
petition and association as a result of the
Sheriff’s authorization of the telephone
trace. Curiously,_ the Sheriff’s motion to
dismiss `is silent as to this claim. None-
theless,
this regard as well. Count I does not
allege any causal connection between the
trace and a denial of plaintiff’s First
Amendment rights. In fact, according to
the allegations, plaintiff had no knowl-
edge of the trace until some time after his
on air discussions. Those two conversa-
tions were, as alleged, unimpeded by the
trace ban cs plaintiff ai`:.".ge.'i :h.'i: tire
'11""‘ 1'1?:511‘11"1'! iri him f-'-rt"tr,'ii"-T "-'11‘ f"
ture flrst Amendment actwlty. /\bsent
such allegations, plaintiff’s First Amend-
ment claim based on the trace fails.

lI. The County

'l`he County contends that Count ll,
which attributes to it the conduct of the
Sheriff, should be dismissed for the same
reasons raised as to Count I. The County
further argues that no liability may be
attributed to it based on the conduct of
Ambroz, Mur phy, Parrett and Laney
(Counts VI, VIII, IX, X and XI), be-
cause those defendants, as state _- not
county _ employees, cannot have carried
out any policy or custom of the County
or have been policymakers for the
County.

Count ll seeks liability on the part 01
the County based in part on the conduct
of the Sheriff. In that regard it is alleged
'that the County is “liable in respondeat
superior.’ ’Count ll also claims that the
County was negligent in its failure to
establish policies regarding eavesdrop-
ping and electronic surveillance and, to
the extent it did have such a policy negli-
gent because 0f its failure to properly

the court dismisses Count I in~

train and instruct the Sheriff regarding
such policy.

First, to the extent Count II seeks
liability against the County based on
respondeat superior, it is dismissed. It is
well-settled that there is no cause of
action for respondeat superior liability
against a municipality under section
1983. Thompson z). Boggs, 33 F.3d 847,
859 n.11 (7th Cir. 1994) (citing Monell v.
New York City Dept. Socz`al Serv., 436 U.S
658, 694- 95 (1978)).

Although the County has not sought
dismissal of that portion of Count II
alleging direct liability based on the
County’ s negligence, the court dismisses
that part of Count II as well. The Coun-
ty has no authority over the Sheriff and,
hence, has no responsibility for the train-
ing and supervision of the Sheriff. See
Ryan z). County of DuPage, No. 93-3893,
1995 U.S. App. LEXIS 1019, at * 3 (7th
Cir. Jan. 19, 1995) (citing Thompson v.
Duke, 882 F.2d 1180, 1187 (7th Cir.
1989) ); see also Estate of Drayton v. Nelson,
No. 94-2217, 1994 U.S. App. LEXIS
36445, at * 5-6 (7th Cir. Dec. 27, 1994)
(under lndiana law, county cannot be
blamed for any deficiency in training or
supervision of deputy sheriffs as county
has no authority over the sheriff).‘

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ul the l‘t.'st 1"\111e11d111c11t vi.1 l_,‘li‘o'j t_lot,.-,
present the interesting issue of whether a
negligence claim is maintainable under
§1983. The Supreme Court, while not pro-
viding a comprehensive answer to the general
question, has stated §1983 contains no state-
of-mind requirement independent of that nec-
essary to state a violation of the underlying
constitutional right. Danielr v. Willi`am_t, 474
U.S. 327, 329-30 (1986). Thus, depending
on the particular constitutional right, merely
negligent conduct may not be enough to state
a claim. ld. at 330.

fn the First Amendment context, the Su-
preme Court has not clearly defined the state-
of-mind requirement necessary to plead a
§1983 claim. In Procunier v. Naz/arelle, 434
U.S. 555, 566 n.14 (1978), a First Amend-
ment case arising in the prison mail context,
the Court expressly avoided the issue of negli-
gent deprivation because of its alternative
'll‘ b')()$fl""l U!. !Hll!.l,!.'lll.‘.' 'l"UU"`. RC""l!i '!‘
in Walersv. Churchzll, 114 S. Ct. 1878 (1994),
the Supreme Court effectively converted the
government employer’s First Amendment li-
ability with respect to “public concern”
speech from liability for intentional wrong to
liability for mere negligence. 114 S. Ct. at
1895 (Scalia, J., concurring) (characterizing
the plurality opinion as creating a negligence
standard in this First Amendment context).
Assuming Walers does create a negligence
standard for a §1983 claim based on “public

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]e”erson v. Winnebago Countj 'linoz`s

 

'I`urning to the County’s contention
concerning Ambroz, Murphy, Parrett
and Laney, Count V] alleges liability
against the County based on the conduct
of Ambroz and Mur phy. Counts VIII,
IX, X and Xl also claim liability against
the County based on the conduct of all
four of these defendants, The County
maintains it cannot be held liable for the
conduct of these four defendants because,
as probation officers assigned to court
services, they are state, not county,
employees

The Illinois Supreme Court has held,
in the labor law context, that the state,
not the county, is the sole employer of all
court employees. Orenic v. Illinois State
Labor Relalions Bd., 127 Ill.Zd 453, 537
N.E.Zd 784, 795 (1989).’ Furthermore,
one Illinois Appellate Court has consid-
ered juvenile probation officers to be
state employees under the Orenic case.
AFSCME v. Chtef_]udge of the Circuit Court
of Cook County, 209 Ill. App. 3d 283, 568
N. E. 2d 139, 143 (1st Dist. 1991). Conse-
quently, this court finds Ambroz, Mur-
phy, Parrett and Laney to be state, not
county, employees As such, their con-
duct cannot be attributable to the County
under section 1983. The court therefore
'l-"~"‘-i stem Cu -nts Vl_ ‘-"lll, lX, X and
X.l to the extent those ~Tot.mis name the
1.1111.111_').';'1111.< 1 lat:'~~n` …~_ 1`1' 1 1111§1‘.
Ambroz, l\/lurphy, Parrett or Laney

lII. COUNT lIl (WROK)

WROK seeks dismissal of Count lIl to
the extent it claims an invasion of privacy
based on the telephone trace because it
fails to identify any privacy interest vio-
lated by WROK.

Count III is, at the very least, a prime
example of vague, ambiguous and dis-
jointed pleading. While it refers to the
First Amendment in paragraphs 66 and
67, it also alleges in paragraph 68 that
defendant’s “right to privacy was violat-
ed” and only seeks relief “for the illegal,
and unauthorized invasion of his priva-

y ” The court therefore interprets Count
ill an only alleging a claim for in\.»asi'!:

 

concern” speech, such standard may not ap-
ply here as Count ll is unclear as to whether
it is premised on “public concern” speech.

’The Seventh Circuit has interpreted the
holding in Orem`c not to be limited to collective
bargaining under state labor law. See Warren
v. Stone, 958 F.2d 1419, 1423 and n.4 (7th
Cir. 1992).

of privacy. ln that regard, Count III is
deficient because it fails to allege the
source of the privacy interest and how
WROK interfered with such a right. To
the extent the alleged invasion of privacy
is premised on the telephone trace, that
theory is insufficient to state a claim for
the same reasons this court granted the
Sheriff’s motion to dismiss Count I in
that regard. Thus, the court dismisses
Count lll of plaintiff’s complaint.

IV. Ambroz, Murphy, Parrett and
Laney‘

These defendants contend that Counts
IV, V and VII should be dismissed be-
cause the state’s interest in promoting the
efficient operation of its probation ser-
vices outweighs any of plaintiff’s free
speech rights as a state employee. They
also assert that Count IV’s Ninth
Amendment claim should also be dis-
missed because a civil rights action can-
not be premised upon the Ninth Amend-
ment. lt is further argued that Count IX
should be dismissed because plaintiff has
not properly alleged a conspiracy or that
the conspiracy was based on any racial or
class-based animus Lastly, as to plain-
tiffs state-law claims (Counts X and
j~'.l,‘-, these defendants tugs di:~.mi;sr.,': i‘.:'.
1.11111;“ 51) 'l't€' federal r‘-'~i'ns against them
should be dismissed and therefore sup--
plemental jurisdiction should not be ex-
ercised; (2) the sole court where such
state tort actions may be brought is in the
Illinois Court of Claims; (3) Count X
fails to state a cause of action for defama-
tion under illinois law because it fails to
precisely plead the language called to be
defamatory; and (4) Count Xl fails to
plead a cause of action for intentional
infliction of emotional distress under llli-
nois law.7

6The court notes at the outset that under
Illinois law these four defendants are consid-
ered state employees See Scction Il., rupra. As
such, the Eleventh Amendment bars suit
against them in their ofiicial capacities as
plaintiff seeks monetary damages See E.t!at’e of
Pm'ier u. .S`£uc'e uj>1"1"111101'3, 36 F.3d 684, 6';1'\') (7th
Cir. 1994) (Eleventh Amendment immunizes
state employees from suit in their official
capacities where retrospective relief is
sought). Accordingly, this court dismisses all
claims against Ambroz, Murphy, Parrett and
Laney in their official capacities

’ Although plaintiff has not filed a re-
sponse to defendants’ motions to dismiss,
these four defendants have chosen to file a
“reply.” The “rcply” does not raise any new
arguments (although it reinforces some old

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A. First Amendment Claims (Counts
iv, v and vll)

The Federal Rules of Civil Procedure
do not require that a complaint describe
the alleged wrongdoing of which it com-

lains with any particularity. If a plain-
tiff does plead particulars, and they show
he has no claim, however, he has pleaded
himself out of court. Thomas v. Farley, 31
F.3d 557, 558~59 (7th Cir. 1994). A
plaintiff is not saved by pleading a legal
conclusion, if such conclusion is inconsis-
tent with the pleaded facts. Id. at 559.

In the present case, plaintiff has opted
to plead with extensive particularity as to
the circumstances surrounding his First
Amendment claims He has identified the
nature of the speech for which he claims
protection as well as the particular rea-
sons upon which these defendants based
their suspension and termination deci-
sion. Thus, the court may, at this stage of
the proceeding, rule as a matter of law
whether plaintiff, assuming he can prove
all factual allegations of his complaint,
could prevail on his First Amendment
claims against these four defendantsx

 

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draw these rlef\i"ntis¢n¢s’ motion t~'\ dismiss 111‘.~
d\.:t‘ ll.,ut‘tl l`\\,ilt i.l.l 3,,1"1.'1111‘-,1 ul plaintiff 5-
failure to file a response. While Local Rulc
12P does allow the courtJ either sua sponte or
upon motion, to grant a motion to dismiss for
failure to file an answering memorandum,
such authority is discretionary. The court
declines to grant the motion to dismiss on this
basis

The court notes at this point, however, that
plaintiff operates under a distinct handicap
by not filing a written response to the motions
to dismiss Moreover, briefing is designed, in
part, to assist the court in its consideration of
a motion. Plaintifi`s complaint in this case is
not so clear and well-structured as to be
safely relied upon without any briefing_
There are many issues that have been raised
by the motions to dismiss, the consideration of
which would benefit by full, adversarial
briefing.

8The complaint sets forth significant
portions of two letters sent hj.' Ambroz to
plaintiff, one concerning plaintiff’s suspension
and one concerning plaintiffs termination_
These letters explain, with some detail, the
reasons for the negative employment actions
taken in response to plaintifl’s speech. Defen-
dants have included as exhibits with their
motion to dismiss the letters in their entirety.
The court will consider the letters in their
entirety as they are referred to in the com-
plaint and are central to plaintiff’s claim. See
Wright u. As_tocialed Inr. Co.t., Inc., 29 F.3d
1244, 1248 (7th Cir. 1994) (citing Venlure

The Supreme Court has recently spok-
en on the issue Of When speech by a
government employee is protected by the
First Amendment. See Waters v. Churchz'l[,
114 S. Ct. 1878 (1994). For such speech
to be protected, it must be on a matter of
public concern,9 and the employee’s in-
terest in expressing himself on this mat-
ter must not be outweighed by any injury
the speech could cause to the government
employer’s interest in promoting the
public services it performs through its
employees ld. at 1884. As to the weight
to be given to the government employer’s
interest, such an interest is far broader
than when the government acts as sover-
eign. ld. at 1886. Thus, a court may
decide, as a matter of law, whether the
potential disruptiveness is enough to
outweigh whatever First Amendment
value the speech might have. ld. at 1891.

In the present case, plaintiff alleges
that while employed as a probation ofii-
cer he telephoned WROK and spoke on
the air for about two and one-half hours.
ln doing so, he falsely identified himself.
During his time on the air, plaintiff
spoke about various subjects including
gangs, drugs, the Rockford police depart-
ment, the chief of police and the judicial
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r.nir, 'ric was extremely criticai of Rock-
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lict‘l department and the judicial system.
On a later date, plaintiff again tele-
phoned WROK and spoke on the air
about issues of public concern, including
the arrest of alleged gang members and
the Rockford police department. He was
again also extremely critical of Rock-
ford’s public ofiicials, as well as the Sev-
enteenth Judicial Circuit.

As for the four defendants’ roles, both
Parrett and Laney confronted plaintiff
on two occasions and interrogated him as
to whether he was the “George” that
telephoned the radio station and made
the comments Ambroz and Murphy also
interrogated plaintiff as to his involve-
ment in the radio talk show. Three days
later, Ambroz and Murphy suspended
plaintiff, without immediate explanation.
for fifteen days.

Sometime later, Ambroz sent a letter
to plaintiff regarding his concerns about

 

Assoc. u. Zenilh Dala Sys., 987 F.2d 429, 431
(7th Cir. 1993)).

9Defendants concede for the purposes of
their motion, citing Glass u. Dachel, 2 F.3d
733, 744 (7th Cir. 1993), that the- alleged
speech involved a matter of public concem.

 

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plaintiff’s conduct while in the employ of
court services This letter states, in perti-
nent part, that plaintiff, while misrepre-
senting himself as a gang membcr, casti-
gated and impugned the integrity of the
local police department and judicial sys-
tem. According to the letter, plaintiff,
who was suspected to be the caller by
staff and supervisors, categorically denied
that he was the caller when confronted
by Parrett and Laney. The letter also
notes that plaintiff was tardy from work
during the same time period as the two
and one-half hour call-in, which tardi-
ness he explained on the basis of having
a flat tire. The' letter further states that
the second call was made from plaintiff's
work station and desk telephone. On this
latter occasion, plaintiff made unwar-
ranted and unfounded accusations about
the police department’s handling of a
very sensitive case that was in trial dur-
ing the call. Plaintiff was on duty when
he made this latter call to WROK. Plain-
tiff later admitted to Ambroz that he lied
when he earlier denied being “George”
and making the telephone call.

Ambroz sent a second letter to plaintiff
which i:ttites, iii iei¢;\.»'ar-t pnrt, that pi;:i:i-
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immediate supervisois \Laiicy and l“tti--
rett) and that neither feels that they can
trust plaintiff with privileged or confi-
dential information or with the daily
responsibilities of a probation ofiicer.
This letter also states that plaintiff
“grievously damaged lthe court services
department’s] professional relationship
with the Rockford Police Department,
perhaps permanently.” Ambroz further
expresses his fear that the damage might
extend beyond the police department and
that plaintiff’s misconduct might have
effectively undermined the court services
department’s professional relationship
with all law enforcement agencies in the
community. It is further explained that
plaintiff has permanently damaged the
court services department’s relationship
with the Winnebago County State`s At-
torney’s Ofiice and that adult probation
has been denied access to the state’s at-
torney’s office files because of its per-
ceived breach of confidence and loss of
trust between the two offices Further-
more, Ambroz notes that plaintiff's mis-
conduct and disrespectful and unfounded
criticism of the criminal justice process in
the county severely compromised the
court services department’s relationship
with the courts lt is further stated that
plaintiff’s conduct called into question

the department’s reputation with the
general public and the agencies that come
in contact with the department. “Finally,
and perhaps most importantly,” the let-
ter explains, “[g}iven your public pro-
nouncements, l cannot see how you could
ever carry out the duties of your office or
to instill in probationers the requisite
degree of respect for the rule of law that
is required to discharge your.duties as a
Probation Officer or that you might ever
command the respect of the court.”

[2] Clearly, the balance between plain-
tiff’s interest in expressing himself and
the court services department’s interest in
promoting the public services it provides
through its probation officers weighs
heavily in favor of plaintiff’s termination.
lt is nearly indisputable that the degree
of public criticism leveled by plaintiff
would result in a breach of trust and
confidence between plaintiff and the pro-
bation department and the other criminal
justice agencies who interact with the
department. Likewise, plaintiffs superi-
ors’ concerns about the department’s re-
lationship with these other agencies in
the aftermath of plaintiff’s diatribe were
§iistified. l\.'foreo‘.'er` the fact that plaintiff
field m his superiors did nothing to foster
1 lili\:--'liiii,:, tzi_ll'ifith'ii'.it.t" rel.;af.ir,i!t‘ifi"'_p lir'---
tween them and plaintiff. 'l"he court con'
siders the_position of probation officer to
be one particularly implicating confiden-
tiality between the probation officer and
other agencies between the officer and
his superiors and between the officer and
his charges Once that confidentiality is
breached, it is difficult to perceive of a
probation officer properly carrying out
the duties of his office. Furthermore,
plaintiff’s conduct not only damaged his
confidential relationships, it also impli-
cated the relationships of the department
as a whole.

Under the facts as alleged, the court
finds, as a matter of law, that plaintiff
could not prevail on his First Amend-
ment counts as set forth in Counts IV, V
and ‘."If. Thus, the court grants the mo-
tion to dismiss as to Counts V and VH in
their entirety and Count IV to the extent
it alleges a First Amendment claim.‘°

'° In dismissing Counts V and VII in their
entirety, the court notes that each of these two
counts contains a single reference to an “il-
legal and unauthorized invasion of [plain-
tifi”s] privacy” in their prayers for relief.
Each count is otherwise devoid of any allega-
tion concerning a privacy claim. Thus,.the
court does not consider plaintiff to be raising

 

 

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B. Ninth Amendment Claim (Count
IV)

Unlike Counts V and VII, Count IV
alleges that Parrett and Laney’s ques-
tioning of plaintiff was an intentional
design and scheme to invade his privacy,
contrary to the Ninth Amendment. Ac-
cording to Count IV, as a direct result of
this questioning of plaintiff about mat-
ters totally unrelated to his duties as an
adult probation officer, plaintiff’s privacy
was invaded. Defendants Contend plain-
tiff"s claim based on the Ninth Amend-
ment must be dismissed because: (1) the
Ninth Amendment is not incorporated
through the Fourteenth Amendment; and
-(2) the Ninth Amendment has never
been recognized as independently secur-
ing any constitutional right for purposes
of a civil rights claim.

The Ninth Amendment has never
been recognized as independently secur-
ing any constitutional right for purposes
of pursuing a civil rights claim. Olzznskz
v Maczona, 714 F.Supp. 401, 410 (E.D
Wis.1989) (citing cases). No specific
right is protected by the Ninth Amend-
ffl'.;.f‘.. Ot'..'l."' 'L., L'. f"i'.\'."'"¢'-'t'.'\' 'f "v'f" ,"1'."`1'.` :1'."'1'71','"`|
11911»1-.2?1 261, 211 <TY'- ,-. civ 10321
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claim based solely on alleged Ninth
Amendment rights must fail because
there are no constitutional rights em-
bodied in that amendment. Gibson v. Mat-
tlzews, 926 F.2d 532, 537 (7th Cir. 1991).
The Ninth Amendment was added to the
Bill of Rights to ensure that no funda-
mental right would be denied merely
because it was not specifically enumer-
ated in the Constitution. ld.

[3] Here, plaintiff seeks to allege an
independent claim of invasion of privacy
via the Ninth Amendment. This he can-
not do. While the right of privacy exists
in the Constitutions, as well as in state
law, it does not emanate from the Ninth
Amendment. Hence, the court dismisses
Count IV in its entirety,

C. Conspiracy Claim (Count IX)
These defendants contend that Count

IX should be dismissed because plaintiff
has failed to allege any class-based ani-

 

an invasion of privacy claim, constitutional or
otherwise, in either Count V or Count VII.

mus on their part and because he has not
adequately alleged a conspiracy.ll

Count IX alleges, upon information
and belief, that Ambroz, Murphy, Par-
rett and Laney created a conspiracy on
about September 21, 1993, the object of
which was to deprive plaintiff, either
directly or indirectly, of his First Amend-
ment rights. It is further alleged that
these defendants acted in furtherance of
their conspiracy when each of them ex-
plicitly or implicitly approved plaintiffs
suspension for exercising his First
Amendment rights The conspiracy de-
prived plaintiff of his constitutional right
to speak out against the County and
public officials

In a section 1983 action alleging a
conspiratorial deprivation of constitu-
tional rights, a plaintiff must demon-
strate that the alle ed conspirators
reached an understan ing to deny the
plaintiff his constitutional rights. House v.
Belfora', 956 F.2d 711, 721 (7th Cir.
1992). While a conspiracy may be dem-
onstrated by circumstantial evidence,
mere conclusional allegations of a con-
spiracy are insufficient to withstand a
motion to dismiss ld.

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'1;1.;'11_1..11g 1111 tlciiy 11111'1 1115 constitutional
rights He has not done so. He has only
conclusionally alleged that they “created
a conspiracy.” Consequently, the court
dismisses Count IX as failing to state a
claim of conspiracy under section 1983.

D. Supplemental State Claims (Count
X and Xl)

" While paragraph four of plaintiff"s
complaint refers to 42 U.S,C. §§1981 and
1985(3) as jurisdictional bases for plaintiffs
claims, the complaint nowhere else mentions
these two provisions Thus, the court does not
consider Count IX or any other count to
aliege rt Cini. ':'1 based r`n either Sl"f" or
§1985(3). Even if Count IX was substantive-
ly premised on either §1981 or §1985(3), the
court would dismiss it on those bases as it
does not contain the re uisite allegations of
class-based animus, seeci)’Amato v. Wisconsin
Gas Co., 760 F.2d 1474, 1485- 86 (7th Cir.
1985) (plaintiff must establish some, class-
based animus behind conspirators’ actions)
(citin Grzjin v. Breckenridge, 403 U.S. 88, 102
(1971 ), or race-based animus, see Anooya u.
Hillon Holel.r Corp., 733 F 2d 48, 50 (7th Cir.
1984) (plaintiff cannot maintain §1981 action
absent allegation of racial animus).

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While defendants raise several argu-
ments for dismissal of Counts X and XI,
the court finds one contention particular-
ly persuasive. Plaintiff seeks relief in
Count X for the tort of intentional inflic-
tion of emotional distress and in Count
Xl for the torts of defamation and false
light invasion of privacy. These are pure-
ly state law claims brought here via sup-
plementaljurisdiction. As such, this court
must strictly adhere to Illinois law. See
Subacz u. Witkowski, No. 92 C 20025,
1993 U.S. Dist. LEXIS 18402, at * 15
(N.D. Ill. Dec. 27, 1993). In doing so,
the court`must apply the Illinois Su-
preme Court’s view of when the sover-
eign immunity doctrine applies to a state
official sued in his individual cap`acity.

Id. at * 15-16,' see also Benning v. Board of

Regents of Regency Um`z)., 928 F.2d 775,
779 (7th Cir. 1991) (in diversity.case,
state law claims against individuals act-
ing in scope of their employment are
actionable only.in court of claims).

[5] The Illinois Supreme Court has
stated that where the tortious'conduct
“31~@51=_- 01er of the State employee’s breach
of a duty that 15 imposed on him 1:<1£::£;.'

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elgn immunity Wlll bar mamtenance o1
the action” in any court other than the
Court of Claims. Subacz, at "' 16 (quoting
Currie u. Lao, l48111.2d 151, 592 N.E.2d
977, 170, Ill. Dec. 297, 300 (1992) ).
Here, the allegations of intentional inflic-
tion of emotional distress defamation
and false light privacy arose out of these
defendants’ performance of their official
duties, to supervise plaintiff as an adult
probation officer. Thus, because the
claims in Counts X and XI may only be
brought against these four defendants in
the Illinois Court of Claims, this court
dismisses Counts X and Count XI in
their entirety.'2 `

V. Register Star and Justin (Count
7~<11)

Count XII is premised on two articles
appearing in the Register Star,_one being
a report concerning plaintiff’s telephone
call to WROK and another`an editorial
calling for plaintifi"s termination'due to
his making the call. Plaintiff alleges these
two articles defamed him and placed him
in a false light under Illinois law. The

_'zThe court, earlier in this order, dis-
mlssed Count X as -to the County.

_/ejerson v. Winnebago County, Illinois

Register Star'and `Justin contend that
Count Xll should be dismissed because
the articles are subject to the innocent
construction rule, are covered by the fair
reporting privilege and are nonactionable
opinions

-' A. The 'News Report

The court considers the report to be
nonactionable under the innocent con-
's`tructionl rule, Illinois adheres to the
modified innocent construction rule in
defamation cases Mitte[man v. Witous,
135 Ill.2d- 220,'-552 N.E.2d 973~, 979
(1989).l That rule,~ as first announced in
Chapski u. Copley Press, 92 Ill.2d 344, 442
N.E.2d 195 [8. `Med.L.Rptr. 2403]
(1982),` states that “[a] written or oral
statement is to be considered in context,
with the words and the implications giv-
en their natural-and obvious meaning; if,
as so construed, the statement may rea-
sonably be innocently interpreted or rea-
sonably be interpreted as referring to
someone other than the plaintiff it cannot
be` actionable per se.” Mittelman, 552
N.E.2d at 979 (quoting Chapskz`, 442
i`\f.i_..;`tl at 1991 ‘: T`m' rigorous standard

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that a nondefamatory interpretation must
be adopted if it is reasonable."

[6] In the present case, the news report
is subject to a reasonable, nondefamatory
interpretation lt is nothing more than a
discussion of plaintiff’s involvement in
making the telephone calls to WROK.
and the probation department’s reaction
_to plaintiff’s conduct. While the report

- " While the innocent construction rule
applies to per se defamation actions only, see
Mi¢telman, 552 N.E.2d at 979, plaintiff`$
claim here is in`fact one of per se defamation
as he claims the report falsely accuses him of
criminal activity. '

` l‘The question of whether an alleged
defa111atory statement is nonactionable under
the innocent construction rule is, under Illi
nois law, a question of law to be decided by
the court. Chapski, 442 N.E.2d at 199. As the
Seventh Circuit, without comment, has ap-
plied-this Illinois rule of decision to defama-
tion actions in diversity cases, see Babb v.
Minder, 806 F.2d 749, 757 and n.3 (7th Cirt
1986), so will this court, but see De.mick v.
ABC, Inc., No. 94-2399, 1995 U.S. App.
LEXIS 454, at "8-9 [23 Med.L.Rptr. 1161]
(7th Cir. Jan. 10, 1995) (suggesting, but not
dcciding, that application 'of the Illinois rule
in federal court may not be proper as it affects
control of the jury and appellate review rath-
er than purely substantive issucs).

 

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Corporate Trainz`ng Unlimz`ted Inc. u. NBC Inc.

23 Med. L. Rptr. 1653

 

has a subheading “CRIME,” nothing in
the body of the article suggests that
plaintiff had engaged in criminal con-
duct. The subheading alone can reason-
ably be read simply to refer to the topic
area which the substance of plaintifl"s
phone calls to WROK concerned. When
viewed in its entirety,-the article may
reasonably be interpreted as nondefama-
tory, notwithstanding the singular refer-
ence to crime in its subheading. Thus,
plaintiff cannot maintain a defamation
action under Illinois law based on the
news report. '

B. The Editorial

The court also finds the editorial to be
nonactionable under the innocent con-
struction rule, When read in its entirety,
the editorial is subject to a reasonable,
nondefamatory meaning. Moreover, the
court does not consider the editorial to be
defamatory at all. Under illinois law, it
is not necessary to consider reasonable,
nondefamatory constructions of a state-
ment that are not reasonably capable of
the defamatory meaning ascribed to it.
T".'_i,"', N.i‘l,fftj .'zi. '§."';)_ li:t;-'!; _A-‘-`

ri.,:"-lysj-]',`v»v»i" ':111'1'r'11“111‘~ i‘1 li11"

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editorlal. l‘urtherinoxe, me court tt;»nsnl~-
ers the editorial to be nothing more than
an expression of opinion, not actionable
under Illinois law. See ii'fz'ttelmarz, 552
N.E.2d at 982~84. While the editorial
does contain statements of fact, none of
those are defamatory The remaining
statements are merely expressions of
opinion as to what plaintiff did and what
should happen to him as a result. Such
opinions, not being capable of falsity, are
not subject to defamation. Id. at 983
(citing Restatement (Second) of Torts
§558 (1977) ). Thercfore, plaintiff can-
not maintain a defamation action based
on the editorial. The court, therefore,
dismisses Count XII in its entirety."

" In dismissing Count XII in its entirety,
the court recognizes that plaintiff is also
claiming false light invasion of privacy in
Count Xll based on the news report and the
editorial. However, under Illinois law, the
innocent construction rule and the defense of
opinion apply equally to false light claims See
Harte v. Chicago Councz`! of Lawyer:, 220 Ill.
App. 3d 255, 581 N.E.2d 275, 280 (lst Dist.
1991); Schajer u. Zekman, 196 Ill. App. 3d
727, 554 N.E.2d 988, 993 n.2 [17
Med.L.Rptr. 1931] (lst Dist. 1990).

CONCLUSION

For the foregoing reasons, the court
dismisses Counts II, III, IV, V, VI, VII,
VIII, X, XI and XII in their entirety
and with prejudice. Count IX is dis-
missed in its entirety without prejudice.
Count l is dismissed with prejudice as to
the claim for invasion of privacy and
without prejudice as to the First Amend-
ment claim. Plaintiff is given leave to file
an amended complaint, within 21 days of
the date of this order,"_as to the First
Amendment portion of Count I and all of
Count IX. Failure to file an amended
complaint within 21 days will result in
dismissal of Counts`l and IX with preju-
dice and without further notice, and the
entire cause will be dismissed,

 

CORPORATE TRAINING
UNLIMITED INC. v. NBC INC.

U.S. District Court
f",:zs:tern District of New York
mj_m1»1"-11»1"1‘1§ TR' _-*\TT‘JH‘J=”,I 1'.,’1`11'
Lil'vll'l`ls`l) ll"~a t.., l_)U`N`i`s.LL) I~t-l.

FEENEY jl{., and JU]_)Y G.
FEENEY, v. NATlONAL BROAD-
CASTlNG COMPANY INC., No.

93-CV-4756 (RJD), December 1, 1994

REGULAT!ON OF MEDIA
CONTENT
1. Defamation _- Defamatory content

_ In general (§11.0501)

Plaintiff “child rescue” corporation
stated libel claim against network, based
on news magazine broadcast referring to
plaintiff as “commando group” and indi-
vidual plaintiff as “Rambo,” and which
raised questions about group’s finances,
since broadcast contained references
which, when considered in full context,
are reasonably susceptibie of defamatory
meaning.

’° In granting leave to amend a`s to a
portion of Count l and all of Count IX, the
court is not indicating any definitive view on
the merits of those potential claims lt is,
however, at this stage of the proceedings,
difficult to conceive of a First Amendment
claim based on the trace. Similarly, plaintiff
must carefully evaluate his decision to or
attempt to allege a conspiracy as to Ambroz,
Laney, Parrett and Murphy.

q Case 1:OO-cV-01386-UU Document 16 Entered on FLSD Docket O6/12/2000 Page 62 `of@Q

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Case

 

 

   
   
 

t ii : 1 ;:.ead€l‘~: as
acts -about plaintiff; although rabbi’s

Weinstein v. Frz`edman

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24 Med. L. Rptr. 1769

 

WEINSTEIN v. FRIEDMAN

U.S. District Court
Southern District of New York

jOSHUA WEINSTEIN v. ROB-
ERT FRIEDMAN, et al., No. 94 Civ.
6803 (LAP), March 26, 1996

REGULATION OF MEDIA
CONTENT

1. Defamation -- Choice of law
(§11.15)_

Federal district court in Pennsylvania
did not err by finding that libel and
invasion of privacy plaintiff is neither
Pennsylvania domiciliary nor resident;
plaintiff has established new domicile in
lsrael, in light of his physical presence in
lsrael and his intent to remain there;
New York, not Pennsylvania, law ap-
plies to plaintiff’s action against book
author, publisher, and newspaper, since
New York has greater interest in and
possesses most significant relationship
with dispute.

2. Defamation - Defamatory content
-- ln general (§11.05(`!1)
fit fn .1111111'-1111;1 lyill";‘1i1:i111111.1:111 1. 11111|1 11

- “Of and conceming” (§]1.0502)

Book author’s statements which were
excerpted in newspaper, that plaintiff did
not participate in and disapproved of
drinking games at his university, that he
worked 011 government research projects
as engineering student, that he was in-
volved in fantasy-oriented and war simu-
lation games, and that he was part of
West Bank settlement movement, are not
capable of defamatory meaning; plaintiff
failed to demonstrate that author’s state-
ments about influence of militant rabbi
on students was “of and conceming”
plaintiff; publications as whole are not
dcfamatory.

3. Defamation __ Defamatory content
_- fn general (§11.0501i

Defamation _ Defamatory content

_ Headlines (§11.0507)

Book author’s statements, which were
cxc€!_`pted in newspaper, about militant
fabbl’s views, which plaintiff claims were
intended to portray plaintiff as having

§lortcd, perverse, and dangerous views
°[1'.Others, cannot be read by reasonable
expressing or implying any

statement that “some of them come from
troubled homes” could be interpreted as
stating facts about plaintiff, statement
did not defame plaintiff; headline of ex-
cerpt, “Rule by the Best. Yuppie Settlers
from Princeton Play Napoleon on the
West_ Bank,” constitutes protected rhe-
torical hyperbole.

4. Privacy _ Common law right -
Public disclosure of private facts
(§13.0103)

Privacy _ _Common law right -
False light publicity f§13.0104)

Privacy -_ Statutory right to priva-
cy - State statutory protections
-_ New York Civil Rights Law
(Sections 50 and 51) (§13.0502.02)

Plaintiff’s cause of action for invasion
of privacy against book author, publish-
er, and newspaper is dismissed, since
New York does not recognize claim for
private facts or false light invasion of
privacy under common law, and since
plaintiff failed to state cause of action for
commercial misappropriation under New
York Civil Rights Law Sections 50 and

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` "ifJiHlBli 1,/‘

Action for defamation and invasion of
privacy against book author, publisher,
and newspaper. The U.S. District Court
for the District of Pennsylvania granted
dcfcndants’ motion to transfer (22
Med.L.Rptr. 2089), and denied plain-
tiff’s petition for rehearing of that order
(22 Med.L.Rptr. 2415). On defendants’
motion to dismiss

Granted.

Clifford E. Haines and James W.
Gicking, of Litvin, Blumbcrg, Matusow
& Young, Philadelphia, Pa., for plaintiff

Laura R. Handman, Barbara G. Co-
hen, and Andrew A. Chirls, of Lan-
kenau, Kovner & Kurtz, New York,
N.Y.. for defendants

Ful[ Text of Opinion

Preska, j.:

This is a libel action by plaintiff Josh-
ua Weinstein (“Weinstein”) against de-
fendants Robert Friedman (“Fried-
man”), author of the book Zealots for
Zz`on: Insia'e lsrael’_t West Bank Settlement
Movement (“Zealots”); Random House,

 

 

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24 Med. L. Rptr. 1770

Weinstet u. Fn'edman

 

publisher of Zealots; and VV Publishing
Co., d/b/a The Village Voice, publisher
of The Village Voice, a weekly newspaper
that published an excerpt from Zealots in
November 1993. Weinstein alleges that
he was defamed in both Chapter 7 of
Zealots (“Chapter 7”), entitled “Rule by
the Best”, and The Village Voice excerpt
(the “Excerpt”) which, for the most part,
was a re-print of Chapter 7.

Weinstein commenced this action in
Pennsylvania state court, and defendants
removed it_on diversity grounds to the
United States District Court for the
Eastern District of Pennsylvania. There-
after, defendants moved to transfer the
action to this District or, in the alterna-
tive, to dismiss In his_Memorandum _and
Order dated _]une 27, 1994 (“6/27/94
Memo.”), the Honorable J. Curtis
_]oyner transferred the action to this Dis-
trict. In a Memorandum dated Septem-
ber 6, 1994 (“9/6/94 Memo.”), Judge
Joyner reaffirmed his decision from the
6/27/94 Memo. l now consider defen-
dants’ motion to dismiss, originally ad-
dressed to Judge Joyner but supplement-
ed in this District with numerous letter
briefs and oral argument.

ln his first claim; \Neinstr'in alleges
that ~f`.l".aptrr 7 ana tiic ' v
l 'fl1=' ""*l"1~“n"1x1 15 1
by maccuratcty portr_:iying lum as a mili-
tant activist, politically affiliated with
far-right groups which advocate violence
in the efforts of Jews to establish settle-
ments in the occupied territories of lsra-
el, and as having a distortch perversel
and dangerous view of others {C.om-
plaint (“Compl.”) il16.) Weinstein fur-
ther alleges that defendants attributed
statements to him which he did not make
or which Were taken out of context, (Id.
1l22.) As set forth below, however, the
allegedly offensive words, whether taken
alone or, as New York law mandatcs,
read as a whole and in the context of the
entire work, either are not reasonably
susceptible to a defamatory meaning or
are non-actionable statements of opinion.
."~.1:c1:1'<liitglj.', defend:tr:ts" mn.'i:-.n tn diz-
miss Weinstein’s first claim is granted.

Weinstein’s second claim is one for
common law invasion of privacy. As,set
forth below, however, New York does
not recognize such a claim, and, accord-
ingly, defendants’ motion to dismiss this
claim is granted.

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l .` l 'l. ..

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l. Choice of Law

In arguing the law applicable to this
diversity action, Weinstein asks that I
apply the confiicts rules of Pennsylvania,
whereas defendants urge me to apply
New York’s approach. Ordinarily, a fed~
eral court sitting in diversity applies the
forum state’s choice of law rules to decide
which state’s substantive law applies
K[axon Co. U. Stentor Elec. Mfg. Co., 313
U.S. 487, 496 (1941). However, if an
action was transferred from a forum in
which the action could have been main-
tained, then the transferee court must
apply the choice of law rules of the
transferor court. .Van Dusen v. Barrack,
376 U.S. 612, 638-39 (1964); Davis v.
Costa-Gavras, 580 F. Supp. 1082, 1086
(S.D.N.Y. 1984).

This action was transferred to this
Court from the Eastern District of Penn-
sylvania. Weinstein, correctly noting that
the defendants’ motion to transfer was
made pursuant to 28 U.S.C. §1404(a)'
(6/27/94 Memo., at 2), argues that
Pennsylvania’s choice of. law rules there-
fore apply. Defendants, however, note
that they invoked 28 U.S.C. §1406 in
their supplemental brief to Judge Joyner
(albeit stating that he need not reach a
decision under Section 1406 since Section
\ r.’im;r-»"??rd the trait-sf':r`} and cite
-‘.fir actual language of the derision., 111
¢'1‘.11‘.‘ j1.11.1.1_,1 __111'1111. ..1..,`.11. "'1[_"11"1]1. .';.;‘.:.1--
theless can make no other finding but
that the Southern District of New York
is not only a more convenient forum but
it is the only forum in which venue prop-
erly lies.” (6/27/94 Memo. at 4.) ln a
later decision__ judge Joyner, adhering to
his earlier holding, reiterated that “venu£
in Pennsylvania was inappropriate.
(9/6/94 Memo. at 3.) Given this un-
equivocal language and the reasoning Scl
forth by Judge Joyner in those declslon$.
one can conclude only that venue dOCS
not lie in Pennsylvania. What follows
from this conclusion, of course, 1s that
Pennsylvania choice of law rules do 1101
apply to this action, Nevertheless, }hc_
consequence of the choice of law questlolf
is not of major significance As dlSCllS$¢.
belong lite choice xii lu'.-.' nieil`i\'*-'lf"i_<)gy,°f
both New York and Pennsylvania
tates that New York substantive law 8P"
plies to this action, '. ”

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’ Section 1404 (a) states:_ “qu Fh¢ °°‘t‘ 1_1 g
ience of parties and witnesses m_thC "P. j
of justice, a district court ina)_' fl_'anls, '
civ1l action 'to an`y other distrlct Ol'
where it mi h`t have bC_€l'l brousd ~
U.S.C. §1404&). ` `-f'. \»"-` 51

  
   
 
  
 
 
 
 
 
 
 
 
 
 
 
 
   
 
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
   
   
  
   
  
   
 

  

-Weinstein 1). Friedman'

24 Med. L. Rptr. 1771

 

l A. Pennsylvania Choice of Law Analysis

Pennsylvania “employs a flexible
methodology to choice-of-law problems
which‘ combines the ‘most significant re-
lationship’ test espoused in the Restate-
ment (Second) of Confiicts and the ‘inter~
est-analysis’ approach.” McFadden v.
'Burton, 645 F. Supp. 457, 460 (E.D. Pa.
1986) (citing Meluille u. American Home
Assurance Co., 584 F.2d 1306, 1311-13
(3d Cir. 1978)); accord anith u. United
Az`r Lines. Inc., 416 Pa. 1, 203 A.2d 796
(1964). ' 7 . '

“Intcrest analysis” involves a qualita-

tive appraisal of the relevant states’

policies with respect to the controversy
':.before-the court so ,that the court may
' ' determine the state which has the most
significant interest in the dispute. The

Restatement (Second) examines the to-

tality of the contact which each state

has with various portions of the con-
troversy, counting and weighing those
contacts in order to determine which
state possesses the “most significant
relationship” with the dispute.
Savz'tt v. City of Philadelphia, 557 F. Supp.
321, 322-23 (E.D. Pa. 1983); accord
`McFadden, 645 F. Supp. at 460. This
methodology “tal<e.< into account bath tl;:
grouping cl contacts with thc '\»ay_~m:.\:
rr'-t're\'"nt'vil _i'i"i':t‘li ‘fti t tt' tir~ iv ‘ - ‘
and policies that may be validly asserted
by each jurisdiction.” Melz)zlle, 584 F.2d
'at 1311. As the Pennsylvania Supreme
Court has explained, a court must con-
sider “the extent to which one state rath-
er than another has demonstrated, by
reason of its policies and their connection
and relevance to the matter in dispute, a
priority of interest in application of its
rule of law.” McSwain u. McSwain, 420
Pa. 86, 94, 215 A.2d 677, 682 (1966),
quoted by Myers u. Commercial Union A.tsur-
ance Cos., 506 Pa. 492, 496, 485 A.2d
1113, 1116 (1984).
' Pennsylvania’s conflicts law has been
refined-further in a variety of contexts,
including one similar to that in the case
31 hand. For example, Weinstein points
_fp Fitzpam'ck v. Milky Way P.~-<,~.d_'.-._ 517 F.
G";"_-;.-. 165 {li..i_). Pa. 1982), in which the
Court applied Pennsylvania’s choice of
laW_ rules in a defamation context, The
Plaintifi`s, citizens of Pennsylvania, sued
a _NCW York publisher, The Court ap-
Pll¢d Pennsylvania’s choice of law rules
_.i\.“.d ;<_i,¢f._€rmined tha_t the substantive law
p- Plaintiffs’ domicilc, Pennsylvania,
?h°uld apply. 1d.-at.172_73. In reaching
ns.Conclusion, the Court found several

policies and interests particularly rel-
evant. First, the state of the plaintifl"s
domicile has a policy interest in “protect-
ing the individual reputations of its citi-
zens.” ld. at 171. The Court reasoned
that
[i]n general, the state of a plaintifl"s
domicile will be the place where most,
if not all, of his or her reputational
contacts are found. Accordingly, in the
conflict of laws context, the state of
plaintiffs domicile generally has the
greatest concern in vindicating plain-
tifl"s good name and providing com-
pensation for harm caused by defam-
atory publication. -.
ld.; see Marcone u. Penthouse Inl-’l Magazine
for Men, 754 F.2d 1072, 1077 [11
Med.L.Rptr. 1577] (3d Cir.), cert. denied,
474 U.S.' 864__ (1985) (“Inasmuch as
[plaintiff] is a Pennsylvania resident and
any harm to his reputation that may
have occurred centered in that state, the
district court was correct to apply Penn-
sylvania law.”); Denenbera v. American
Famz`ly Corp. of Columbus, Ga., 566 F.
Supp. 1242, 1253 (E.D. Pa. 1983)
(“Pennsylvania has a significant interest
in protecting the reputation of a domicili-
ary”). Seeond, the state in which the
irxthiisii~:i is i::c‘.avr»."i has an interest in ti:e
application of its
t it tr "'\t) piotettion ot a tree and
uninhibited press to encourage free dis-
cussion and debate on matters of public
concern; and (2) protection of the home-
state publisher’s purse or financial integ-
rity.” Fz'tzpatrick, 537 F. Supp. at 172.
The Court, applying these policies and
interests, found significant the facts that
the plaintiffs were domiciled in Pennsyl-
vania and that they consequently suf-
fered injury in Pennsylvania to their per-
sonal and professional reputations and to
their business interests and social con-
tacts. ld. at 171-72. This “contact” with
Pennsylvania and the resulting interest
were deemed more significant than the
corresponding contact with New York -
the defendant was a New York domicili-
ary - and resulting interest protect-
ing New York defendants from "any
financial injury that might arise from
more onerous standards of liability im-
posed in a foreign jurisdiction.” ld. at
172. The Court discounted New York’s
general policy of fostering a free press
because the plaintiffs were private fig-
ures and the matter was not one of public
concern. As the C_ourt recognized,
[w]here the plaintiff is a private figure
and the matter not one of public con~

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Weinstein v. Friedman

 

cern, New York’s interest in encourag-
ing free discussion is attenuated, and
“the balance between free speech and
private reputation” tips in favor of
compensating injured plaintiffs
ld. (citations omitted). Consequently, the
Court found that New York’s interest in
the outcome of the litigation was not as
signiEcant as that of Pennsylvania.
Another defamation ease in which
Pennsylvania conflicts laws were applied
is Buckley v. -McGraw-Hill. Inc., 782 F.
Supp. 1042 [19 Med.L.Rptr. 1425]
(W.D.' Pa. 1991), afd, 968 F.2d 12 [20
Med.L.Rptr. 1264] (3d Cir. 1992). In
that case, the plaintiff grew up_in Penn-
sylvania, was a Pennsylvania domiciliary
at the time of the lawsuit, and his family
lived in Pennsylvania when the. allegedly
_ defamatory article was published. ld. at
1046-47. However, the plaintiff lived in
New York when the article was pub-
lished, the subject matter of the article
was a New York hotel, the publisher was
a New York corporation with its princi-
pal place of business in New York, the
article in question was edited in New
York and the parties filed a “partial
pretrial stipulation” that New York law
controlled. ]n'. at 1047. fn this conteth
the ';__`.t".ttrr rr.»';-:-:g:‘¢i.',.cti that both Pennsyi~
'..';ft="ls';t and T`~l"'\' hit t “
tit tin. cast -»~ although it did not consid-
er New York`s interest in protecting me-
dia defendants a c“c.ompelling” factor -
but, because the plaintiff stipulated to the
application of New York law and he did
not reside in Pennsylvania when he filed
the lawsuit of when the article was pnb-
lished, Pennsylvania’s strong interest in
protecting him as a Pennsylvania domi-
ciliary was diminished Ia'. Consequently,
the Court held that New York governed
In the instant case, Weinstein argues
that the extent and nature of his contacts
with Pennsylvania strongly support an
application of Pennsylvania’s substantive
law. He asserts that he has spent the
majority of his life in Pennsylvania and
that he has relatives and friends who
reside in Pennsylvania, (./\ffidavit of
joshua \'\."eins'.cin (“"~"»"cinstein Ail.”), at
1.)2 He also states that he never has
lived, worked, or- otherwise been affili-
ated with New York, (Id. at 2.) I am not
persuaded. _]udge Joyner, in his 6/27/94
Memo., found that the evidence “clearly
evinces that Joshua Weinstein is not a

»'ir lv,'qt_'l_ 't'y"tqiitr~ ing ,.-.

zAlthough captioned as an aflidavit, this
submission is neither dated nor vcrified.

Pennsylvania resident” and that “there is

. insufficient evidence that he remains
a Pennsylvania domiciliary.” (6/27/94
Memo., at 6.) _Judge Joyner found, in
other words, that insufficient evidence
existed to conclude that “Pennsylvania is
plaintiH"s ‘true, fixed and permanent
home and principal establishment to
which he has the intention of returnin
whenever he is absent therefrom.’ ” (ld,
at 7 (citations omitted).) On plaintiffs
motion to.reconsider, Judge Joyner ad-
hered to his earlier decision and noted
that “[t]his Court’s _]une 27, 1994-deci-
sion was largely based on Plaintiff’s"laek
of domicile in Pennsylvania.” (9/6/94
Memo., at 4.) - _ - _

The parties dispute the extent of.def-
erenee to accord these two decisions by
Judge joyner. Generally, the law-of-the-
ease doctrine “posits that when a court
decides upon a rule of law, that decision
should continue to govern the same issues
in subsequent stages in the same case.”
Chris¢ianson u. Co[t Indus. Operating Corp.,
486 U.S. 800, 816 (1988). This rule
applies equally to the decisions of coordi-
nate courts, including transfer decisions
ld. at 816. Although it does not limit a
entlrt’s “_nf,\W€!' 110 !‘C‘.'isi'. prior deri':i:'.:~.:
of its own or of cir-coordinate court in any

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to do so “in the absence of extraordinary
circumstances such as Where the initial
decision was ‘elearly erroneous and
would work a manifest injustiee’ ” ld. at
817 (citation omitted). In this action.
there is no need to revisit l]udge _]oyner’s
finding that Weinstein was not a Penn-
sylvania domiciliary; his finding is amply
supported by all the relevant evidence as
set forth in his two memoranda. None-
theless, in an excess of eaution, l will
recount some of the reasons that judge
Joyner relied upon in his rulings.

Judge Joyner clearly described the ex-
tent of Weinstein’s contacts with Penn-
sylvania and recognized that he had sO_m€
contacts with Pennsylvania. In add“\°'}
to those contacts previously mentioncd,
Weinstein keeps come of his clothing a
books at his parents’ home in Pennsylva-
nia and all of the statements 'fOr :hi’
checking, stock a'nd credit card account-z
are sent to his parents’ address. (6/27/9'
Memo., at 5.) However, the. stron€q'

 

 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
   
 
  
   
     

l' n v . l ‘.1`,
’As discussed on» pa 'c"8' of this OP""
Weinstein argues that 'e"has spean
his life in Pennsylvania-and 'ha$ §€l?t' .'_ `
friends who reside in Pcnnsylvanla.:at l

 
    

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evidence, as Judge _]oyner recognized,
indicates that Weinstein is-no longer a
Pennsylvania domiciliary. 'For examp'le,
the last full year he lived`i'n Pennsylvania
was in 1983, when he was a senior in
high school.' Subsequently, he resided in
Princeton, New _]ersey, where he was an
undergraduate at Princeton University
lfrom 1983 to 1987, and he spent only the
summer of.-1987 at his parents’ residence
in Pennsylvania. After attending Prince-
ton, he ,`resided in -'Irvine, California,
where he_ studied at the University lof
California until March 1989. In May
1989,"he moved to Israel,~where he pres-
ently reside`s.-`_Hc _is-not'registered to"vote
in' Pennsylvania, and does not maintain
any professional or religious member-
ships in Pennsylvania.' (Id. at 5-6.)
Judge joyner also relied upon the in-
sufficient'evidencc of Weinstein’s inten
to return to` Pennsylvania. '
Although - Mr. Weinstein freely ac-
knowledges_that his future plans are
unsettled and that he has “hoped” that
lA'L'A` [Israel Academy of Liberal
Arts] will get off the ground so that he
» may stay in lsrael affiliated with it, he
1 'has also “considered” moving to the

 

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er~"` raising a poriti-"tr at ith f‘i1:11"v.'+11'1`
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some other similar institution of high-

er education not located in southeast-

l ern Pennsylvania. Obviously, we can-
not even find from this evidence that

Pennsylvania is plaintifi"s “true, fixed

and permanent home and principal

establishment to which he has the in~
tention of returning whenever he is
absent therefrom."

(Id. at 6-7 (citations omitted)._)

Finally, _]udge Joyner recognized the
extensive nature of Weinstein’s contacts
with Israel. Weinstein is an Israeli citi~
zen as well as an American citizen. He
serves in the lsraeli military, travels with
both Israeli and American passports,
pays into lsrael’s national insurance
plant and has voted in local lsraeli elec-
-‘.tc-t\.s. §i'a'.`,' Befoi'e,iic was drafted into the
_Israeli military, he was a P-h.D. candi-
ldate at Hebrew University in jerusalem
a“d;'after’he completes his service, h`e
hopes to return to his studies and finish
ins-doctorate in lsrael sometime in _]une
11_9.9_6_.,.(1d. at 6. ) Further, he, along with
.Qf_h€rrf Princeton graduates, has founded
'\fhc_»_"lsrael Academy of Liberal Arts in
‘!‘;l"‘('ld.) Accordingly, Judge joyner held
`m` the 6/27/94 Memo., and-reaffirmed

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in the 9/6/94 Memo., that Weinstein
was not a Pennsylvania domiciliary.
Because Weinstein has brought noth-
ing to my attention that justifies disre-
garding these findings, they continue to
govern, according to the law-of-the-case
doctrine, in this Court. Nevertheless, I
must supplement _]udge Joyner’s finding
that Weinstein is no longer a Pennsylva-
nia domiciliary with one that Weinstein
has acquired a new domicile'elsewhere.
This need arises from the well-estab-
lished rule that “[o]nce domicile is estab-
lished in one'state, it is presumed -to
continue in existence, even if -the party
leaves that state, until the adoption of a
new domicile is proven.’-’ Bevilaqua v.
Bernsteirz, 642 -F. Supp. 1072, 1073
(S.D.N.Y. 1986); accord Mississippi Band
of Choctaw`lndz'ans v. Holy_/ie_ld, 490 U.S.
30, 48 (1989) (“One acquires a ‘domicile
of origi`n’ at birth, and that domicile
continues until a new one (a ‘domicile of
choiee’) is acquired.”); National Artists
Management Co Inc. u. Weavin,g, 769 F.
Supp. 1224, 1228 (S.D.N.Y. 1991) (“A
person is born with a particular domicile,
and is presumed to retain it unless it can
be shown that she has established a new
.'l~"~T-“‘-ie§!f_` Tl":_é€ :ui-: applies .'~v.'_‘_r',~' rii“-‘-c a
person establishes rt domicile_"`:‘: _-"s"t 11`~
~ 1. 1 1 111 : _;311 1 1..1
1992) (“()ne may have more that one
residence in different parts of the World,
but a' person may have only one domi-
cile.”). Therefore, assuming Weinstein
was a Pennsylvania domiciliary prior to
1983, when he lived there as a high
school student, it is necessary to find that
he has acquired a new domicile in order
to conclude that Pennsylvania is no long-
er his domicile,
[1] l hold that Weinstein has acquired
a new domicile in fsrael. Although a
“totality of the evidence” approach is
called for, . . . “[a]mong the influential
factors are the place where civil and
political rights are exercised, taxes
paid, real and personal property (such
as furniture and automobiles) locatcd,
d-"E'~'\"¥"S and other ii<‘er:sr": obtained,
bank accounts maintained, location of
club and church membership and
places of business or employment.”
Natz`onal'Artists, 769 -F. Supp. at 1228
(quoting 1 Moore’s Federal Practice
1l0.74[3-3], at 707.64). As previously dis-
cussed, he holds an Israeli passport, has
been a resident of lsrael since May 1989,
was a Ph.D. candidate at Hebrew Uni-
versity in-_]erusalem, serves in the Israeli
military,` pays into Israel’s national in-

 

 

 

 

 

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surance plan, has voted in local Israeli
elections, has assisted in the founding of
the lsrael Academy of Liberal Arts, and
has expressed his intentions to finish his
doctorate in lsrael after he completes his
service in the Israeli military in june
=1996. Thus, his Israeli domicile has been
“established by physical presence in [Is-
rael] in connection with a certain state of
mind Concerning [his] intent to remain
there.” Holyfield, 490 U.S. at 48; accord
Rosario, 962 F.2d at 224 (“Domiciliaries
are those who have a fixed, permanent
and principal home and to _which, when-
ever absent, they always intend to
,return.”)

' The conclusion that Weinstein is nei-
ther a resident nor a domiciliary of Penn-
sylvania and is a resident and domiciliary
of lsrael is significant in determining the
substantive law applicable to this action.
The cases upon which Weinstein relies
`to argue that Pennsylvania has a strong
interest in protecting his reputation rely
on the fact that the plaintiffs in those
cases were domiciliaries at the time of
suit. Marcone, 754 F.2d at 1077; Medico v.
Time. Inc., 643 F.2d 134, 135 n.1 (3d
Cir.), cert. denied, 454 U.S. 836 (1981);
Denenberg, 566 F. Supp. at 1253; Fitzpa-
trick, 537 F. Supp. at 166. Weinstein,
i'::‘.'.'::".':‘r rii.'i ‘.':::: li'.':~. :~: ‘.~.".;ii~. i;; P:::::':.:-;i-
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, L'_l\.j .1.‘11§-'r,“' wl ::“ : ‘i:~‘ "‘l"\‘\
cations were rescarched, writte_n, editcrl,
or published. Further, he did not live in
Pennsylvania when he filed this lawsuit
and he does not live there currently.
Thus, although Weinstein argues that
thc allcgcd injury to his reputation would
occur in Pennsylvania, it is more likely to
be in israel where he is a citizen and has
resided and worked since 1989. Accord-
ingly, Pennsylvania’s interest in having
its law applied to this action is signifi-
cantly diminished See Buckley, 782 F.
Supp. at 1047-48 (“The fact that [plain-
tiH`] did not reside in Pennsylvania at the
time the article was published or at
the time he filed this lawsuit also tends to
diminish Pennsylvania’s interest in this
case.”).‘

‘ Even if the harm to Weinstein’s reputa-
tion occurred in Pennsylvania, the locus of
harm is not dispositive, as Weinstein has
insisted. See, e.g., Schullz u. Boy Scouls of Am.,
Inc., 65 N.Y.2d 189, 491 N.Y.S.2d 90 (1985)
(applying New _]ersey law even though the
locus of the harm was New York, because the
parties were from New jersey and the inter-
ests of New jersey outweighed those of New

. In addition to the absence of Weinstein
as a domiciliary or resident, there is little
relating to the defendants’ activities that
points to the application of Pennsylvania
law. N one of the conduct or statements to
which the alleged defamation relates oc-
curred in Pennsylvania and none of_ the
research, writing, or editing occurred in
Pennsylvania. Th_e only contacts between
thc defendants and Pennsylvania, as
Judge _]oyner noted, were that the book
physically was,print_ed in Pennsylvania,
that it had been shipped an_d‘sold in
unknown quantities within Pennsylva-
nia, that Friedman-had received a':$],§()()
stipend from a Pennsylvania-based fund,
that Friedman had_placed several-tele-
phone calls to ‘Pennsylvan_ia,--and that
Friedman had visited Pennsylvania sev-
eral times to interview eople for other
books _and articles. (9/6 94 Memo.,.at 4
(referring to the “absence,-of any opera-
tive facts in Pennsylvania”).) .
The significant contacts and resulting
interests do, however, suggest the._appli-
cation of New York law. A_s the home of
the defendants, New York has a strong
policy in protecting its media defendants
See Davis,_580 F. Supp. at 1092 (discuss-
ing New_York’s interest arising from its
status as “the national center of the pub-
-ii.\;i:i::g iii"i-'.ls=.:-]""j-: .£.~.)z.~.-:tt-i.'t- 115 /;1 /`l.if»¢-'-»
`,',,`,`;`.`, _ .';.,` ‘,"r r..' \' “7`,-| "'1`“» 174-f §:'.ii
1\.`!..5.211 906, 915 110 ivicd.i,.i-Lp.i.
1625] (articulating New York’s historical
interest in providing “a hospitable cli-
mate for the free exchange of ideas”),
cert. denied, 500 U.S. 954 (1991). Also,
because the Publications relate to matters
of public concern (i.e., isracl`s West
Bank settlement movement), New Yo_rk
has a stronger interest in protecting its
media defendants than it otherwise
would have. See Fitzpd£rick, 537 F. S_upp-
at 172 (“Where the plaintiff is a private
Frgure and the matter not one of publlF
concern, New York’s interest in cncoul'r
aging free discussion is attenule
... .” . . "’~'i ~'.-
This interest.of New York is til¢.olli]'
significant interest discernible ln,;_lbf'_;
case. for. as discussed abo'~'<`-; Weinst¢‘.n", f"
neither a Pennsylvania domi§.'lil&"'!"\-nqr""
resident and neither Weinsteln_n°rbh

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York),' Bayara' F. Brogan, Inc._'t)'._'_;'v}g _,
Comp. App. Bd., 161 Pa. COn?m‘§'" \
459, 637 A.2d 689 (1994) (notmg fh‘;‘“
loci delectz` rule has long since been ab '
in Pennsylvania in favor of inter©‘t= -

  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
  
   
  
 
 
 
 
 
 
 
 
 
 
   
  
  
    
   
  
   

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defendants have significant contacts with
Pennsylvania. While under New York
choice of law principles New York’s in-
terest in protecting its media defendants
is accorded great deference and under
Pennsylvania’s methodology it appears
not to be, it nonetheless is entitled to
some weight under the Pennsylvania ap-
proach. See Melvz'lle, 1584 F.2d at 1311
(holding that Pennsylvania’s choice of
law approach involves weighing and
evaluating the importance of contacts
with respect to the policies of the inter-
ested states). Bearing this in mind, I hold
that under Pennsylvania’s conflicts law
New York substantive law applies be-
cause, based on the respective contacts,
New York has a greater interest in and
possesses the most significant relation-
ship with this dispute,

B. New York Choice of Law Analysis

Like Pennsylvania, New York applies
an interest analysis in confiicts of law
situations Istim, Inc. v. Chemical Bank, 78
N.Y.2d 342, 347, 575 N.Y.S.2d 796, 798
(1991); Platano v. Norm’s Caitle, Inc., 830
F. Supp. 796, 798 (S.D.N.Y. 1993); Za/zr
z). Wingate Crcek Acquz'sz'lz'on Corp., 827 F.
Supp. 1061, 106-65 n.1 (S.D.N.Y.

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o \";~`i.i).l"v.`i. \Jci. i_». i‘,/“/_“))`. L)nuei'
this approach,
the “law of the jurisdiction having the
greatest interest in the litigation will
be applied and . .. the [only] facts or
contacts which obtain significance in
defining State interests arc those
which relate to the purpose of the
particular law in confiict.”
Istim, Inc., 78 N.Y.S.2d at 347, 575
N.Y.S.2d at 798 (citations omitted). Fur-
ther, this approach applies on an issue-
by-issue basis. See Platano, 830 F. Supp.
at 798 (stating that “in determining
lwhich law to apply to any particular
issue of law or aspect of a case, [the
_court] looks to the state with the greatest
interest in that given issue of law or
aspect”)
_ New lYork courts `nave refined their
interest analysis to develop more special-
ized Choice of law rules in the context of

ldefamation suits, In the leading case of

Davis v. Costa-Gavras, 580 F. Supp. 1082
(S.D.N.Y. 1984), the plaintiffs brought
an action for libel based upon the defen-
.ants nationwide publication of a book
(ln'-both hardcover and paperback forms)

and upon the national distribution of the
film adopted from the book. ld. at
1090-92. At the time of suit, plaintiff
Davis was a New Jersey citizen serving
in the armed forces in Rhode Island,
plaintiff Purdy was a Pennsylvania citi-
zen residing in Brazil, and plaintiff Dans
was a citizen of New Hampshire resid-
ing in Chile. The book at issue concerned
the 1993 coup d’etat in which President
Salvador Allende Gossens of Chile was
overthrown. All three plaintiffs were sta-
tioned in Chile in various capacities in
the service of the United States at the
time of the coup d’etat, and all three lived
intermittently in, the Washington,
D.C./Northern Virginia area over the
course of the roughly twenty-five years
during which they served the United
States. Id. at 1088-89.

The District Court, citing Palmz'sano v.
News Syndz`cate Co., Inc., 130 F. Supp. 17,
19 & n.2 (S.D.N.Y. 1955), enumerated
nine contacts of particular importance in
multistate actions for libel:

(1) the state of the plaintiff’s domicile;

(2) the state of plaintiff’s principal

activity to which the alleged defama-

tion relates; (3) the state where the
plaintiffin fact suffered greatest harm;

(4) the state of the publisher’s domicile

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thc riet`c\'t~'iant:+ main ji)ii`i)lishing office
`.'r.\i.\i …1 in - 11“' i~! 11111‘: i¢:
circulation; (8:1 thc state where ltlic
libel was first seen; and (9) the law of
the forum.
Davis, 580 F. Supp. at 1091. The Court
found that the first and third contacts
pointed to Washington, D.C., the second
pointed to Chile, and the remaining con-
tacts pointed primarily to New York and,
to a lesser extent, California. Id. The
book was researched and written in New
York; the publisher negotiated its con-
tracts with the author and paperback
publisher in New York; editing and pro-
motional planning occurred in New
York; almost all of the key meetings took
place in New York; the film premiered
in New York; New York was the “state
of most substantial if not principal circu-
lation"; .':.".d._ although ='v'itncs:\c> to the
events depicted in the book and the movie
were “scattered around the world, Sever-
al crucial witnesses live[d] in New
York City.” ld. at 1090-91.

The Davis Court also was cognizant
that, under New York’s interest analysis,
these contacts should be “evaluated ac-
cording to their relative importance with
respect to the particular issues.” ld. at

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1092. ln l)az)z`s, as in this action, those
issues revolved around the law of defa-
mation. The Court, therefore, placed
great weight on New York’s interest aris-
ing from its status as “the national center
of the publishing industry.” ld. at 1092.
Specifically, the Court pointed out that
New York “has a significant interest in
assuring that the risks and liabilities
flowing from publishing and' related op-
tions contracts, negotiated and largely
performed here, will be uniform.” Id.,' c_[.
Immuno AG, 77 N.Y.2d at 249, 566
N.Y.S.2d at 913 (explaining New York’s
historical interest in providing “a hospi-
table climate for the free exchange of
ideas”). The Court also noted that in a
libel action, which is “less plaintifl`- cen-
tered than other torts”, policy reasons
supported “deciding issues whose major
impact is on the behavior of potential
defendants according to the rules of the
jurisdiction where the conduct that gives
rise to liability takes place.” Davis, 500 F.
Supp. at 1093. Finally, the Court ex-
plained that iri a multistate libel case,
where the plaintiffs were from different
jurisdictions and the alleged harm to
their reputations would be diffused
throughout the country and overseas, the
state “Wliere defendantr.’ significant .~::'='=
::.“.r'. omissions gave rise m then liability
i~' the iii'i'it '-;rl:'v¢i;_`\rit wl ii lt'___‘..
in»»iii.s, particularly when it is also the
forum state."` ld. at 1093. Based upon
these policies and the majority of the
enumerated contacts, the Davis Court
ruled that New York law applied. ld. at
1091-93.5

When applied to this case, the facts
and principles of Davis mandate the ap-
plication of New York law. As discussed
above, Weinstein is neither a domiciliary
nor a resident of Pennsylvania. The
principal activities of Weinstein to which
the alleged defamation relates took place

"The Davis Court also pointed to Proch-
sor Korn’s theory of “conflicts justice.” Ac-
cording to this theory, “rules in choice of law1
like rules of substantive law_ must meet cer
tair. minimal standards of fairness" and
“[j]ustice in conflicts rules . . . requires mini-
mal contacts with another forum before sub-
jccting the nondomiciliary to its laws.” Davis,
500 F. Supp. at 1092-93. Weinstein argues
that this principle supports the application of
Pennsylvania law because he has had little
contact with New York. However, defendants
have had little contact with Pennsylvania,
and, therefore, this argument favors neither
New York nor Pennsylvania law.

in Princeton, New _]ersey, and in lsrael,
not in Pennsylvania. Defendant Random
House and defendant VV Publishing Co.
are New York corporations with princi-
pal places of business in New York. The
writing, editing,~ and publishing of the
Publications occurred in New York. Al-
though Zealot.t has nationwide circula-
tion, the state of principal circulation for
The Village Voice is New York. The fo-
rum is, of eourse, New York.l One factor
which arguably points to Pennsylvania
law -- albeit weakly -_ is the alleged
harm to Weinstein’s reputation. Wein-
stein cited persons in numerous states,
including Pennsylvania and New York,
and in lsrael who are familiar with his
reputation. Of those persons, however,
only two read the material independent
of Weinstein’s bringing it to their atten-
tion, and they live in New York. (Sup-
plemental Memorandum of Law in Sup-
port of Defendants’ Motions to Transfer
or to Dismiss the Complaint, at 12).
Thus, the majority of the contacts and
the resulting interests leaves no doubt
that New York law applies to this action.
Although Weinstein makes two fur-
ther arguments in opposition, they are no
more compelling than those previoii::;.'
discussed l`nz.i._ he argues that defen-
t"i'l?ll.`§ ll.!“. " 'l""':‘-ll"l. ii il "ll':\ 'l l~`\ l‘l` llll"` tl‘
.1i.i.igt-;\ of doing business in }’cnnsylv:i-
nia and should be held to Pennsylvania’s
standards of conduct. However, he offers
little evidence to support this assertion,
and it appears that defendants’ contacts
with and conduct within New York arc
much more extensive than any supposed
contacts with and conduct within Penn-
sylvania. Second, Weinstein has attempt-
ed to distinguish the facts of Dauz`r from
those here. He notes that in Davi:, the
Court assigned Washington, D.C. merc-
ly as the “proxy for the meaningful do-
mestic domicile lacking here due to
plaintiffs’ foreign service careers.” Daz)is»
580 F. Supp. at 1091. Weinstein arguCS
that his contacts with Pennsylvania arc
greater than those of the Davi.t plaintiffs
with Washington and, ai:cc)rdingly'; 3_rC
entitled to greater weig'm. The uourt i_n
Davir, however, did not indicate that ll
accorded the plaintiffs’ domicile less'
weight because their domicile was only .a`
“proxy”. ln addition, while the £)¢w"
plaintiffs may not have been “truc '-l¢"'3
miciliaries of Washington, D-C-» th.°"'
relevant contacts with Washingtqn W?r$'f-
at a minimuin, equivalent to Weinstein l
contacts with Pennsylvania..

See id, O‘,{.ai“ .
1089_(\referring to the District of Colum g _-

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bia as “the geographic focus of their
professional reputations as federal offi-
cials and public servants”).

Accordingly, after balancing the re-
spective interests of Pennsylvania and
New York, New York’s interests prevail.
This conclusion is dictated not only by
the principles'articulated in Davis, but by
New York’s»interest in “provid[ing] a
hospitable climate for the free exchange
of ideas.” Immuno AG, 77 N.Y.2d at 249,
566 N.Y.S.2d at 913. This interest stands
unmatched by any countervailing interest
of Pennsylvania. Therefore, the choice of
law analysis of both New York and
Pennsylvania requires the application of
New York substantive law to this action.

lI. Standard of Review

Defendants argue that, under New
York substantive law, Weinstein has
failed to state a claim for relief. When
deciding a motion to dismiss under Rule
12(b)(6), a court must accept as true the
factual allegations of the complaint and
draw all inferences in favor of the plead-
er. Mills v. Polar Mo[ecular Cor/)., 12 F.3d
1170, 1174 (2d Cir. 1993). “ ‘[T]he com-

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plaint is deemed ¢_c- '-=‘--"'-'-.1-”1-" ~“--“-'1»' ""~'.-”i¢f
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a'z'otex{ ]\’€fzz)t)rk. lnr z» American T€/. and
Tel. Co., 62 F.3d 69, 72 (2d Cir. 1995)
(quoting Cortec Indus., [nc. 1). Sum Holding
L.P., 949 F.2d 42, 47 (2d Cir. `1991), cert.
d.”nirrf mh nom Cir.'.~.~ ,’n.¥r/<_) ]n.”. r.' l'i(r‘c-
tz'nghouse C)'edz'[ Corp., 503 U.S. 960
(1992)). Dismissal is proper only when
“it appears beyond doubt that the plain-
tiff can prove no set of facts in support of
his claims which would entitle him to
relief.” Conley v. Gz`bson, 355 U.S. 41,
45-4() (1957), quoted in Co/zen 1). Koenzg,
25 F.3d 1168, 1172 (2d Cir. 1994).

Ill. Defamation Claim

l Weinstein’s first claim is for defama-
tio::_ ,"\ common l~:-.t'~r d‘:f.:tzna-‘.i-t-n claim ir-
N€W York has four elements. Plaintiff
must plead: 1) a false and defamatory
statement of/and concerning plaintiff; 2)
Rublication to a third-party; 3) the requi-
site degree of fault; and 4) special harm
°r Pe_r se actionability. Box Tree South. Ltd.
L.'-_ thterman, 873 F. Supp. 833, 874
‘(S;D.N.Y. 1995) (quoting Church of
Sc»e_nzalogy 1n1'1 v. Elz Lmy ¢~ Co., 778 F.
Supp. 661, 666 [19 Med.L.Rptr. 1593]

(S.D.N.Y. 1991)). lt is the first element
that is at issue here.

A. No Defamatory Meaning

Whether a statement is capable of a
defamatory meaning is a threshold ques-
tion of law to be resolved by the court.
Aronson 1). Wiersma, 65 N.Y.2d 592, 593,
493 N.Y.s.zd 1006, 1007 [12
Med.L.Rptr. 1150] (1985); james v. Gan-
neil Co.. Inc. 40 N.Y.2d 415, 419, 386
N.Y.S.2d 871, 874 (1976); Tracy v. News-
day, Inc., 5 N.Y.2d 134, 136, 182
N.Y.S.2d 1, 3 (1959). If a statement is
not capable of a defamatory meaning,
then, obviously, the motion to dismiss
should be granted. If a statement is capa-
ble of a defamatory meaning, however, a
court must then assess whether it also is
capable of a nondefamatory meaning If
so, then the defamation claim must go to
the jury “to determine in what sense the
words were used and understood.” Davis
u. Ross, 754 F.2d 80, 83 (2d Cir. 1985)
(applying New York defamation law).

ln New York, defamatory meaning
will be found only in

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disgracc, or to induce an evil opinion
of one in thc minds of right-thinking
persons, and to deprive one of their
confidence and friendly intercourse in
society.

I'Zztr!e_v ;». !`cek_\‘/ci!! S!a)' Co.»'j)._. 83 _»‘\.D.Zd

294, 445 N.Y.S.2d 150 (1981) (citations

omitted); accord Tracy, 5 N.Y.2d at

135-36, 182 N.Y.S.2d at 3 (“ ‘/\ Writing

is defamatory .. . if it tends to expose a

person to hatred, contempt or aversion,

or to induce an evil or unsavory opinion
of him in the minds of a Substantial
number in the community, even though it
may impute no moral turpitude to
him.’ ”) (citation omitted). A court must
apply this definition of defamation in
light of the following factors:
Fii:‘., the court must “-;onsi-:{c:' t.'h-T
publication as a whole”, and “not pick
out and isolate particular phrases.” . . .
The meaning of a writing “depends
not on isolated or detached statements
but on the whole apparent scope and
intent.” . Second, the publication
should “be tested by its effects upon
the average reader.” “The words
are to be construed not with the close
precision expected from lawyers and

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judges but as they wouid be read and

understood by the public to which they
are addressed.”. . . Third, the court
should “not strain to place a particular
interpretation on the published
words,” , nor “interpret such
writings ‘in their mildest and most
inofi`ensive sense to hold them nonli-
bellous.’ ” . . . Finally, the statement in
question should “be ‘read against the
background of its issuance’ with re-
spect to ‘the circumstances of the pub-
_lication.’ ” . . “The construction
which it behooves a court of justice to
put on a publication is to be derived as
well from the expressions used as from
the whole scope and apparent object of
the writer.”
Davz`s, 754 F.2d at 83 (citations omitted);
accord james, 40 N.Y.2d at 419-20, 386
N.Y.S.2d at 874-875; see Steinhilber v.
Alphonse, 68 N.Y.2d 283, 290, 508
N.Y.S.2d 901, 904 [13 Med.L.Rptr.
1562] (1986) (relying on the “average
person” standard to decide if a “given
statement expresses fact or opinion” in a
defamation action).

l. Monz'torz'ng l)rinking Cames at princeton

In paragraph 15(g) of the Complaint,
Weinstein complains that the Publica-
rior-s =tat-: “=,ltat wiri§e pianit:li_, joshua
l-t'\"t_`§'n:itcin"_i' .'.'L:~r: 11 stt.trlrl:;' al l"iin:':'tt n
`;. 1_»\|'.1|1: t‘t 1111 ll~iig gti..t__, iiil,..-C t….t
a score card on Monday rnornings, listing
the number of bones broken, students
hospitalized and co-eds raped.’ ” (Compl.
1115(g).) Whereas the Complaint might
be subject to more than one reading _
one that \/Veinstein p.'n‘tit‘.ipnted in thc
mayhem and one that he did not _- the
text of the Publications is not. lt states:

Princeton may be Ivy League, but to

Yoram [Hazony’s] dismay, its students

partied with the best of the Big Ten.

On weekends, the “eating clubs” host-

ed rowdy drinking games with names

like “Viking Night” and “Trees and

Trolls," in which short undergrads, or

Trolls, would try to fight their way up

a staircase past the Trees, usually ine-

briated jocks. The games had a gladia-

tor- type appcai For those Wlio enjoyed
being thrown over a banister and con-
suming prodigious amounts of alcohol.

Josh [Weinstein] and Yoram used to

monitor the “games,” filling out a

scorecard on Monday mornings, list-

ing the number of bones broken, stu-
dents hospitalized, and co-eds raped.

“It made us want to become more

religious,” said _]b,... “All these guys

did was vomit and rape.”
[2] (Zealots, at 181.)6 The only meaning
to which this text reasonably is suscept~
ible is that Weinstein did not participate
in the mayhem and, in fact, disapproved
of the drinking games at Princeton to
such an extent that they “made [him]
want to become more religious.” (Id.)
Weinstein’s proffered interpretation
completely distorts the plain meaning of
the passage No ordinary person could
find that these statements, whether read
alone or in the context of the entire work,
“tend[] to expose [Weinstein] to public
hatred shame, obloquy, contumely, odi-
um, contempt, ridicule, aversion ostra-
cism, degradation or disgrace, or to in-
duce an evil opinion of one in the minds
of right-thinking persons, and to deprive
one of their confidence and friendly in-
tercourse in society.” Fairley, 83 A.D.Zd
at 296, 445 N.Y.S.2d at 158 (citations
omitted). Thus, the statements are not
defamatory.

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2. Strategz'c Defense Initiatiz)e ("SDI”)
Rese`arch and Dungeons and Dragons

Weinstein also complains that the
Publications imply “that plaintifi`, Josh-
ua Weinstein[,] had spent one summer in
F‘f“"~' l‘/lt‘i;i."o working nn F.`t":i-rrlat:d
."l"~:f`;if-Fl`l\ 1537 ‘.lt"|"l -"~ "" l c:l }'l§.i
_,…t.c.tt .i-. ltt‘.n;-ct-on nt; trngrigtu in extra
curricular pleasure center[sic] around
‘Dungeons and Dragons’, and that ‘_]osh
was the Dragon l\/Iaster, meaning he ran
the game.’ ” (Compl. 111115(f), (h).)

On these topics, the Publications state
that, “{a] former engineering st'-_idcnt,
Weinstein spent one summer in New
Mexico working on SDI-related research
projects” (Zealots, at 17) and that

Josh [Weinstein’s] and Yoram [Ha-

zony’s] extracurricular pleasurcs ccn-

tered around “Dungeons and Drag-

ons,” a fantasy-oriented gam€ m

which players assume the roles of mc-

dieval warriors and pursue comPlc"

adventures that can take months - °‘¢`

      

wl iit n

“.'“v'hcn a particuiar stuie:\_ie-"-’ 13 Mr;__;
tained in both Zealots and the Exccrpf»`dm.*'.
tions herein will refer only to Zealol.\'. - ') -
7 Although falsity is assumcd- f°_r.-
purpose of this motion, I not_e that WC| '
spent the summer of 1986 in Alb_u._uc.- _
New Mexico employed at the Sal}dla _a» .
al Laboratories as a research assistan a
theoretical mechanics division. l ` _"
Laura R. Handman, Exh. E, at 14')“ 7

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years - to complete. _]osh¢ was'the
Dragon Master, meaning he~ran the
game. The pair eventually graduated
to war-simulation games, in `which op-
_' posing “generals” strategically move

hundreds of small, numbered card-.

: board soldiers around a board in mock
1 battles. josh lamented that the'Arab-
lsraeli war game bored him because
1.'1-'lsrael'always\'defeated the Arabs. “It
.'was just ~a' question 'of -how- fastfyou
f lwon and how many-losses you took,”
i= he said. -. 1 _
(Z_ealots,' at 181.) Weinstein asserts'that
these statements impute to him an-aspect
of-.-dangerousness b'ecause, '
[t]he portrait which Friedman
"` paints of _]oshua Weinstein as some-
'one who would resort to the militant
"ideas of Kahane and other`radicals in

"settling the territories is strengthened

' b`y the factually inaccurate statements
that Joshua Weinstein worked on the
` strategic defense initiative and also
liked to play the dragon master in

Dungeons and Dragons with Yoram

Hazony.

(Plaintiff’s Answer to the Motion of De-
fendants to Transfer the Action or to
Dismiss the Case (“Pl. Memo.”), at 30
::fnn:."..'itc' :nnif:`t'.:l_`:.i i"\"ei:t;ttit: tut`tcluel{i§
that "‘ftibe per':ersenes!: ref the ixn;)ln:a~
':1_1'_ :1,.1;1`_3`__)1~;“; 11_1 d'1.1::| 111 11‘~1 11.11 1;1| ‘11'1:`1 11 11--
ity but also a dangerousness.” (Id.)

As with the statements regarding the
drinking games, the challenged language
has but one reasonable interpretation,
and that interpretation is non-defama-
tory. SDI was a major program of the
Reagan Administration directed toward
developing a technologically advanced
system for protecting the United States
from nuclear attack. To have had the
ability and opportunity to work on such
a project while still a student can only be
a favorable reference. That Weinstein _
0!`_ the persons he associates with _
might today look unfavorably on the SDI
project for political (or.political correct-
HCSS) reasons does -not make the state-
m':m'-defamatory. See Fairley, 83 A.D.Zd
3¥ 91‘?'1'5. 445 N."k"..`l~`.'.`».'tl at 158 (“Amor-g
C_Crtain segments of the population a SO-
cial_ scientist designation might be.consid-
F§Cd unfiattering. However, the peculiar-
1§§§$_91` taste found in eccentric groups
c?nnOt`" form a basis for "a \linding_ of
lfb,,¢lOu_s inferences . . . . [T]hat some peo-
P.S.;-'-_-Would receive a negative inference

m_I_n'-'la` particular word’s] use cannot
wfve.'__-to

make' the statement

Similarly, Weinstein’s argument that
the Dungeons and Dragons statements
impute a level of dangerousness to him is
far beyond what an average reader
would take from the text. Dungeons and
Dragons is a widely popular game that
The' Wall Street journal has-characterized
as “fascinating stufl`”. Why Webster Hub-
bell, Wall St. _]., July 18, 1995, at A14.
Standirig -alone, these statements suggest
that Weinstein enjoys mentally challeng-
ing activities. When read in context, par-
ticularly in juxtaposition with the vio-
lent,-' self-destructive antics of other
Princeton students, they represent a
wholly'favorable comment. See Contempo-
rary Missidn. Inc. v. New York Times Co.,
665 F. Supp. 248, 259 [14'Med.L.Rptr.

1921] (S.D.N.Y. 1987) '(noting, while

holding that a particular statement in'an
article was not defamatory, that “there is
other language in the article which sug-
gests that the plaintiffs were praised for
their work”), afd, 842 F.2d 612 (2d
Cir.), cert. denied sub nom. O’Reilly v. New
York Times Co., 488 U.S. 856 (1988).

3. Membership in and Support for the Eli
G`an`):

1\;.;_1~_1‘ '\.*.".;F._n;t,r§r. ;~.".mpiains that TZ*‘.:*
l"`»»l)l"t',‘i*it1""' it11111\ `:"|l!"vl t'll'-!ihlll:l` "11‘- `1-1 i
member ot a gai'in, established by "‘1 tn.ti.r
Hazony, whose members settled in the
town of Eli on the West Bank of Israel;"
“that plaintiff, Joshua Weinstein[,] was
a part of the West Bank settlement
movement;” and “that plaintiff, Joshua
W'einstein[,] was activciy involved in per
suading others to join the settlement
movement in Eli.” (Compl. 1115(a), (c),
(C)-)

The Publications describe the Eli gorin
as “a seed group of twenty families, all
friends and Ivy League graduates, who
plan to set up a liberal arts college in Eli,
which they envision becoming a great
university town -_ the Princeton of Sa-
maria.” (Zealots, at 171.) Yoram Hazony
(“Hazony”), the leader of the garin
(Zea¢'o!s at 171), is Said to have founded
the lsrael Academy of Liberal Arts
(“IALA”) in 1991, “an eight-week sum-
mer program in _]erusalem designed to
teach American college students _]ewish
religious values and Western` philosophy
within a ‘politically correct’ Zionist envi-
ronment.” (Zealots, at 175.) The IALA is
to be “the precursor to a full¢fledged
liberal artscollege in Eli” (id.) and is
said to describe itself in its-brochure as

 

 

 

 

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“devoted to the idea that the mind, given
a supportive environment of good friends
and good conversations, can create
thoughts of consequence on important
issues.” (Zealots, at 176). Weinstein, de-
scribed by Hazony as “our Renaissance
man,” is-“IA.LA’s education director and
the designated director of Yoram’s future
university.” (Zea[ots, at 176.)

The members of th_e Eli garz`n are _de-_
scribed- in positive terms as thoughtful,
philosophical, _and serious people who
are willing to make great sacrifices in
pursuit of high ideals. The Publications
quote__Hazony as describing religious set-
tlements such as Eli in Utopian terms as

“tiny, _self-contained, idealistic -com-

munities where people strive to imple-

ment a Jewish vision of the good soci-
ety, where people love one another
freely, and l don’t mean in_ _a sexual
sense, but are willing_to sacrifice to
help one another and be the way.peo-
ple -are supposed to be. My. wife and l
decided years ago we couldn’t stand
the idea of raising children anywhere
else. Eli is just such a good environ-
ment. All the problems that plague
living in Princeton, New jersey, just
.’i:‘.r‘.`t :’::i.".r h:’r.". Tl‘.."r:"‘: n.". violent
crime there’s aimtrs: nr- divorrr'v no
‘.1 1111 |11` 1 -1 -1l1"
is basically unheard of. l’Coplc here
have something to live for, something
to pull together for, and their children
turn out to be straight, powerful
people.”
(7er1/otr, at lofl_) The people of Eli live in
modest surroundings" and pursue their

’The Hazonys’ living room is described
as “sparsely furnished” with- “a metal table
on wheels and two twin beds that doubled as
couches . . . . The kitchen was small and
messy. The refrigerator was very old, and the
stove was a rusty top cooker with two
burners.” (Zealo£s, at 172.) The synagogue is
described as “look[ing] something like a recre-
ation hall in a Catskill Mountains summer
camp, with unfinished wood paneling and
exposed ceiling beams." (Id.) Friedman simi-
i.’:r‘l'}' describes \*'\"r~ir.':trin"': apartment ir'. jr_
rusalem in modest terms:

Weinstein’s tiny apartment could have
been a.grad students humble digs any-
where in America. The living room was
furnished with an old'couch, cheap wicker
chairs, a world map covering one wall, a
glass~topped coffee table with'a copy of
Newsweek, and stacks of books in Hebrew
and English such as Popular Halacha, Zt`onisl
Revolulion, Ga¢eway lo Self-Knowledge, jewish
Travel Guide, and Toni Morrison’s Beloved.
While the bedroom door had fallen off its

religious studies and- worship seriously.°
The Hazonys are described as being
aware that they are “the ‘model’ settler
family, and ;that everything they did was
by way of example.” (Zealots, at 173.)
Weinstein is described positively as exu-
berantly engaged in the religious
dialogue: b

There was an occasional -squabble over

some finer point of Halacha ['°] among

these newly awakened _Orthodox _]ews,
but when Yoram_and Josh Weinstein,
also a baal teshuvah ["] and a Princeton
graduate, agreed, they _whooped and
hollered and gave each other the “high
five,” like football players after scoring

a- touchdown. .-

(Zealots, at 173.) - He is said to b`e a
“congenial host”, “making fun of himself
for doing a less than-sterling job that day
giving a lecture on Nietzsche at the He-
brew University” (Zealots, at 177.) Ha-
zony’s description of him as their “Re-
naissance man” is supported by the
report that the books in his apartment
range from Popular Halach'a to Beloved by
Toni Morrison; (Id.)

Regardless'of whether the Publications
fairly can be said to imply that Weinstein
i': ,". mrml'~.:'.~‘ r‘.f` tl'::* F_l: _._':.','r_;'r; :_'tr_i t_l‘.:_‘ l.*,':j:.‘
Bank and that lie atter_»'rptetl to persuade

 

 

not defamatory. Both the Publications"

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hinges, there was an expensive, imported
tap-water filtering system in the
kitchenette.
(Zeal`o¢';, at 1 }6.) ,
’ “Yoram [Hazony] elaborately intro-
duced each Sabbath prayer, which everyone
enjoyed immensely. The Hazonys'
three-year-old daughter, Avital, . . . sang her
very first Kiddush (prayer) with the attentive
help of Yoram.” (Zealots, at 172.) _
Hazony is quoted as saying: “ ‘We’re s_erl-
ous about bringing something important into
the world with the Land of lsrael
(Zealots, at 190.) v
After the prayer and during dl_nn¢r,
“Yoram [Hazony] held forth with a discus-

sion about the Bible before veering Off into a
-i-?-u'»'crsati-;'-)'i alj-out what '~_‘l~"-"s nnCi*~’!=l R"’mc
symbolized (materialism) in the Torah com-
pared with Persia (sensuality).” (Z€"I"¢"'at
173.) "

’°“Halacha” refers.to Jewish laW- E'g"_`
Rabbi Abrahar_n Cooper, Courage__ou: Mu.tllfrl_l
Amon Could End Temm'tm,_ Houston Ch',“.’.'.':.u
Mar. 7, 1996. ` ' - . -h ’il

" “Baal teshuva” refers to one \_Nh¢lE__*j'
returned to a traditional wa`y' Of hfc' ['sjl
Rafael A. Ivarez, Manying§ 'AV‘» Law uzmy "
"Pmise 10 God”, The Baltimor¢ sun, _D¢°-’ "
1994. '

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words and their overall impression con-
vey that the group is one of intelligent
idealists seeking a better life for them-
selves and their children within the
framework of their religion, and that
plaintiff shares those characteristics but
is at the same time more scholarly and
possessed of a witty self-deprecating
sense of humor.12 He` is described by

Hazony as tan integral part of Hazony’s'

vision of `an academy'of scholars on t`he
West Bank, serving as the present direc-
tor of IALA and future director of the
future`collegc (Zealo_ts, at 176), a charac-
terization of which Weinstein does not
complain. Thus, assuming that the Pub-
lications imply that l'Weinstein was a
member of the Eli gan`n and that he
attempted to persuade others to join, they
are capable of only a single meaning and
that meaning is not defamatory. See Prit-
chard v. Herald Co., lZO'A.D.Zd 956, 503
N.Y.S.2d 460, 462 (4th Dept. 1986) (af-
firming the trial court’s dismissal of a
complaint where the plaintiff was de-
scribed as “ ‘controversial’ ” and a
“ ‘black activist’ ” because, “when judged
by the temper of the times and the cur-
:‘:':‘.r ::f` :‘:‘..".:r'.'.'z:“..".r;tr'.,.' _f‘.:;:".li:‘_ 1'\:"-§¥`»5.'\."."`
such labels do ""rnt arm.=r-c in the mind of

1 1:1'1_11¢-1.‘1111:..11 1' .l.. mut .111/ .111
evil or unsavory opinion, nor expose
plaintiff to public hatred, conten'ipt, or
aversion”).

'2 Weinstein complains of the quote at-
tributed to him at the Hazonys’ home after
sunset on a Saturday: “I ‘loue coming out here
and occupying the terrilories’ said _josh, ever the
smart-ass. ‘I haven’t done it in a while. Some-
body’s got to do it or they’re not being occu-
pied, right.’ ” (Zealols, at 174.) Passing that it
attributes to him the positive attribute of
intelligent humor, it is at worst the “rhetori-
Cal hyperbole” and “vigorous cpithet” pro-
tected by the First Amendment. See, e.g.,
Gfeenbelt -Coop. Publishing Ass’n v. Bresler, 398
H.S. 6, 14 [1 Med.L.Rptr. 1589} (1970)
t!!Ol~'fing that ti:t: tenn "bl.i;i‘.::iaii" was ::o‘.
defamatory when spoken by a citizen at a
Public meeting _ and later reported in a
n¢W,SPaPér _ to describe a real estate devel-
°P¢l"s bargaining position because the term
must have been perceived lto be “rhetorical
hYP€l`bOlc, -a .vigorous .epithet”), cited by 600
West 775!/1 St. Corp. v. Von Gutfeld, 80 N.Y.2d
130, 143-45,'589 N.Y.S.2d 825, 830-31 [21
M_cd.L.Rptr; 1811] (19<)2) (holding the same
leh’_respect_'to' allegations that a lease is

.l“¢_gal”1and.“is as fraudulent as you can get
a“d_ ll Smells ‘of bribery and corruption”), cert.
wd, U.s_. , 113 S. Ct. 2341 (1993).

4. Support of Kahane’s Advocacy of Violence

The Publications, according to Wein-

stein, also falsely imply
that [he] approved and/or agreed
with the teachings or philosophy of

Rabbi Meir Kahane, whose viewpoint

Friedman describes in Chapter 7 as a

“xenophobic brand of militant Juda-

ism in which the outside world is

viewed as a bleak panorama of hatred
for Jews, and where.a Torah in one
hand is inevitably supplemented by an

AK-47 in the other . . .”;
and that - _

[v]iewed as a whole, Chapter 7 of
Zealots :for Zion was meant to inaccu-
ratel portray' laintifi`, _]oshua Wein-
steinf:] as a mi itant activist, politically
affiliated with the far right wing
which advocates violence in the efforts
of Jews to establish settlements in the
occupied territories of lsrael and with
a distorted view of others.
(Compl. lllll§(b), 16.)

Chapter 7 devotes many pages to dis-
cussing the effect of Kahane’s career in
the context of his effect on Hazony. lt
l:eginr.: “A .“.t:zur‘.:‘_h .":\.n.".e:‘vati'.'.". for .".‘~.
long as anyone could remember Yoram
rill1l.'11l1‘1\‘1:11"11“1_11111`1"‘111‘1lltr‘ f t 1:__"`1‘-
in the spring of 1984 after Rabbi l\1'leir
Kahane spoke on campus _ an event
Yoram would later describe as one of the
most significant in his life.” (Zealots, at
181.) Following a summary description
of Kahane’s career up to that time_
Chapter 7 continucs:

Yoram [I'Iazony] was ripe for Ka-

hane’s messagc. ‘In the spring of

1984,’ Yoram later recalled in The

jerusalem Po.rl, ‘on a night when most

of the university’s undergraduates
were out drinking and dancing at the
annual “P-Party,’ Rabbi Kahane
came to Princeton. Two hundred and
fifty students, most nonobservant

Jews, gave up the free beer to go hear

what the infamous fanatic, condemned

by the Hillel but brought tt: campus by
the debate team, had to say for him-
self. It was a speech many of us never

forgot. 1`
(Zealots, -at 183.) Chapter 7 further
states, after discussing the contents of
Kahane’s speech: `

' Kahane ‘-‘mesmerized” the students,
Yoram [Hazony] recounted in The je-
rusalem Post. l“Mo'st' of my friends, who
had never had a conversation with an

' observant Jew, were astoundcd that‘an

~Or-thodox rabbi could be an intelligent

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person, that he could actually defend
his views against a crowd of Princeton
students, when we had all thought
judaism had to bc something primitive
and foolish. We listened in astonish-
ment, and finally in shame, when we

began to realize he was right. We did

know nothing.”

“Rabbi Kahane was the only jew-

_ ish leader who ever cared enough
about our lives to actually come
around and tell us what he thought we
could do _. . . [to] learn about _]udaism,
move to lsrael, and stand up and fight
for what you believe in .. . And his
message worked. At least five students
who were in the hall that night gradu-
ally became observant.”

More than that many of those stu-
dents later joined the Eli Garz`rz, a tri-
bute to Kahane’s xenophobic brand of
militant judaism in which the outside
world is viewed as a bleak panorama
of hatred for _]ews, and where a Torah
on one hand is inevitably supplement-
ed by an AK-47 in the other.

(Zealots, at 184.)

Next, subsequent to a lengthy descrip-
tion of events following Kahane’s death,
Chapter 7 quotes Hazony’s memorial to
?‘:r-h?-_r:e i.': 7;'"..”.,:"”1":11'1'111'}1.»: _-"u¢:?;

"W'e found ourselves 1111':1'.)11"1'1 1‘ l*' -

‘-'\ " *1':1.':. ill 11.:1.;1_,,1‘1)] 111 rote 111 L1
bylined eolumn, “because, unlike any
other leader we had ever met, he was
willing to say what needed to be said;
that an ignoramus was an ignoramus,
that a phony was a phony, that there
really were things in this world worth
lighting for. By coming out and giving
Jewish voice to the painful truths
about our Jewishness, truths we had
previously heard only from those
openly opposed to Judaism, he re-
turned to us the belief that _]udaism
could have truth on its side, that it

l could be something we didn’t have to
be embarrassed about, that we should
be proud to wear a kipa and make our
stand on the world stage as Jews.

Although Hazony was never able to
reer)aci."r tti)'-zs-;i_.-' is ."\'af'mar"s };~:»:<I:t'e:t.;cn
for violence, he praised the rabbi for
inspiring, cajoling, and shaming tens
of thousands of youths into being bet-
ter Jews and Zionists. Kahane
“changed our lives, thrilled and enter-
tained us, helped us grow up into
strong, Jewish men and women,” he
-wrote. .

(Zealots, at 187-88 (emphasis added).)
Finally, after noting that “Hazony went

to Kahane’s apartment in Jerusalem to
sit shiuah” (Zealots, at 188) and that
“[t]he Hazonys had been personally close
to Kahane" (id.), Chapter 7 states: “Ha-
zony is certainly not a thug and is quick to
decry violence, unlike many supporters of the
late Meir Kahane” (_Zealots, at 189 (em-
phasis added)).

As is apparent from the above recita-
tion (and from a review of the Publica-
tions in their entirety), Weinstein’s name
is nowhere associated with Kahane’s.
Rather, Friedman’s discussion_of Ka-
hane’s influence on the former Princeton
students centers on Kahane’s influence
on Hazony. Thus, in order to satisfy the
“of and concerning plaintiff” require-
ment of a defamation action, Weinstein
appears to argue sub silentio that all of
Hazony’s views arc attributed to him and
that Hazony agreed with Kahane’s views
about the use of violence, The Fublica-
tions, however, belie both of these
arguments

First, the Publications neither state
nor imply that Weinstein shared all of
Hazony’s views. lndeed, the Publications
make clear that, even among those gath-
ered at the Sabbath in Eli and at the
study group; there is no uniform€:~,- .;.§
1»=c1~.1s, but., r.r-thci', sincere disn;qrermer_-ts.
ill " ""."ll""‘"l! t1i 1 _11 11`_|1‘_11.1‘.".1‘- l `
pittauon ot jewish laws,“* and immigra-
tion policies.“ Second, assuming that the
Publications imply that all of Hazony’s
views were shared by Weinstein, the
Publications clearly describe that, al-
though Hazony accepted certain of Ka-
hane`s non-violent teachings, he "was
never able to reconcile himself to Ka-
hane’s predilection for violence.” (Zealots,

UHaunted by her witnessing Israeli sol-
diers remove Arabs from a public bus, “Al_ll-
son was not as gung-ho about settlement life
as others.” (Zealots, at 174.) _

Avi was not interested in moving to E'll’:-
“‘l want something more adventurous.
(Zealots, at 1771.) '

“There was an occasional squabble fich
some barr point of Hal:icha among ".:u:é'§
newly awakened Orthodox _]ews, but when
Yoram and Josh Weinstein, also a baal teshu-
vah and a Princeton graduate, agr€¢d, they
whoopcd and hollered and gave each.otl\¢fil'
the ‘high five,’ like football players after soor‘;,
ing a touchdown.” (Zealots, at 17_3-)_ `, l

" “Yosha .. . worried that.withm a $¢n'
cration, the non-jews among the_ "__
would de-Judaize lsrael through mtcrm&l"‘

' _ y ' d uin that any . 1 "
riagc oram disagree , arg g loom l ___

who claims to be a jew must bc W€

(Zealots, at 173.) 1'~" 'i“" th

Russlanl‘! c

    
   
 
 
 
 
 
 
 
 
 
   
  
 
 
 
 
 
 
 
 
 
 
 
 
 
 
  
   
 
   
  
    
    
  
 
    
 

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at 187-88.) Instead, Hazony is described
s “quick to decry violence, unlike many
of the supporters of the late Meir Ka-
hane.” (Zealots, at 189.) Thus, for exam-
ple, Hazony rejected Kahane’s notion
that the way to solve lsrael’s demogra-
phic problem is to expel the Arabs, fa-
voring instead a constructive, non-violent
approach. (Zealots, at 191.) In light of
these 'statements, no reasonable jury
could find that these careful descriptions
of Hazony’s and, I assume for purposes
of this motion, Weinstein’s views on_ Ka-
hane’ s teachings could support an infer-
ence that Weinstein approved of the vio-
lent aspects of Kahane’ s teachings

Further, even if the statements were
defamatory of Hazony, Weinstein may
not rely on his mere association with
Hazony to render the statements defam-
atory of and concerning him. See julian z).
American Business Consultants Inc., 2
N.Y.2d l, 17-18, 155 N.Y.S.2d l, 16-17
(1956) (holding that an actor could not
be defamed by a book characterizing
many people in the broadcast industry as
communist “dupes”, because the book’s
description of his attendance at commu-
nist front meetings did not support the

f il\ '¢'il ill :.if;:i{". l(‘.:"l: .:.1'.
frl;'l f ‘lr' m lr‘" .'1 .§" ,D.'i,’ .l"r~" end
1 11. 1 1 “ ‘
50§ N Y .2d §7, 100 (2d Dept. l§‘$C)
(holding that an insurance broker s defa-
mation complaint properly was dismissed
because the letter alleging that an appli-
cation for insurance contained misrepre-
sentations would be def;un'.i~'.o:`y only of
the policy holder, not of the insurance
broker, even though the broker also was
identiHed in the letter); Co/m z). Natz.'onal
Broadcasting Co., Inc., 67 A.D.2d 140,
145, 414 N.Y.S.2d 906, 909 (lst Dept.
197§) (“Even assuming as true plaintiffs’
assertion that the film unnecessarily dis-
torted McCarthy’s career and was un-
mistakably disparaging to the late Sena-
tOr, this would not give rise to a claim for
defamation by plaintiffs as his former
aides and advisois. ”) a[l’d 50 N.Y.2d
qc'~‘U- 11...,._.`.._.(,_,,\,1.11.<. e", 3.~':"?
U.S 1022 (1980)

ln sum, an ordinary reader of the
Publications would not conclude that
Hazony’ s views were attributed to Wein-
stein, or, if they were, that such views
included the approval of Kahane’s (or
anyone else’ s) use of violence to establish
Or maintain settlements in the occupied
territories Finally, even if the Publica-

-fio`ns defamed Hazony, Weinstein’ s mere

association with Hazony is not sufficient
to render the statements defamatory of
and concerning Weinstein.

5. Publications as a Whole

The Complaint also alleges that
[v]iewed as a whole, Chapter 7 of
Zealots for Zion was meant to inaccu-
rately portray plaintiH`, _]oshua Wein-
stein[, ] as a militant activist, politically
affiliated with the far right wing
which advocates violence in the efforts
of _]ews to establish settlements in the
occupied territories of lsrael and with
a distorted, perverse and dangerous
view of others.
(Compl. 1116 or 18). As with the specific
statements_previously discussed, a court
would have to strain to find a defamatory
meaning _in the Publications as a whole.
See Co/m, 50 N.Y.2d at 887, 430
N.Y.S.2d at 265 (holding that in the
absence of “strain[ing] to find a defam-
atory interpretation where none exists,”
neither the individual passages nor “the
cumulative efi`ect of all such passages
[can] be said to be defamatory”). They
fail to support Weinstein’s characteriza-
tions thin 'r.:‘ 53 p:irrr_:i‘,':::i ;:s'. :~.:;:::.":::‘.e
'17;-“'_1‘111’\.1,")'l1 vi~i¢ 1111‘ T- tlw <v '~1
tl‘.t‘. poison t'vi..
lie is associatcd, an_d thereby dcfuu'ied,
Hazony, unambiguously is stated to be
opposed to violence and, as a result, not a
pure follower of Kahane. (Zealots, at
18§). 'l he Publications as a whole, there-
for e. arc not susceptible to a defamator"
meaning,

\‘\. 1lt`)lll `v t tltl.c~t{`.lil titnilt.`_-

B. Non-Aclionable Slalemenls of O/Jinion

Defendants also argue that certain of
the statements complained of are not ac-
tionable because they “cannot ‘reason-
ably [be] interpreted as stating actual
facts’ about [plaintifi`].” Milkouich z). Lo-
rain journal Co., 497 U. S. l [17
Med. l Rptr. 200§] 20 (.l§§()) (quoting
A"t _1["~1 jide "LL',;.`.'Z'_' .f." ___ "_'. .'." __ _
4(), 50 [14 Med L.Rptr. 228l] (l§88));
accord 600 West 775¢/1 St. Corp v. Van
Gutfeld, 80 N.Y.2d 130, 13§, 589

N.Y.S.2d 825, 829 [Zl Med.L.Rptr.-

18111 (“[O]nly statements alleging facts
can proper-ly be the subject of a defama-
tion action.”).

Under both federal and New York
standards, the 'question of whether the
complained-of expression constitutes ac-

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tionable fact or non-actionable opinion is
one for the court to resolve. Old Dominion
Branch No. 496 z). Austin, 418 U.S. 264,
282-84 (1974); Greenbelt Coo[). Publishing
Ass’n. z). Bresler, 398 U.S. 6, 11-14 [1
Med.L.Rptr. 158§] (1970); Gross, 82
N.Y.2d at 153, 603 N.Y.S.2d at 817;
Rina/a'i u. H_olt, Rinehart dr Winston, Inc.,
42 N.Y.2d 369, 381, 397 N.Y.S.2d 943,
950 [2 Med.L.Rptr. 2169], cert. denied,
434 U.S. 969 (1977). “The dispositive
inquiry, under either Federal or New
York law, is ‘whether a reasonable [read-
er] could have concluded that [the Publi-
cations were] conveying facts about the
plaintiff . . . .’ ” Gross, 82 N.Y.2d at 152,
603 N.Y.S.2d at 817 (citation omitted);
see Milkovich, 497 U.S. at 21 (“The dis-
positive question in the present case then
becomes whether a reasonable factfinder
could conclude that the statements in lthe
[author’s] column imply an assertion that
petitioner Milkovich perjured himself in
a judicial proceeding ’).

Differences do exist, however, between
the federal and New York standards.
First, the New York State Constitution
affords more protection to opinion state-
ments than the Federal Constitution.
The New York Court of Appeals, noting
‘ha.‘ "7"' ' " "_; rul::_zt`ztl :~c‘:_‘.:."r .~":;.r

~' `:"e‘iit,. ;_1:,_
"' '1"11" 1'\1'='1'1'?1"it‘r1 1"11 111-115 1.-

"111"‘ 1.11';'1-'11'111 1'111

‘ l 1 1 1 111 L.llt. l..t_ t,.'lLli._ili`i_",L eli
idt:as,"` lrrimzim) AG, 77 N.Y.2d at 24§,
566 N.Y.S.2d at §13, and that the New
York Constitution’s free speech guaran-
tee is drafted with broad language,"’ has
concluded at the “ ‘protection afforded by
the guai;:nt:*.<*..\; ::f free press and Speet_~li iii
the New York Constitution is often
broader than the minimum required by’
the Federal Constitution.” Immuno AG,
77 N.Y.2d at 249, 566 N.Y.S.2d at 914
(quoting O’Neill z). Oakgrove Constr. Inc.,
71 N.Y.2d 521, 529 n.3, 528 N.Y.S.2d 1,
5 [15 l\/led.l,.Rptr. 1219] (1988)); accord
Gross z). New York Times Co., 82 N.Y.2d
146, 152, 603 N.Y.S.2d 813, 817 [21
Med.L.Rptr. 2142] (1993) (holding that
under the State Constitution, the New
York Court of Appeals “has embraced a
fear fur rlr:~"='r-"iii:irig what constitutes a
nonactionable statement of opinion that
is more flexible and is decidedly more

“ lnstead of following the language of the
First Amendment to the Federal Constitution,
the New York Constitution provides that
“[e]vcry citizen may freely speak, write and
publish . . . on all subjects.” N.Y. Const., Art.
f,' §8.

protective of ‘the cherished constitutional
guarantee of free speech’ ”) (citation
omitted); 600 West 775lh St., 80 N.Y.2d at
138, 589 N.Y.S.2d at 829 (noting “the
scope of broader protection'afi`orded by
our state constitutional provision”).
Second, the federal and New York
standards resolve the fact-opinion inqui-
ry using slightly difi`erent approaches
The Court in Ullman u. Evans, 750 F.2d
970 [11 Med.L.Rptr. 1433] (D.C. Cir.),
cert. denied, 471 U.S. 1127 (1985), enu-
merated a four-factor test to apply in
making this determination under the fed-
eral standard. These factors are: _(1)
“whether the statement has a precise core
of meaning for which a consensus of
understanding exists or, conversely,
whether the statement is indefinite and
ambiguous,” (2) whether the statement is
“capable of being objectively character-
ized as true of false,” (3) a consideration
of “the full context of the statement _
the entire article or column, for example
_ inasmuch as other unchallenged lan-
guage surrounding the allegedly defam-
atory statement will infiuence the aver-
age reader’s readiness to infer that a
particular statement has factual content_.”
51-_1-'5 1'"-“-`,`1 .Ii 1,1~11::1£11:£-":t,:11 <_:i "t:'tt' firfm.'i.”r

11.11.[11~1- ly -11111111.11 1

   
  

11‘|,»1,1‘\-.11‘=_ lui [tllilleiein types of wi‘itli)g
have widely varying social conven-
tions which signal to the reader the like-
lihood of a statement’s being either fact
or opinion.” Ollman, 750 F.2d at 979,
cited bit Stcz'n/iilbe, 68 N.Y.2d at 2§2, 508
N.Y.S.2d at 905. Subsequently, in Mil`kn-
z)ic/i, the Supreme Court addressed this
same issue. Although it did not expressly
adopt the Ollman factors, it applied 2111
analysis largely similar to that in Ollrnan.
See Immuno AG, 77 N.Y.2d at 244, _56()
N.Y.S.2d at 910-911 (interpreting Milko-
vic/1 as endorsing the first two factors of
the Ollman test and substituting a “typ€
of speech” test for the last two factors).
The Supreme Court first held that tlic
statements at issue had a precise rinch
iiig. .‘;`:.'i' ."i'i':f!':r).'.-'.".”..".‘, 497 E.i.b`. iit '.'.`i ii`»"-""'“
ing that “a reasonable factfinder Could
conclude that the statements in thc .

column imply an assertion that petitioner
perjured himself in a judicial Pr‘l"
ceeding”). Next, the Supreme Court.h¢ 1
that the precise meaning was “suflicicnt-_.~_

ly factual to be susceptible of being

proved true or false.” ld. .
Finally, the Supreme Court al
whether either the “general tenor o 1

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article” or the existence of “loose, figura-
tive, or hyperbolic language” in the com-
plained-of statements negated “the im-
pression that the writer was seriously
maintaining” the truth of the facts in the
statement. Id.

The New York Court of Appeals em-
ploys a slightly diH`erent method of anal-
ysis, perhaps with an ear toward justice
Brennan’s dissent in Mi'lkoz)z'ch." ln New
York, the analysis must begin with “the
content of the whole communication, its
tone and apparent purpose.” Immuno AG,
77 N.Y.2d at 250, 566 N.Y.S.2d at 914,
cited with approval by Brian v. Rz'chardson,
87 N.Y.2d 46, 51, 637 N.Y.S.2d 347,
350-51 (1995).

. Given the purpose of court review -

to determine whether the reasonable

reader would have believed that the
challenged statements were conveying
facts about the libel plaintiff - we
believe that an analysis that begins by
looking at the content of the whole
communication, its tone and apparent
purpose better balances the values at
stake than an analysis that first exam-

im~< the challenged statements for ex-

p:es: '1‘11';'_5_ ln‘tplit:d factual ;‘._s':crti.':n,':,,

1 l jin` 1|1111'1 .1 “11: "1' '

couched 111 l`oose, figuralive Or hyper-

bolic language in charged circum-
stances. A media defendant surely has
no license to misportray facts; false
statements are actionable when they
would he perceived as factual by the
reasonable person. But statements
must first be viewed in their context in
order for courts ‘10 determine whether

a reasonable person would view them

as expressing or implying any facts.
Immuno AG, 77 N.Y.2d at 255, 566
N.Y.S.2d at 917 (citations omitted) (em-
phasis in original).

Weinstein complains of certain pas-
Sages in the Publications in which state-
ments are attributed to a “rabbi at Prin-
ceton who knew Yoram [Hazony] well.”
l~"v'c.'ii::;:ein alleges rhe::e passages
Suggest that he is “not able to see the
world in gray” but only in “Kahane’s

l'."l.'ll

x

"'7 justice Brennan recalled justice
Holmes’ observation that: “ ‘A word is not a
Crystal, transparent and unchanged, it is the
§l(}n of a living thought and may vary greatly
m_C_Ol_or and content according to the circum-
zl:gces and the time in which it is used.’ ” Id.

1 6 ' l.
425_:(1((;]111§3;)1ng Towne z). Fisn-er, 245 U.S. 418,

black and white” (Compl. 111 5(i)); has a
fixed belief system in Which “you are
either pro-lsrael or an enemy of lsrael,
in which you are either with us or
against us, in which you are either a
good jew or a bad jew” (Compl. 1115(j));
and comes from a troubled home
(Compl. 1115(d)). Related to these allega-
tions is Weinstein’s conclusion that the
Publications were intended to portray
him inaccurately as having “a distorted,
perverse and dangerous view of others”.
(Compl. 1116.) The pertinent portion of
Chapter 7 reads as follows:
“My perception is that the Princeton
students who joined Yoram [Hazony]
in Eli needed a fixed belief system,”
said the Princeton rabbi who knew
them well. “One in which you are
either pro-lsrael or an enemy of lsrael,
in which you are either a good jew or
a bad jew. Now all of that is a psy-
chological splitting off - of not being
able to see the world in gray, which,
for my money, is what adult-hood is
about.” According to the rabbi, some
of them come from troubled homes,
“:~.:id Kahane’s black-ar\d-\Afhitr' views

,. l ::: o 'a.~.' a ci .:.i mci ic 1117
chi mci i of e _ u

(Zriifots_ at 184.)

[3] Following the New York Court of
Appeals’ direction Hrst to view the work
as a whole and in context, l find that the
“full context of the communication in
which the statement appears, the broader
social context and surrounding circum-
stances” are indeed such as to signal to
an average reader that what is being read
is likely to be opinion, not fact."‘ Gross,
82 N.Y.2d at 153, 603 N.Y.S.2d at 817.
The statements are attributed to a rabbi
who is expressly stating his own “per-
ception”, or opinion. These perceptions
delve into the psychological motivations
and backgrounds of individuals who
moved to lsrael. Further, they are con-
tained in a concededly political hook
looking at t`ne nature oi aiiti motivation
behind the settlement movement, I hold
under the New York standard that,
viewed in their context, no reasonable
reader could view the statements attrib-

" Although it is not clear that these state-
ments are of and concerning Weinstein, I
need not address this issue because of my
holding that .they are non-actionable state-
ments of opinion.

 

 

 

~_~_`Enn_*_~`__~_; .~_ .

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uted to the rabbi as expressing or imply-
ing any facts about Weinstein."
Alternatively, to the extent that the
statement attributed to the rabbi that
“some of them come from troubled
homes” could be interpreted as based on
objective facts possessed by the rabbi and
not known to the reader, and thus stating
actual facts about Weinstein, this state-
ment is not defamatory. Even if Wein-
stein camc from a troubled home (how-
ever delined), that fact would not tend
“to diminish the esteem, respect, good-
will, or confidence in which the plaintiff
is held, or .. . tend[} to excite adverse,
derogatory, 'or unpleasant feelings-' or
opinions about the plaintiff.” Davi.s"v.
Costa-Gaz)ras, 619 F.Supp. 1372, 1375'[12
Med.L.Rptr. 1281'] (S.D.N.Y. 1985)
(citing Prosser, Handbook of the Law of
Torts §111, at 739 (1971)); See Aronson,
65 N.Y.2d at 594, 493 N.Y.S.2d at 1008
(holding that an employer’s statement of
dissatisfaction with plaintiH` employee’s
job performance, including that the em-
ployer could not get the employee to
hand in time sheets or anything else and
that the employee Was neglectful, was not
defamatory); cf. Gross, 82 N.Y.2d at 156,
=zo=_, ='~.'ifr',;~l=?:-; ;;; ;~;'-.'»,= s;; -:“tt'r_§: :=.tr.-::
\-l't<‘¢‘ .'tufi"r‘ »"…' t:'mi;rzittr~r'tlt tit .tt~:`-:lln¢v
tlit ti'y}_)ti tt»_iill‘.t.tli pitt .slllg` th .l _t.‘..
and spoken words for the purpose of
identifying ‘possible “fact[s]'" ’ that might

“’ Even under the less protective federal
a:‘.aij,'sis, i fi::u' that, because a reas-:-n?-.blr
reader could not conclude that the statements
complained of were conveying facts about
Weinstein, these statements constitute pro-
tected speech. At the outset, I note that the
world view attributed to the students and the
characterization of their home life by the
Rabbi do not have a “precise meaning which
is readily understood” but, to the contrary,
are utterly vague and subjective. Whether
plaintiff “is able to see the world in gray” or
only in “Kahane’s black and white”, whether
plaintiff has a “fixed belief system” in which
“you are either pro-lsrael or an enemy of
lsrael. i:: ‘.-.'hici: you are either a good jew or
a bad jew"', and whether plaintiff came from
a “troublcd home” are not capable of being
proven true or false. In any event, the type of
speech employed is loose and figurative, the
kind of psychological characterization and in-
terpretation that negates any implication that
the writer is conveying fact about Weinstein.
Further the general tenor of the paragraph,
introduced as it is by the author’s uoting the
rabbi'as stating his “perception[s ,” negates
an factual representation. Thus, under the
fe eral analysis, the statements attributable to
the rabbi are not actionable

form the basis of a sustainable libel ac~
tion”); Cohn, 50 N.Y.2d at 887, 430
N.Y.S.2d at 265 (“[C]ourts will not
strain to find a defamatory interpretation
where none exists”).

Finally, Weinstein complains of the
Excerpt headline, which reads: “ cRule
By the Best. Yuppie Settlers from Prin-
ceton Play Napoleon on the West
Bank.’ ” (Excerpt, at 1.) Weinstein
claims that the headline, “when read in
the context of the entire Village Voice
publication, portrayed plaintiff, joshua
Weinstein[,] in a defamatory, false
light.” (Compl. 1121.) I disagrec; the
average reader viewing the headline in
its tone and purpose, could conclude only
that, at worst, the headline is _a slightly
exaggerated statement of the Excerpt’s
contents. Accordingly, the headline con-
stitutes rhetorical hyperbole and is not
actionable See Milkoz)ich, 497 U.S. at
16-17; Creenbelt, 389 U.S. at 14; 600 West
775th St., 80 N.Y.2d at 143-45, 589
N.Y.S.2d at 830-31; Fudge v. Penthou.te
Inl’l. Ltd., 840 F.2d 1012, 1016 [14
l\/fed.L.Rptr. 2353] (lst Cir.) (holding
that the headline “Little Amazons Attack
Boys” constituted non-actionable rhetori-
.r;!§ f~.'.'.'.“.."'.‘:""l" ' ' " l

.-i :i/'> in io.{:»"l'.' " ZH": ::Ll'\.! ll

\-rntc:-:C -"-‘“ the "trti-"l-"`t, -"-‘r" t't'.”’tt»”’?'\. 4?"'*`

IV. [nt':i.n`c,-n of Privacy Claim

[4] Weinstein also alleges a common
law invasion of privacy claim. As the
New \.'mk Court of .-'\_ppeals repeatedly
has held, however, New York does not
recognize a claim for private facts or false
light invasion of privacy; it recognizes
only a claim for commercial misappro-
priation as provided under Sections 50
and 51 of the New York Civil Rights
Law.

While the courts_of other.jurisdictions

have adopted some or all of these t_orts,

[i.e., unreasonable publicity of private

facts, unreasonable intrusion upon Se-

clusion, and false light], in th_is Stat€

:i~_.r' right m privacy i.“. g::‘.'::nc~.'i f`"~'i--`-"‘-"

sively by sections 50 and 51 of the

Civil Rights Law; we have no common

law of privacy . . .

Howe[l z). New York Post Co.. Inc., 81_
N.Y.2d 115, 123, 596 N.Y.s.zd 350,_354_
[21 Med.L.Rptr. 1`273] (1993) (citationS
Omitted); accord Stephano z). News Grouf?
Publi¢azwm. Inc., 64 N.Y.2d 174_, 1831
485 N.Y.S.2d 220, 224 [11 Med.L.Rptr-
1303] (1984). Further, sections 50 and
51 “were drafted narrowly to encompa$el

 

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Ma.tson z). The New Yorker Magazine Inc.

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only the commercial use of an individ-
ual’s name and no more.” Arn`ngton v.
New York Times Co., 55 N.Y.2d 433, _439,
449 N.Y.S.2d 941, 943 [8 Med.L.Rptr.
1351] (1982). Weinstein has not pleaded
a violation of Sections 50 and 51, and,
accordingly, his invasion of privacy
claim, Count ll, is dismissed

CONCL USION

Defendants’ motion to dismiss lthe
complaint is granted. The Clerk of the
Court shall mark this action closed.

SO ORDERED

 

MASSON v. THE NEW YORI__{ER
MAGAZINE INC.

U. S. Court of Appeals

5`-'111511 '111.;'_1:`1

_}ia`t-tltl-.i t»'i. ivl/\.‘>.SUN v. 'l`HE
NEW YORKER MAGAZINE INC.,
jANE'I MALCOLM, and ALFRED
A. KNOPF INC, No 94-17147, june
5, 1996

REGULATlON OF MEDIA
CONTENT
1. Defamation '- Defamatory content
- Inaccurate quotations
(§11.0510)
Defamation -_ Trial Procedures --
jury instructions (§11705)

Defamation - Standard of liability
.~ Ac€.:.:'.:i mali<`.r' l;§ll_.ji.'Uz)

Public figure plaintiff failed to demon-
strate that federal district court erred in
instructing jury in defamation trial based
on article that allegedly contained inac-
Curate quotations attributed to him that
if jury found that plaintiff made state-
nicnt, it was required to determine
Whether author recklessly 'or deliberately
altered plaintiff’s words so as to effect
material change in their meaning. `

2. Defamation - Defamatory content
--._ Inaccurate quotations
(§11.0510)

Defamat_ion - Trial rocedures -~
jury instructions (§11)1.11705)

Defamation -- Truth -- ln general

(§11. _4001)

jury’s finding, in defamation trial
based on article that allegedly contained
inaccurate quotations attributed to public
figure plaintiff, that quotation w.as not
false indicates that jury never reached
question of whether author 'acted with
malice in attributing statement to plain-
tiff, and thus whether federal,district
court erred by instructing jury that
plaintiff ;was required to establish that
author had duty to investigate contradic-
tory information regarding quotations is
moot issue.

3. Defamation -- Defamatory content
-- Inaccurate quotations
(§11.0510)

Defamation _ Trial procedures _

In general (§11.1701)

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'L.t,‘tu.ti ittalicc t§ll. `.lUUZ`l

Public figure plaintiff failed to demon-
strate that federal district court abused its
discretion by refusing to permit, in defa-
mation trial based on article allegedly
containing inaccurate quotations attrib-
uted to linn, introduction of some ex-
cerpts from book written by author of
article after defamation action was filed.

4. Defamation -_ Defamatory content
- Inaccurate quotations
(§11.0510)

Defamation - Post-trial procedures
-- In general (§11.5701)

_jury verdict in favor of free-lance
writer in defamation suit based on article
allegedly containing inaccurate quota-
tions attributed tu public figure piaintiti
bars plaintiff, under doctrine of defensive
collateral estoppel, from relitigating issue

of magazinc’s liability in y subsequent ,

trial

Libel action against magazine, author,
and book'publishcr. The U.S.` Court of
Appeals for the Ninth Circuit affirmed
the trial court’ s grant of summary judg-
ment in favor of the defendants l(.16

 

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Wi'[son z). News- sr Publishing Co.

 

1138 'l`hus the fact that the depositions
are now retained by parties pursuant to
\Vis. Stat. § (Rule.) 8()4.01(()) does not
change the circuit court’s control over the
depositions and the circuit court’s power
to order them filed in court.

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1139 'l`he majority opinion does not
address under what circumstances a non-
party may have access to depositions filed
in circuit court. The majority opinion
merely holds that common law and the
l"irst Amendment do not require public
access to unfiled pretrial discovery
matcrial_

1140 l need not discuss the common law
or l"irst Amendment rights to public ac-
<'css of pretrial discovery material that is
filed in court. 'l`he Wisc.onsin rules set
forth in \'Vis. Stat. ch. 804 relating to
discovery govern public access to filed
pretrial discovery material. The rules
recognize that private litigants have pro-
tectable interests in information disclosed
through discovery and afford means for
protecting those interests. Public access is
not permitted when good cause is shown
to closc access. \Vis. Stat. § 804,01(3)(;1),
like l"ederal Rule of Civil Procedure

. _:1;."1',,. 1 '.;~. :.tj'.*.‘_§_.',,_:!:_ ..._.;_
' Httrtt' "t't".‘l " “ ' ‘ "
;t,.' ii ii -.‘.t A.i‘. ti »-ti .', . ,t _~._..,t,‘t__
t- inl -o1 good c tuse show 11 the couit may
iii(i'r;c ttii, ottch whichjusiicc requires to
llf`l>ff`f": ii })ill"l_\' fll` F)Cr§()fl fl`()fii ann():y'_
ance, cmbarrassment, oppression, or un-
due burden or expense . . " 'l hus a
party iiia'_-,' scef~. a protective order to limit
access to pretrial discovery material if the
party shows good cause. “['f`]hc obverse

F.R.D. 346, 354 (S.D.N.Y. 1996); Haw[ey z).

llu//, 131 F.R.D. 578, 581-83 (D. Nev.

19‘)()).
'“ Rule Z(i(c) provides.
Protcctivc Orders. Upon motion by a paity
or by the person from whom discovery is
sought accompanied by a certification that
:!'.c ;'.'..'.\.._..1,._` ,. .__._.. ...._l l.. _11[ .__._. _._l»-_,,-,.._:
attempted to comer with othcr affected par-
ties in an effort to resolve the dispute
without court action, and for good cause
shown` thc court in which the action is
pending or altcrnatively‘ on matters relat-
ing to a dcposition, the court in the district
whcrc tlic deposition is to bc taken may
in:ikc any order which justice requires to
protect a party or person from annoyancc,
cmharrassment, oppression, or undue bur-
den or cxpcnse, including one or more of
thc following . ..

 

 

also is true\ i.e. if good cause is not

shown, the discovery materials in ques-

tion should not receive judicial protection .
and therefore would be open to the pub-

lic for inspection.” " ln other words,

unless the public has access to discovery
material under the law, a party would

not need a court order seeking to protect

the material.'°

 

111 fe c\-

1141 l conclude that \’Vis. Stat. §§
(Rules) 804.01(3) and 804.()1(6) permit
a person, including the media, to inter-
vene in an action for the limited purpose
of asking the court to order pretrial dis-
covery material to be filed in the court
and to order access to the filed pretrial
discovery material. l further conclude `\,
that the circuit court must exercise its k '
discretion in determining whether to al-
low access to all, part or none of the
pretrial discovery material that is filed.
Judicial restriction on access to filed pre-
trial discovery material is valid, under
the rules, when good cause is shown,
including potential harm to commercial,
economic, privacy or reputational inter-
ests of parties or nonlitigants and the

 

 

possible prejudice to the parties’ fair trial /""\\ ./ '
,t; 1111 '.; it v """ '
reach."; j k
1142 For the reasons set forth, l con'tur.
AHACHMENT f EXHIBlI

WILSON v. NEWS-PRESS
PUBLISHING CO.

Florida Circuit Court

Lee County

DAVID E. WILSON, Plaintiff v.
NEWS-PRESS PUBLISHING CO., et

‘7 fn re "Agenl Orange” Producl [,z`abz'lily
Li`i.'i'gali'on, 821 F.2d 139,145 (2d Cir 1987).

'° S`ee also Wis. Stat. § 885. 44(131(31 rev
_.'-.'."-7`.".::`._:»'_ ‘\:i....‘..‘:.."..".: .1 p..`.t, .,1.._ W:... ,..._
pressly provides that a copy of a videoiapcd
deposition Or a written transcript 01 audio
recording shall be provided to any party or
other person authorized by the court.

‘°S€e, e.g., Pubfz'c (.`1'ti'zen 1'. I,i_g_gc// (,'mu/),
Inc., 858 F.2d 775, 790 (ist Cir. 1‘)88); ln w
"Agenl Orange” Produt'/ Lmbi'li'/y lli/i`_gri/i'on` 821
F.2d 139, 145-46 (2d Cir. 1987); 111 rr N,~f.$`»
DAQ_ Markel-Maker.t Anlz'trusl ].ilz`gritzon, 164
F.R.D. 346, 351-54 (S.D.N.Y. 1996); Haz/.-[ey
11_ Ha[l, 131 F.R.D. 578, 581-83 (l,). Nev.
1990).

 

 

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28 Med. L. Rptr.

 

zil., l)cfendants, No. 97-9089-CA-_]BR,
/\pril 7, 2000

government record, and since such state-
ments are non-actionable, even if defen-
dants knew or should have known of

 

   

S REGULATION OF MEDIA information’s falsity.
§ CONTENT
ld l. Defamation _ Defamatory content
m __ hig¢nerai(§iro§oi) _ _
Action against newspaper defendants
Defamatioll _ Trutll ___ In general for defamal.'iOH._ On dcfen_danl.,$ renewed
(§11_4()()1) motion to dismiss complaint.
§§ , . . . Granted.
iit . Defendant.$ motion to (.hsmlss defama_ Related decision' 26 Med.L.Rptr.
___ tion complaint concerning statements 1703 `
Sc made in article about retirement of for- R__`be___ Hagama__ Of Rob__rt R Haga_
s- mer Chlef.deputy Of C(.)umy Sheles dc` man & Associates, N)aples, Fla.; Louis S_
rt partment is granted, since certain alleg- St_ Laurcm H CO__al Spri__gs Fla_ for
al edly defamatory statements would not plaintmr ’ ’ ’
lC ha.Ve ,, leerCm cfrc?l (.m . Common Steven Carta, of Simpson, Henderson,
ts mind of reader than if plaintifl"s assert- Ca_ta & Ra__dolph Ft_ Myers Fla__
l_ ed “truth” had been published, and since Charles D Tobin O’f szm_tt C(’) lnc_’
le remaining statements do not contain facts Arl_ngton `Va for’ defendant_ ’
d_ capable of being proven true or false. ’ "
C` 2. Defamation _ Truth -- In general F“l[ Text 0/ O/’f"fon
er (§11.4()01)
n, .
ll` Defendants cannot be found liable for Rosman, C._].:
r_ defamation for statement published in
le newspaper article about retirement of _ ___ __, __ _ ___ _ ___ __ __ ,__< __` ____ ,_,
_:. ` ' =`»-ttt:e: i_ii:e§ :Eep:::'_.' .'"" .".".'.1-“_~"_¢ ;~§;c_-iil;~. ____ __," ‘l`,_‘"‘l“: fmc ','."" _;`,` §
__ ___________ _______ ___ ___________H_ __ __ h __: ____ ___ __ _,_,__A, f \t__g__,\.’t l- ,~< fr` ld. rf ft l
__ ,.:_t_ t,.…, .-\..i.tii.t i.‘.;`_ oi.\- aiic\_j,ctiit ,;‘ ;"_` _‘_ l“_"'_"*' ` '__‘_"" l"""
1 defamatory statements must bc consid- |l('lz\‘ 10 ljlbf"llbo
crcd by trial court without forcing or This matter having Come before the
,-_ straining intci'pret:iti<,\n_ and since statc- Court Un Niarch 6 Z`OOU upon the DC_

ment, given its natural sense` is both
non-defamatory and substantially true.

3. Defamation - Truth _ ln general

(§11.4001)

Defendants cannot be found liable for
published statement that plaintiff, former
chief deputy of county sheriff’s depart-
ment` was “nearly indicted” on drug-
running charges, since it was not im-
proper for defendants to summarize
uncontested facts by stating that plaintiff
was "nearly indicted,” since such an oc-
currence is impossible and therefore in-
capable of \.'erif`icatioii. and since reader

fendant’s Renewed l\/Iotion to I)ismiss,
and the Court having reviewed the .~~.1.»_~._
tion, heard argument of counsel and bc-
ing otherwise fully advised in these
premises, it is:

ORDERED AND ADJUDGED
that the motion is grantedl

This Court adopts in large part the
legal argument Of the defense and makes
the following findings of law and fact
(paragraphs from the PlaintifFS Com-
plaint will be referred to by the para-
graph symbol “ll” followed by the para-
graph number):

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F"`- ?l`-i; -”¢-?:‘?-r":`z?:i:i'!i \:'ct,:'tr.': irr::::t""

t_'l bltltC_lllCl|l \'\’Uulli n()l pCI`CCl\/'C that against the News_PreSS by the forr;/~;e[

I)l¢'*lmlll hud been lndl€l€d~ chief deputy of the Lee County Sherifl"s

cid . . . . department the News-Press has filed a
llO 4. Defamation _ Privilege _ Fair re- ' d ’ . d. . l _ l .

Or Orts rivilege (§11_4505) renewe motion to ismiss t ie comp _ai_nt.

p p _ 1 he renewed motion follows the decision

,y,_ Defendants cannot be found liable for issued in this ease by the Second District

re published statement that plaintiff, former Court Of Appea]_ S¢c_ Wz']wn U_ N€w;_

chief deputy of county sherifl"s depart-
ment, sold airplane to corporation before
it was actually incorporated, since facts
ley upon which statement was based came
from bill of sale filed with Federal /\vi-
ation Administration, which was official

Press Pub. Co., 738 So.2d 1000 (Fla. DC/\
1999), That decision reversed the dis-
missal with prejudice of this action by
the former presiding judge in this case,
the Honorable R. Wallace Pack, btit
expressly granted the News~Prc.ss the

 

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thion u. News~l’rcs_t Publishing (4'0.

 

right to reassert a motion to dismiss or
strike.

'l`he Plaintiff, DAVID WILSON, re-
tired as Undersheriff from the Lee
County SherifFS Department in the
Spring of 1996 after 24 years of service.
(11 14) lVIr. Wilson is suing the News-
Press for alleged defamatory statements
contained in an article appearing in the
l*`ebruary 9, 1996 edition of the News-
Press about Nlr. VVilson’s planned retire-
ment from that Department (1111 14, 18
and 19 and Ex. 1), and in a “Correction”
of that article, published February 10,
1996 (Ex. 6). The specific statements
claimed to be defamatory are contained
in Paragraphs 21 and 86 of the
Complaint.

l\/Ir. VVilson alleges he has been dam-
aged by the statements he quotes in the
Complaint and Seeks not only actual
damages, but punitive damages and at-
torney’s fees as well (11 117). lt is this
Court’s finding that the specific state-
ments alleged as defamatory are not, as a
matter of law, actionable on the face of
the Complaint and attached exhibits.

In defamation actions, trial couits p_lay
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ti:` .::‘.:‘.".t .'.'.‘.~.r':_;.:.'.. :5_. ,__.,.:::..HHH._.

`v\lwll"l l-r case s1 'vetli tr w hr-i 't.»r' tr

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s (in mt i)tj:.‘~t i'.i*';i_)

Whether a challenged statement is dea
famatorv or actionable is a matter for
consideration by the court. Mclz)er z). Tal-
lahassee l)€mocml, Inc., 489 So.2d 793 [13
l`\-lc-;l.L.l\"pt:'. 11111 t:¥‘"ln, lst DC_/\.
1986). lt a court hnds that a statement
could not possibly have a defamatory or
harmful effect, the court may dismiss the
case for failure to state a cause of action.
MeCormi`t./z z). Miami Hemld Fub. Co., su-
pm Bvrd z). Hqu/er /Wagazme Inc., 433
So. 2d 593 (Fla. 4th DCA 1983) and
Friedgoodz). Peters Pub. Co. 521 So. 2d 236
[15 l\/led.l..Rptr. 1010] (Fla. 4th DCA
1988). When considering whether an al-
leged defamatory statement is actionable,
thc court should consider the statement
m its naturai sense without a forced or
strained construction Byrd, supra.

lt is the general rule that the truth of
an alleged defamatory statement is a
complete defense in a civil action for
defamation See, e.g., App[estein v. anght
Nezz)s/)af)er§, Inc., 337 So.2d 1005 (Fla.
3rd l)C/\ 1976) and Brake and Alignmerzt
Supp/y Cor/)., Inc. z). Post-Newsweek Stations
of Florida. Inc., 472 So.2d 517 [11
Med.L.Rptr. 2183] (Fla. 3rd DCA
1985)_

As observed in Byra’ u. llizitlcr /l1aga-
zine, Inc., supra, “1/\] false statement of
fact is the sine qua non for recovery in a
defamation action.” See also, Frei`a'good z).
Pe!ers Pub. Co., supra (“a false statement
of fact is absolutely necessary if there is
to be a recovery in a defamation
action.”).

For the defense of truth to be applica-
ble, it is sufficient if the article is sub-
stantially true; and inaccuracies not ina-
terially affecting its meaning do not
defeat that defense. M¢:Cormz`ck z). Miami
Herald Pub. Co., 139 So.2d 197 (Fla. 2d
DCA 1962); and Restatement (Second)
of Torts, §581/\, comment, at 237
(1977). As recently _stated in the case of
Smith z). Cuban American Na!. Foundatz`on,
731 So.2d 702 [27 Med.L.Rptr. 2499]
(Fla. 3rd DCA 1999), “Under the sub-
stantial truth doctrine, a statement does
not have to be perfectly accurate if the
‘gist’ or the ‘sting’ of the statement is
true.”

One way of determining whether a
statement is substantially true on a nio-
tion to dismiss is to review the unchal-
lenged factual matters contained in the

1 » _.
.l: :;:."..".': .".7 ,,.... .........` _,, ......_

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1_'11_~:: r-F_¢_ aff `[".F '._"l'~:,'l¢_ f[l_t~. ."__, ,: _____ ;

[.'.'t., .1'11_¢"))1:.

/\ similar method to the “gist" oi
“sting” analysis that courts utilize to tle-
termine whether an otherwise defam-
atory statement is actionable is the “com-
mon ..... =,"difleieiit ellect" 'l`hai
test considers whether the defamatory
statements as published would have a
“diffcrent effect” on the “common mind”
of the reader from that which the pleaded
truth would have produced See, szth z).
Cuban American Nat. Foundation, szz_bra,'
McCormi'ck v. Miami Herald Pub. Co., su-
pra,' Hammond z). Times Pub. Co., 162
So.2d 681 (Fla. 2d DCA 1964); and
Bishop z). Wometco Enlerprises, Inc., 235
So. 2d 759 (_Fla 3rd DC.A __19_7(_)) _Se_e

Rl'<n_ ,Q;_:i 1._ _. 'r`_».(_,_..;.:’.l C' _.‘_f.,.,_

l'l lortda 111edta A_/_/zlzafes 1nc.,27
Med.L.Rptr 1205 (Fla. Cir. Ct. 1988),
'I`he test was implemented because
speakers “. . arc not to be held to the
exact facts or to the most minute details
of the transactions they publish ”
McCormic/z, supra, at 200.

[1] It is this Court’s finding that cer-
tain of the statements sued upon, if elimi-
nated from the article, would not have a
different effect on the mind of the reader
than if the “truth” had been published.

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l"l"t/mn z.'. News-Press Publishing Cr).

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28 Med. L. Rptr. 1697

 

'l`hose statements therefore, are not
actionable.

lt is also the finding of this Court that
certain statements are not actionable be-
cause the allegations of the Complaint
and its exhibits demonstrate that those
statements do not contain facts which are
capable of being proven as true or false.
\Vhether or not a statement is one of
actionable fact or is a question of law is
to be initially resolved by the trial court.
D€//a-Donna v. Yardly, 512 So.2d 294 (Fla.
4th DC/\ 1987); Florida Medical Center,
[nt‘. u. New York l’osl Co. Inc., 568 So.2d
454 118 l\/fed.L.Rptr. 1224] (Fla. 4th
L)CA 1990).

In order to be actionable, a statement
must contain a provany false factual
connotation. Florida 1'1'1edz'ca[ Center, Inc. z).
i'\'t'z,:) York POXZ Co., Inc., 568 So.2d 454 118
Med.L.Rptr. 1224] (Fla. 4th DCA
1990), citing A/ft'/kovz'c/z z). Loraz`n journal
(i'n_, 497 U.S. 1, 110 S.Ct. 2695, 111
l..ljd.Zd 1 [17 Med.L.Rptr. 2()()9]
(_1991)). ln other words, the statement
must be of a fact “subject to proof of
truth or falsity.” Id.

'/‘HE A1thETG§1_)_ ___/iam MA role Y

1115 t r of z)';.r t'j," ."_"i._" .’.1.":\[ wit/it. -."r`.t~
<1111' l'rtt/' enforcement officio/t in the history of
law (`,,'otmty law enforcement may be coming
to an encl." tf`. 21a.)

In 11 23 of the Complaint` Nfr. \/Vilson
alleges that this statement, when read in
conjunction with the balance of the arti-
cle, i's defamatory because it presents him
“as someone who had been involved in
criminal activities while serving in law
enforcement.” However, regardless of
that interpretation by Mr. Wilson, other
allegations of the Complaint and the ex-
hibits attached to the Complaint demon-
strate the substantial truth of that state-
ment. For example, in 11 24 of the
Complaint, Mr. Wilson acknowledges
that br was c-'tntr¢;»versial dating .': period
of time in the mid 1980’5; and in 11 132,
l\/lr. Wilson acknowledges that a deputy
claimed he was in a certain area after a
drug incident occurred in that area.

l\/1t)re pointedly, Exhibits 5 and 8 tO
the (".omplaint (two News-Press articles
published in the l98f)’s) contain unchal-
lenged reports that, among other things,
a federal grand jury was investigating
l\/‘lr. Wilson’s alleged drug smuggling in-
volvetnent and that he volunteered to
take and did take a lie detector test to

“put to rest” the rumors that he was
involved in drug smuggling. 'Fo the same
effect, in another exhibit to the Com-
plaint (Exhibit 2) an assistant U.S. At-
torney is quoted as naming Mr. Wilson
as a “target” of a federal government
investigation at that time.

All of those matters involving l\'lr.
Wilson are undeniably “controversial.”
Again, all those matters, as contained in
the Exhibits to the Complaint, are ac-
cepted as true for the purpose of deciding
the present motion to dismiss See Chiang
z). Wila'cat Groz)es, Inc., supra. Therefore,
the substantial truth of the statement that
Mr. Wilson was controversial is estab-
lished on the face of the pleading

Moreover, as to that part of the state-
ment that l\/lr. Wilson was “one of the
most controversial law enforcement offi-
cers,” that statement is one of pure opin-
ion, because that subjective statement
does not contain a provably false factual
connotation, and is therefore not action-
able as a matter of law. Florida [Wea'zca!
Cen!€r, Inc. L». New York Post Co., Inc.,
supra.

2. “David

""" . ,.. ,,1,. .. _

-.,.-.'._t_,…_ -,
t' 7t f "l ; _' f lttt `t\"…_t. |. tt

lVilson, 153, the top [,ep (.'r)zm/y

 

`:. …1 \. 1 ..'._.
Slieriff"`s ':)'flice, hatv tjtn:"tou:iced his rc-
tirement." (11 21b.)

The portion of that statement which is
being contested is that part which states
1»1r, Wilson has been “a suspect in an
international drug smuggling ring." Ex-
hibits 2, 5 and 8 to the Complaint estab-
lish the substantial truth of that state-
ment. Some excerpts from those Exhibits
demonstrate that truth:

(a) Exhibit 2 contains the following
uncontested statement “Zimmerman
[Assistant U.S. Attorney] calls Wilson
and Yahl ‘targets’.”

(b) Exhibit 5 contains the following
uncontested statements:

“WilSOn, l\/foss and other current and

E`u:r;te: :tie::'.i;e::,' t;'.' the si'.c.ri;'f`s dc-

partment are being investigated by a

federal grand jury for possible involve-

ment in Carter’s smuggling ring.”

“Wilson said he knows he has been
part of a federal grand jury investiga-
tions (sic) for three years and said that
fact alone should prove his innocence.”

“ ‘l’ve volunteered to testify but never
once been asked to,’ he said. ‘And this
iS the second federal rand jury to be
convened. lf they cant pin something

 

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. CB.S€ lfOO-CV-O]_SSS-UU DOCUl'Tl€n'[ 16
28 l\/lcd. l,. Rptr. 1698 `

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ll'i'l.i’on t'. Ncws- 1"._ ., Publishing Co.

 

on me in this length of time, kind of
takes on the appearance of a head-
hunting party doesn't it?’ "

(c) Exhibit 8 contains the following
uncontested statements;

“Lee County Sheriff"s Col. I)ave Wil-
son said 'I`hursday he passed a lie
detector test and hopes the results will
forever put to rest the vicious rumors
and outright lies that were intentional-
ly designed to make it look as though l
was involved in drug smtiggling.”

“VVilson said two federal grand juries
in 'l`ampa have been asking questions
of witnesses over the past three years
‘trying to tie me to drug stnuggling.’ ”

Clearly, these above-quoted excerpts
from the exhibits to the Complaint estab-
lish on the face of that pleading that l\'Ir,
\‘»'ilson has been a suspect in a drug
smuggling ring. That being the case, that
statement is substantially true and is not
actionable for that reason.

3. “11215011 lt oFerzng tt) take an early
ninemtnt deal that will take effect on A/)ril
['no/s Da_y, but that must be approved by
county commissioner’s Feb 21 during a
public hearing.” (11 21c.)

121 In

j...t o_q _»,,r =i.,.

tiaragraph< 77
"'i,. .f*.-i.'. "~'""1.154,111

 

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tt,tct~.deo civ thc i\t'\vs-~l’re‘~'\. to
ntcaii that he was not serious about con~
;cniplating retirement and that he was
l ingr Lind playing a joke on the public.
lhat claimed innuendo is a strained in-
terpretation of that statement. lflorida

have hcid that an alleged defam-
atory statement must be considered by a
tt ial court in its natural sense “without a
forced or strained construction.” Byra' z).
Httstlcr Magazirie, Inc., 433 So.2d 593
(Fla. 4th I)CA 1983). The natural sense
of the subject statement would not lead
one to the conclusion that Mr. Wilson
was lying about his retirement and play-
ing a joke on the public.

'l`herefore, the subject statement is
both non- -defamatory of Mr. Wilson and
subst aiiti: tllv t:ue. .":." sho'\_~. -t :-.': the f-- z

.c Complaint and the article itself.

“lle field that position throughout
\'\'anitka s term, despite a fallottt betz/cm
flu /z/o, and field the position iii 1988
when McDougall became Sheriff.” (11
121(1.)

ln paragraph 29 of the Complaint,
Mr. Wilson alleges that this statement
was meant to be understood that he did

not get along with his superiors and that
his alleged drug smuggling involvement
caused the reported fallitig out.

Again, that interpretation is a strained
one. Nothing in that statement or the
article itself reasonably suggests that in-
nuendo, especially when one considers
that l\/Ir, Wilson was investigated for
being possibly involved iii drug smug-
gling between 7982 and 1986 (see, Exhibit
2), and the “falling out" was reported in
the article to have occurred much later iii
7988.

Furthermore, stating that hlr. Wilson
had a “falling out" with his boss, even if
false, is not defamatory of l\1r. Wilson,
whether standing alone or in the context
of the entire article, Nothing iti that
language suggested poor job performance
or corruption by l\fr. Wilson. To the
contrary, the balance of the statement
reports that l\lr. Wilson continued in his
position as chief deputy for Sheriff
McDougall’s administration, giving rise
only to positive inferences about l\#lr.
\Vilson’s job performance

5. "'l)urt.'ng t/ie mtd- 7980'$. ll-’i'lson came
under fry after a fellow deputy clazmt’d lie
saw ll'il_t_on on an airstrz,i) during a drug run
gone /i.'i.-"/ " (';1 .'Zle.}

"'1"?"111* " ‘ ‘ tt'

.-.t\---»tv\ 11 `t'lll .fj.‘jil'i\l'\ \`r`t
thc f;ttc of the klttnipi;tiiit and its
F.\'hibits.

fa. ) lti paragraph 32 of thc Complaint,
i\lr. Wilson alleges:

"T/te truth rif the matter z.t flint twa :lt't`/j,r.'.'::-
£l;z'." a'c[):;;'}' /')/m' tla:,'n('(". that ’lalntzj/' war m
the area after a drug incident along with
numerous other law enforcement olli-
cers.’7 (emphasis supplied).

(b.) Exhibit 8 to the Complaint speaks
even more fully to the truth of the chal-
lenged statement. ln that uncontested news
article reporting about a lie detector test
that Mr. Wilson took to refute allegations
of his involvement with drug smuggling,
the newspaper wrote;

list

Wilson released a pittial of thc

-_:t: tr- asked ut tie said they
were the questions relevant to the grand
jury investigation and iii response to
allegations by former Lcc County sher-
ilf`s deputy f"ranl< Richbourg that \Vil-
son was at the scene of the _july 9, 1981,
smuggling incident on the airstrip near
Carter`s home oti Corkscrew Road.

Alllll.

“l said l’d take the lie detector test and l
passed,” Wilson said, “Now what about
Richbourg?”

 

 

 

 

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’ 50" U- N€Zl)s-Press Piibiit,/iing Ca.

“\VC know the Tampa jury has been
asking questions about Dave,” Wanicka
Sald, “but it’s always seemed real
Strang€ to us that they’ve never _ not
Once in three years _ tried to talk to
Dave. But then, it’s an election year.”

lt is clear from the above-cited portions
of the Complaint and its exhibits that Mr.
\Vilson was reportedly seen at the airstrip
and that he came “under fire” because of
that report. 'l`hus, the substantial truth of
the subject statement is demonstrated on
the face of the pleadings, rendering that
statement non-actionable

6. "]"edeml ajicz'als discovered Wilson
had sold an airplane to a major drug deal€r. . ."
iii/ton adamantly denies any involvement (ll
2 l f .)

\Vliile standing alone, the statement may
be defainatory. When compared with the
Complaint’s allegations on this issue, it is
however not actionable under the “common
niiiid,,""different effect” test.

'l`hat test is: “. .. whether the defam-
atory statement as published would have a
different effect on the mind of the reader
from that which the pleaded truth would
have produccd." ilfc(]anmi,"k a. Miami Her-
.i,","' /)1'/- /:'_'; '.:.'.‘::‘.7

f.'l !1. 1"»`».»1`11,»-‘ F`Iiyy\'\ln:ry‘ h“t- \l,'j! .`;

tl-.t'- itc did not sell his airplane to it n‘iajoi'
drug de.'iler_ and th.'it the News-Press had
official documents revealing that truth To
support that contention, i\/Ir. Wilson at-
taches these “official documents” to the
Complaint iii the form of an F.-‘-..A. ."\ircra_=_
Piill of .‘.~`ah~ (part of Ex. 5;), Articles of
Incorporation of Paradise Aviation l\/fa-
rine, Inc. (Ex. 7), and a 1982 Annual
Report of that corporation (Ex. 7).

The bill of sale for the airplane, signed
by Mr. Wilson and dated July 2], 198],
lists Paradise-Aviation Marine, Inc., as the
purchaser. The 1982 Annual Report lists
Joseph R. Carter (ide_ntified in thc Com~
plaint as the “major drug dealer”) as a
director of that corporation. Moreover, Ex-
hihit 5 to the Complaint reveals that the
federal grand jury investigating i`\.'l . `l"‘."ii-
soii’s drug smuggling involvement was also
investigating his sale of that airplane,

'I`hus, based on the undisputed facts
shown by those exhibits, the subject arti-
cle could have truthfully and accurately
stated, “l"ederal officials .. discovered
that Wilson had sold an airplane to a
corporation, which has a major drug
dealer as one of its directors.” in lieu of
the challenged statement which states,

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“Federal officials discovered \Vil-
son had sold an airplane to a major
drug dealer.”

Thus, the truthful statement would
have had no different effect on the mind
of the reader than the allegedly defam-
atory statement; and, for that reason, the
allegedly defamatory statement is not ac-
tionable. ll'frCOrmick z'. /Wi'ami Hci'a/d Ptll).
Co., supra

7. “F€a'€ral aj]it'al.s nearly indicted linn
(lVi/son} on drug-running charges ll’i/son
adamantly denies any involvement." (11 21f.)

Once again, the F.xhibits to the Com-
plaint facially demonstrate the substan-
tial accuracy of that statement. /\s shown
above, Exhibits 2, 5 and 8 reveal that:

(a) At least one deputy claimed that
l\/Ir. Wilson had somehow been involved
in a drug run on an airstrip;

(b) An assistant U.S. Attoriiey had
labeled Wilson a “target” of a federal
criminal investigation;

(c) l\/lr. \Vilson was investigated by
two federal grand juries over a period of
at least three years,' and

(d) Federal prosecutors Were tying to
tie Mr. Wilson to drug smuggling

Therefore‘ based upon all .-it' :_!:,_r,_.,_;
t:.".rnn?t‘?~.tc-_l it::.:t:v i.' '

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. n-’i-? it'ii;n'.i:,:ei :i".
-= 11 ‘1~1'~‘ 1‘ '
.ttit..i.` t.,-ii~.ii:ii.:. iie.i:'i\_' indicted '\1'
\"i`iison on di ug smuggling charges
i‘»-Ioi'eover, tiie term "nearly iiitlit'ted" is
non-actionable under defamation la\v.

In order to be actionable, an allegedly
defamatory remark must contain .'i prov-
ably false factual stateiiieiit, i.e., it must
contain a fact or factual connotation,
which must be verifiable as true or false.
Otherwise, the statement constitutes non-
actionable opinion. Florida Medi`cal Center,
Inc. z). New York Post Co., Inc., supra.

[3] lt is technically incorrect to cliar-
actcrize someone as being “nearly indict-
ed.” However, the technical error stems
not from any provably false factual con-
tent, but from the very impossibly of such
an actual occurrence

One can not actually be "::e.:: iv in:ii.":
cd." Uiie is either indicted or not, there is
simply no in-between. l‘lowever, anyone
reading this statement in the News-Press
would not have had the erroneous im-
pression that l\/lr. \Vilson was indicted.
Moreover, the use of the adjective “near”
to describe the state of insolvency has
been held to render the entire phrase
subjective and therefore non-actionable,
See, O/izo Saw'ngs Assori'ation z.'. })’lism€ss
First of Columbus, 540 N.F.. 2d 320 (Ohio

ge 87 of 89 `

 

 

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Wilson z). News-Press . ublz`sht`ng Co.

 

 

Ct. App. 1988). rl`he use of the word
“nearly” with the word “indicted,” also
renders that phrase entirely subjective,
and not capable of factual verification as
to its truth or falsily.

'l`herefore that phrase is not actionable
because it “cannot reasonably be inter-
preted as stating actual facts about an
individuaI.” [Wzl/zoz/z'clz U. Loraz'n journal
Co., _tzilt)m\ quoting from Hustler Afagazine,
[ric. z). Falw€l!, supra

8. “L€€ County Undersherzf David Wilson
sold an airplane to Paradise-Az)iati'on l\’farine,

Inc., on july 27, 7987." (1186}

That allegedly defamatory statement
appeared in a February 10, 1996 correc-
tion (Ex. 6) to the February 9, 1996
retirement article (Ex. 1). Mr. Wilson
claims that statement is false, because
Paradise-/\viation was not incorporated
until November 20, 1981, as shown by
that corporation’s article of incorporation
attached to the Complaint as Exhibit 7

[4] However, when the corporation
was registered with the state, the bill of
sale for the airplane (Ex. 5)_, a public
record filed with the FAA shows it was
sir'ned by 1\11. Wilson on july 21 1981

 

with l):'. '.rrr.'// ”” 41'::1!:::.': .".< " ' §-t.~,‘:.'. ': ".t‘»"~ -
c :- t ‘ 11:, n-: --1-#-,1,~:11?".?.":-"‘€3111'
' “ l ‘ 1 1 1 ' .

.'-\._1 a 1.11:' and at‘cu":i.'e report wl matters

contained in an oflicial government rec-
ord. fitting a report of matters contained
111 an ollicial record renders the state-
ment non-actionable regardless of any
claimed falsity. See W oodarrl ft -S't¢'.¢zbeam
."`1".";:»'1`.=)")'.' (,`orf)., 016 So.2d 501 [21
Med.L.Rptr. 1286] (Fla. 3rd DCA
1993`), recognizing the privilege afforded
the news media to publish “t.he contents
of an official document, so long as their
account is reasonably accurate and fair,”
(citation omitted), even if the official doc-
uments contain erroneous information.
See also` Stewart z). Sz/n Senllnal Co., 695
So.2d 360 [25 Med.L.Rptr. 1763] (Fla.
4th DCA 1997) to the same efl`ect. The
privilege applies even if the media de-
frnrl;\_n¢_ knew or should ;='-- E'_ti'_,.v‘.-.':‘. th."
...i-umauon in the official document was
false. Ortega z). Post-Newsweek Stalion_t,
]"{o_, ]nr.. 510 So.2d 972 [14 Med.L.Rptr.
13()7|(r`1a. 3rd DCA 1987).

'l`herefore, the statement in the News-
Prcss` correction that the airplane was
sold to a corporation, rather than to an
individual, is not actionable, because it is
both true and an accurate report from an
oflicial document.

9. “ln the mid-1980’s, federal officials
were investigating Wilson and others in
the Lee County Sherifi”s Oflice. Wilson
was not indicted on any charges The
News- Press inadvertently reported Wilson
was nearly indicted " (1186)

That underlined statement was also
Contained in the News-Press" corrections
to the retirement article. Mr. Wilson
complains the use of the word “inadver-
tently” left the connotation that, al-
though he was actually nearly indicted,
the publication of that phrase was a
mistake (11196).

That claimed innuendo is a strained and
extreme interpretation of that correction
The correction expressly clariHes the im-
precise use of the phrase “nearly indicted”
by stating that Wilson was not indictedl
Mr. Wilson’s contention that the News-
Press’ statement that the use of the incor-
rect phrase was “inadvertent” somehow
connotes that Mr. Wilson was actually
“nearly indicted” is illogical

This Court finds that by publishing that
the retirement article inadvertently report-
ed that Mr. Wilson was “nearly indicted”
is not defamatory For that reason` the
statement is not actionablp

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`l`his Court has reviewed the Llom-
plaint and attached exhibits Also this
Court has read the memoranda of 1aw,
pertinent case law, and has reflected on
the arguments made by both counsel.
The salient article, exhibit , titled "`i`op
Lee Deputy to Retire"` has been read
many times by the Court before arriving
at this ruling.

The article and correction when read
in their entirety, contain an account of
the end of a 28 year career in law en-
forcement by a person who has drawn
official scrutiny. The article contains
very positive statements concerning the
Plaintifl"s career and character attributed
to our local Sheriff and State Attorne_y.

The Court finds that the Complaint
and its exhibits siiow, ivir_ '\'Vllson was
involved in controversial matters during
his tenure in law enforcement He was
the target of a lengthy federal grand jury
investigation into alleged drug smuggling
activitics. He was reported by a fellow
deputy to have been at the scene of a
drug run gone bad. Oflicial records do
reveal that he sold his airplane to a
corporation, which had a drug smuggler
as one of its directors; and Federal olli-

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x _

cials did (.Om'u(_l nn investigation into
lha't sale. _ _

_ However, nowht-rt- iii the Publwa,twns
111 question is it stated that Mr. Wll§_'(m
WaS actually involved iii drug Smugglmg
activities, t,r tim he was in fact at the
scene of thc airport drug bust or that he
knCW that l\lt (I.'trtcr was or WOtlld be a
director of t|\.- …rpt,)ration that acquired
his airplane _

This tion,-t is not unmindful of the
standard required to survive a motion to
dismiSS, |n ruling 011 this matter, the
Court is also aware of the constitutional
importance and historical significance of
a case of this nature, a case rooted in the
Bill of Rigltts within the First Amend-
ment to the Constitution of the United
Statcs. Respectfully, this is not a contract
action nor a negligence case. lt is one that
involves freedom of speech and freedom
of the press. The standard is and should
be different because of the constitutional
issues iii\'olvc.d. \N'here the facts are not
in dispute in defamation cases, pretrial
dispositions are “espccially apprt')priate"’
because of the chilling effect these cases
have on free speech. See l\"ar/) z). .'\[zmni
[[¢>rultl l)ufi. (:.'o._ 359 So.2d 580 13
l\'fcd.li.l{ptr. 25811(1"la. 3d DCA 19781.

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cd i:i that h{t»'»'ct'tiiitcnt would bc cletted
officials .iit‘iiil)ci'»' of thc c?\’ttutivc and
legislative fn';inclies_ law enforcement_
and thejudiciary. Concurrent with a free
press is the public’S right to be informed
_ilici :.i,'::.'.i'. l:'eel'l.' ;:l"..'ti:t i:': gr~.vrr_:~t;~:~j€-:~::__
l\'laitit;tining frcc, robust, political debate
and discussion serve as the foundation of
our free society.

Prior to the passage of the Bill of
Rights, Thomas jefferson in 1787 urged
the following:

'l`he basis of our government being
the opinion of thc people, the very first
object should be to keep that right; and
were it left to me to decide whether we
should have a government without
111’“'<1‘3!“`"<, ‘\t` !‘.‘3‘.~.':`{,);1:.):‘.1`:; without n
Stiv\'iiii`i`it_'iit, i dilt)ulti nOl li€SlIZ\IC a
moment to prefer the latter.

While this court recognizes actionable
defamation cases, the pleadings in the
case at liar do not allege onc. 'l`he state-
ments claimed to lie defamatory should
be left to the public to del)ate, within the
free and open marketplace of ideas with-
in our community, addressing both the
positive attributes and claims of contro-
versy in a 28 year law enforcement ca-

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reer. TO do otherwise would have a chill-
ing effect on the Press’s right to
scrutinize and inform our community
about its government. Moreover, it
would have a chilling effect on our com-
munity’s right to know about its govern-
ment and freely discuss and debate those
issties.

Wherefore, the l\/Iotion to Dismiss the
Complaint is Granted. The Plaintiff
shall have 30 days for Leave to Amend.

CALIFORNIA FIRST
AMENDMENT COALITION v.
CALDERON

U.S. District Court
Northern District of California

CALIFORNIA FlRST AMEND-
l\/IENT COALITION, and SOCIE'I`Y
OF PROFESSION/\L jOURNAL-
lSTS, NORTHERN CALIFORN]A
CHAPTER, Plaintiffs v. ARTHUR
CAL[)ERON, Warden of San Quentin
State Prison, and J/\l\/IES H. GOMEZ,

Director of the California Department of
(7-';\='!'1`-' 'i“'i~` l:*::f:i::i;i::!:;. l\.l:: C 96

i_£';’ E - `t" ’r'L"."‘t" . '_l;ttiu;ir\,' ZFi. ,'F,~."i't":t":_
Nl‘-.\N§>(_vA'l`l~llLKll`\l(+

1. Access to places - jails (§40.1103)

Plaintiffs have presented sufficient evi-
detice to preclude summary judgment
that policy of state department of correc-
tions, which permits observation of ex-
ecution by lethal injection only after con-
demned inmate is strapped down and
intravenous shunt has been inserted, is
not exaggerated response to legitimate
security and safety concerns, since there
have been no incidents in which prison
employees’ identities were revealcd, and
no acts of retaliation against execution
workers, and since plaintiffs have pre-
sented evidence that policy is motivated
in part by desire to control public’s per-
1`1?}.`»11‘1-'.-':-.{ e.‘.eculit:::.~,. :::ni ih::i dean
dants have alternative means of conceal-
ing identities of executioners.

Action by journalists against officials
of state department of corrections seeking
injunction that would allow witnesses to
view greater portion of process of execu~
tion by lethal injection. On defendants’
renewed motion for summary judgment.

Denied.

 

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